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15
16                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
17
      Jennifer Peter and Karson Theiss,              Case No.
18    individually and on behalf of all others
      similarly situated,                            CLASS ACTION
19
20                 Plaintiffs,
                                                     CLASS ACTION COMPLAINT
21
            vs.
22
      DoorDash, Inc., a Delaware corporation,        JURY TRIAL DEMANDED
23
24                 Defendant.

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26
27
28


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 1          Plaintiffs Jennifer Peter and Karson Theiss (collectively, “Plaintiffs”), individually and on
 2 behalf of all others similarly situated, make the following allegations based upon information and
 3 belief, except as to those allegations specifically pertaining to Plaintiffs and their counsel, which
 4 are based on personal knowledge. Plaintiffs bring this action for restitution, monetary damages
 5 and injunctive relief against defendant DoorDash, Inc. (“DoorDash” or “Defendant”), demanding
 6 a trial by jury.
 7                                    NATURE OF THE ACTION
 8          1.     Plaintiffs bring this action individually and on behalf of a class and subclasses of
 9 similarly situated consumers who used DoorDash’s website or app to place food-delivery orders
10 and who paid tips through its website or app. Those tips, which were made by consumers with
11 the intention that the tips benefit the drivers, were instead used by DoorDash fund its operations
12 by subsidizing the guaranteed minimum payments that DoorDash promised and owed its drivers.
13 As a result of DoorDash’s practice of using tips to assist in funding the guaranteed minimum
14 payments it owes drivers, part or all of the tips for drivers that consumers paid provided no
15 financial benefit to the driver.
16          2.     DoorDash’s actions as alleged herein violate the California Unfair Competition Law
17 (“UCL”), Cal. Bus. & Prof. Code, §§ 17200, et seq., the Missouri Merchandising Practices Act
18 (“MMPA”), §§ 407.010 et seq., by means of unfair practices and deception, the Illinois Consumer
19 Fraud Act (“ICFA”), 815 ILCS 505/1 et seq., by means of unfair practices and deception, and
20 constitute unjust enrichment under Missouri and Illinois law.
21                                            THE PARTIES
22          3.     Plaintiff Jennifer Peter (“Plaintiff Peter”) is a resident of Madison County and a
23 citizen of the State of Illinois. In May of 2019 she used DoorDash in the State of Missouri to
24 place a food delivery order and to pay her driver a tip.
25          4.     Plaintiff Karson Theiss (“Plaintiff Theiss”) is a resident of St. Clair County and a
26 citizen of the State of Illinois. Between March and August of 2019, he used DoorDash in the State
27 of Illinois to place food delivery orders and to pay his drivers tips.
28          5.     On information and belief, defendant DoorDash (“Defendant” or “DoorDash”) is a
                                                    2 
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 1 corporation incorporated in the State of Delaware with its principal place of business located at
 2 901 Market Street, Suite 600, San Francisco, California 94103. DoorDash is registered to do
 3 business in California. Its registered agent in California is Ricardo Orozco, Registered Agent
 4 Solutions, Inc., 1220 S. Street, Suite 150, Sacramento, California 95811. DoorDash is also
 5 registered to do business in Illinois. Its registered agent in Illinois is Registered Agent Solutions,
 6 Inc., 901 S. 2nd St., Suite 201, Springfield, Illinois 62704. DoorDash is not currently registered
 7 to do business in Missouri according to the Missouri Secretary of State’s website, following its
 8 administrative dissolution on April 12, 2019 for failure to file a registration report.
 9                                    JURISDICTION AND VENUE
10           6.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331, because
11 this action arises under the laws of the United States. This Court has jurisdiction over this action
12 pursuant to the Class Action Fairness Act (28 U.S.C. § 1332(d)). The aggregated claims of the
13 individual class members exceed $5,000,000, exclusive of interest and costs, at least one class
14 member is of diverse citizenship from one defendant, and there are more than 100 class members.
15           7.     This Court has personal jurisdiction over DoorDash because it conducted business
16 in California and has sufficient minimum contacts with California.
17           8.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part
18 of the events or omissions giving rise to the claims occurred and/or emanated from this District,
19 as the principle place of business for DoorDash is in San Francisco, California, and because
20 DoorDash has caused harm to class members residing in this District.
21                                     FACTUAL ALLEGATIONS
22           A.     DoorDash’s Scheme of Using “Tips” from its Customers to Subsidize the
23                  Guaranteed Minimum Payments That DoorDash Owes its Drivers.
24           9.     DoorDash is a self-described “technology company” that facilitates door-to-door
25 food delivery services.1 Using DoorDash’s website or app, a consumer can place a food delivery
26 order from participating restaurants that one of DoorDash’s drivers, which it calls “Dashers,” then
27
       1
           See “About Us,” on DoorDash’s website, available at https://www.doordash.com/about/ (accessed
28 September 9, 2019).
                                                    3 
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 1 delivers to the consumer. A consumer who places an order through DoorDash is given the option
 2 to add a tip for his or her Dasher before he or she completes the order online.
 3         10.    As outlined in a series of recent news articles, some of which are addressed below,
 4 and as acknowledged by DoorDash, DoorDash’s tipping policy results in parts or all of the tips
 5 that consumers pay not providing a financial benefit to the Dashers. This is because DoorDash
 6 uses tips that consumers pay to their Dashers to subsidize part or most of a guaranteed minimum
 7 payment (the amount of which varies per delivery) that DoorDash promises to its Dashers for each
 8 delivery.
 9         11.    For example, if a guaranteed minimum payment to a Dasher for a delivery is $7.00
10 and the consumer leaves no tip, DoorDash pays the Dasher this $7.00. But if the consumer leaves
11 a $3.00 tip, DoorDash uses this $3.00 toward the guaranteed $7.00 minimum payment and only
12 pays $4.00 of its own money.
13         12.    The result is that the Dasher receives no additional compensation by the consumer
14 leaving a tip through DoorDash’s website or app, and the consumer is deceived into leaving a tip
15 that merely reduces the amount that DoorDash has to pay the Dasher to meet the guaranteed
16 minimum payment.
17         13.    This is explained in an article in the New York Times on July 21, 2019 by Andy
18 Newman, a reporter who worked for a few days as a food deliveryman for various companies,
19 including DoorDash.2
20         14.    Mr. Newman states that DoorDash offers a guaranteed minimum for each job, which
21 for his first order was $6.85. Id. The customer left a $3.00 tip via DoorDash’s app, but Mr.
22 Newman only received a total of $6.85 for making the delivery. Id.
23         15.    As he explains, had the customer not left a tip DoorDash would have paid him the
24 entire $6.85. Id. But DoorDash used the customer’s $3.00 tip toward its guaranteed minimum
25 payment, meaning DoorDash only contributed $3.85 towards the $6.85 guaranteed minimum
26
       2
27         See “My Frantic Life as a Cab-Dodging, Tip-Chasing Food App Deliveryman,” available at
     https://www.nytimes.com/2019/07/21/nyregion/doordash-ubereats-food-app-delivery-bike.html
28   (accessed September 10, 2019).
                                                   4 
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 1 payment owed. Id. Thus, by tipping $3.00 the customer actually saved DoorDash this amount –
 2 rather than increasing what the Dasher received for the delivery as consumers would reasonably
 3 expect. Id.
 4          16.    The Washington Post also reported on DoorDash’s tipping policy, including tweets
 5 by DoorDash’s CEO Tony Xu in which he expressed an intent for the company to change its
 6 policy.3
 7          17.    The article states that under DoorDash’s current policy “tips are used to meet the
 8 minimum payment promised to its delivery crew,” which, according to the article, has “prompted
 9 customers, workers and advocacy groups to accuse DoorDash of using gratuities to underwrite
10 drivers’ paychecks.” Id.
11          18.    It quotes tweets from Mr. Xu addressing the policy, in which he states in part: “But
12 it’s clear from recent feedback that we didn’t strike the right balance. We thought we were doing
13 the right thing by making Dashers whole when a customer left no tip. What we missed was that
14 some customers who *did* tip would feel like their tip did not matter.” Id.
15          19.    This statement is misleading. “Some customers” may “feel” that their tips didn’t
16 matter, but the fact is that their tips didn’t matter except to subsidize the amounts that DoorDash
17 owed its drivers.
18          20.    The Washington Post article also quotes a post that a DoorDash driver made on the
19 website Reddit: “[DoorDash] technically doesn’t ‘steal’ your tip. They give it to you. . . BUT
20 they use it to subsidize what they pay out of pocket which is basically the same thing at the end
21 of the day.” Id.
22          21.    The Huffington Post similarly reported on DoorDash’s tipping policy.4 It quoted a
23 tech writer named Louise Matsakis who wrote on Twitter: “I don’t believe that a single person
24     3
           See “DoorDash to change its controversial tipping policy after outcry.” Available at
25   https://www.washingtonpost.com/business/2019/07/24/doordash-change-its-controversial-tipping-
     policy-after-outcry (accessed September 10, 2019).
26     4
              See “DoorDash to Change Tipping Model Following Backlash,” available                   at
27   https://www.huffpost.com/entry/doordash-changes-tipping-policy_n_5d3888c6e4b020cd994d74cb
     (accessed September 10, 2019).
28
                                                   5 
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 1 intends to give a tip to a multibillion dollar venture-backed startup. They are trying to tip the
 2 person who delivered their order.” Id.
 3          22.    On August 21, 2019, Business Insider reported in an article written by Graham
 4 Rapier that despite DoorDash having announced an intention to change its tipping policy in July
 5 of 2019, receipts that they reviewed from as recent as August 19, 2019 showed that it was still
 6 operating under the old policy.5
 7          23.    When consumers are in the process of paying for their orders DoorDash does not
 8 inform them that part or all of the tips that they pay through the app or website do not benefit their
 9 Dashers. Rather, consumers are simply given the option to add a “Dasher Tip.” It then suggests
10 various prices for the tip, such as “$2.00,” “$3.00,” “$4.00,” or “Other.” No further information
11 about DoorDash’s tipping policy is presented to consumers on the webpage where they complete
12 their orders. This is shown in the screenshot below, which is taken from a sample order placed
13 through DoorDash’s website.6
14
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18
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20 / / /
21 / / /
22 / / /
23     5
          See “DoorDash appears to still be pocketing some workers’ tips despite announcing changes to its
24   pay model in July.” Available at https://www.businessinsider.com/doordash-still-be-pocketing-tips-
     despite-pay-model-change-2019-8 (accessed September 13, 2019). In an article that ran on the website
25   “Vox,” it was similarly reported that DoorDash failed to change its tipping policy despite nearly a month
     having passed since its announcement. See “DoorDash is still pocketing workers’ tips, almost a month
26   after it promised to stop,” available at https://www.vox.com/recode/2019/8/20/20825937/doordash-
     tipping-policy-still-not-changed-food-delivery-app-gig-economy (accessed September 13, 2019).
27
       6
           Available at https://www.doordash.com/consumer/checkout/?order_cart_id=468602007 (accessed
28 September 16, 2019).
                                                      6 
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16          24.    As shown in the above screenshot, next to “Dasher Tip” there is an “i” enclosed in
17 a circle. If a consumer happens to scroll directly over it while on a computer, the cursor turns into
18 a hand symbol that enables the consumer to click on it, which then takes the consumer to a new
19 webpage, addressed below.
20          25.    Next to “Taxes and Fees” (which, as shown in the above screenshot, appears above
21 “Dasher Tip”) there is an identical “i” enclosed in a circle. If a consumer places the cursor on it,
22 further information is provided in a box that pops up. However, no pop-up box appears by merely
23 placing the cursor on the “i” next to “Dasher Tip.” Thus, a consumer reasonably would not know
24 to click on it for further information.
25          26.    Nothing on the page indicates what this “i” means or says to click on it for more
26 information. When a consumer is using DoorDash’s app the “i” still appears next to “Dasher
27 Tip,” but by using a smartphone there is no cursor that changes into a hand symbol.
28 / / /
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 1         27.    If a consumer does click on this “i” the page they are taken to is entitled “How Is
 2 Your Dasher Paid?” which is very long, with four sections7, but this page fails to make clear to
 3 consumers that part or all of the tips that they leave through the app or website do not provide a
 4 financial benefit to their Dashers.
 5         28.    A consumer who wants to learn more about the “Dasher Tip” or DoorDash’s tipping
 6 policy would likely go straight to the section on this webpage entitled “Tips.”
 7         29.    That section states: “Whether and how much to tip is up to you, and you always
 8 have the option to tip more or less than the suggested amount. After each order, Dashers will be
 9 able to see the breakdown in their earnings between the amount DoorDash contributes and the
10 customer tip.” Id.
11         30.    Nothing in this section entitled “Tips” informs consumers that their tips are being
12 used by DoorDash to subsidize the Dasher’s guaranteed minimum payment and in most cases
13 provide no financial benefit to the Dasher.
14         31.     Under the section entitled “The Dasher Pay Model” this page states: “We guarantee
15 Dashers will earn a minimum amount, including tips, for completing each delivery. This
16 ‘guaranteed minimum’—which Dashers see before accepting any delivery—is based on the
17 estimated time and effort required to complete that delivery.” Id.
18         32.    This section then provides: “For each delivery, Dashers will always receive at least
19 $1 from DoorDash plus the customer tip, but Dashers will never earn less than the guaranteed
20 minimum. If $1 plus tip is less than the guaranteed minimum, DoorDash will make up the
21 difference. If $1 plus tip is more than the guaranteed minimum, the Dasher keeps the larger
22 amount.” Id.
23         33.     Even if a consumer reads this, it does not clearly inform consumers that in most
24 cases their tips merely subsidize part of DoorDash’s guaranteed minimum payments and provide
25 no additional compensation to the Dasher.
26 / / /
27     7
               Available   at    https://help.doordash.com/consumers/s/article/How-do-Dasher-earnings-
28   work?language=en_US (accessed September 10, 2019).
                                                   8 
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 1           B.      Plaintiffs’ Experiences.
 2                   1.      Plaintiff Peter’s Experience
 3           34.     Plaintiff Peter, under the name Jennifer Markezich, placed an order through
 4 DoorDash’s app on May 16, 2019.8 The delivery address for this order was 727 N. 1st St., St.
 5 Louis, MO 63102. She left a “Dasher tip” in the amount of $2.00.
 6           35.     On information and belief, based on the date of her order and DoorDash’s policy at
 7 the time, part or all of the tip that Plaintiff Peter left for her Dasher did not provide a financial
 8 benefit to her Dasher. Rather, DoorDash used her tip to subsidize part of its guaranteed minimum
 9 payment to her Dasher for that delivery.
10           36.     Had Plaintiff Peter known that part or all of her tip would not provide a financial
11 benefit to her Dasher, but would be used by DoorDash to subsidize the amount it had to pay to the
12 Dasher as part of the Dasher’s guaranteed minimum payment, she would not have left a tip through
13 DoorDash’s app.
14                   2.      Plaintiff Theiss’s Experience
15           37.     Plaintiff Theiss placed several orders through DoorDash’s app. His first order was
16 placed on March 16, 2019.9 The delivery address for this order was 811 Old Caseyville Rd.,
17 Caseyville, IL 62232. He left a “Dasher tip” in the amount of $3.00.
18           38.     Plaintiff Theiss’s next order was placed on March 20, 2019.10 The delivery address
19 for this order was 1600 Keebler Rd., Collinsville, IL 62234. He added a $2.00 “Dasher tip” in
20 connection with this order.
21           39.     Plaintiff Theiss placed another order through DoorDash on April 19, 2019.11 The
22 delivery address was 811 Old Caseyville Rd., Caseyville, IL 62232, and he left a “Dasher tip” in
23 the amount of $2.00.
24 / / /
25     8
            A printout of this order is attached as Exhibit A.
26     9
            A printout of this order is attached as Exhibit B.
27     10
            A printout of this order is attached as Exhibit C.
       11
28          A printout of this order is attached as Exhibit D.
                                                         9 
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 1             40.    On May 27, 2019, he placed another order through DoorDash.12 The delivery
 2 address was 1600 Keebler Rd., Collinsville, IL 62234, and the “Dasher tip” for this order was
 3 $2.00.
 4             41.    The next order that Plaintiff Theiss placed through DoorDash was on August 10,
 5 2019.13 The delivery address was 1600 Keebler Rd., Collinsville, IL 62234. He added a “Dasher
 6 tip” in the amount of $2.00.
 7             42.    Plaintiff Theiss placed another order through DoorDash on August 23, 2019.14 The
 8 delivery address was 811 Old Caseyville Rd., Caseyville, IL 62232, and he left a “Dasher tip” in
 9 the amount of $2.00.
10             43.    On information and belief, based on the dates of his orders and DoorDash’s policy
11 at the time, part or all of the tips that Plaintiff Theiss left for his Dashers did not provide a financial
12 benefit to his Dashers. Rather, DoorDash used his tips to subsidize part of its guaranteed
13 minimum payments to his Dashers for those deliveries.
14             44.    Had Plaintiff Theiss known that part or all of his tips would not provide a financial
15 benefit to his Dashers, but would be used by DoorDash to subsidize the amount it had to pay to
16 the Dashers as part of the Dashers’ guaranteed minimum payments, he would not have left tips
17 through DoorDash’s app.
18             C.     DoorDash’s Tipping Policy Is Unethical and Violates Established
19                    Ethical Standards.
20             45.    DoorDash’s practice of using consumers’ tips to subsidize its guaranteed minimum
21 payments to its Dashers, as alleged herein, violates generally accepted ethical principles of
22 business conduct.
23             46.    The basis for the allegation that it is unethical to engage in the above practices
24 comes, in part, from established ethical principles recognized by the Direct Marketing Association
25 (“DMA”), the leading industry association for companies that, like DoorDash, market directly to
26      12
             A printout of this order is attached as Exhibit E.
27      13
             A printout of this order is attached as Exhibit F.
28      14
             A printout of this order is attached as Exhibit G.
                                                          10 
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 1 consumers, and the American Marketing Association, “the leading organization for marketers
 2 [and] the trusted go-to resource for marketers and academics.”
 3                 1.     DMA Ethical Guidelines
 4          47.    DMA publishes principles of ethical business practices in the Direct Marketing
 5 Association’s Guidelines for Ethical Business Practice (2014) (“DMA Ethical Guidelines”). A
 6 true and copy of the DMA Ethical Guidelines is attached as Exhibit H.
 7          48.    These DMA Ethical Guidelines “are intended to provide individuals and
 8 organizations involved in direct marketing in all media with generally accepted principles of
 9 conduct.” Id. at 2.
10          49.     The DMA Ethical Guidelines apply to all marketers, not just those that belong to
11 DMA. DMA states that the principles “reflect DMA’s long-standing policy of high levels of
12 ethics and the responsibility of the Association, its members, and all marketers to maintain
13 consumer and community relationships that are based on fair and ethical principles.” Id. (emphasis
14 added).
15          50.    DMA’s Ethical Guidelines are set forth in a series of “Articles,” each of which states
16 a separate ethical principle.
17          51.    Article #1 of DMA’s Ethical Guidelines is “HONESTY AND CLARITY OF
18 OFFER.” It states: “All offers should be clear, honest and complete so that the consumer may
19 know the exact nature of what is being offered ….” Id. at 7.
20          52.    By concealing that it used consumers’ tips to subsidize its guaranteed minimum
21 payments and that part or all of the tips do not provide a financial benefit to the Dashers, DoorDash
22 violated this principle because its offer to consumers to leave a tip was not clear, honest and
23 complete.
24          53.    Article #2 of DMA’s Ethical Guidelines is “ACCURACY AND CONSISTENCY.”
25 It states: “Simple and consistent statements or representations of all the essential points of the
26 offer should appear in the promotional material. The overall impression of an offer should not be
27 contradicted by individual statements, representations or disclaimers.” Id. at 7.
28 / / /
                                                   11 
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 1          54.    DMA has published a companion volume to its Ethical Guidelines called Do the
 2 Right Thing: A Companion to DMA’s Guidelines for Ethical Business Practice (Revised January
 3 2009) (“Do the Right Thing”). A true and copy of Do the Right Thing is attached as Exhibit I.
 4 That volume is intended to “give[] direct marketers advice on how to assure their business
 5 practices comply with” the Ethical Guidelines. Do the Right Thing at 2.
 6          55.    In Do the Right Thing, DMA elaborates on Article #2 of its ethical principles. It
 7 states, “Keep in mind that a disclaimer or disclosure alone usually is not enough to remedy a
 8 misleading or false claim.”
 9          56.    By not stating on the page where consumers were given the option to leave a tip that
10 the tips were used to subsidize DoorDash’s guaranteed minimum payments and that part or all of
11 the tips did not provide a financial benefit to the Dashers, DoorDash violated the ethical principle
12 in DMA’s Article #2 because this page did not contain all the essential points of the offer. It
13 omitted the point that the tips were used to subsidize the guaranteed minimum payments and relied
14 on a purported disclaimer that was included on a different web page.
15          57.    In July 2018, DMA (then going by the name “Data & Marketing Association”) was
16 acquired by the Association of National Advertisers (“ANA”), “one of the oldest and most
17 venerated trade association in the marketing industry.” ANA adopted DMA’s Ethical Guidelines,
18 which it publishes on its web site as Part II of its Member Principles under the heading,
19 “Marketing.” Thus, these ethical principles are still current and applicable.
20                 2.     AMA Statement of Ethics
21          58.    The American Marketing Association (“AMA”) “commits itself to promoting the
22 highest standard of professional ethical norms and values ...” Exhibit J. As such, it has published
23 its “Statement of Ethics.” Id. AMA states that “marketers are expected to embrace the highest
24 professional ethical norms and the ethical values implied by our responsibility toward multiple
25 stakeholders (e.g., customers ...).” Id. Thus, the Statement of Ethics contains “Ethical Norms,”
26 which “are established standards of conduct that are expected and maintained by society and/or
27 professional organizations.” Id.
28 / / /
                                                   12 
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 1          59.    The AMA’s Ethical Norms state that marketers must “consciously avoid[] harmful
 2 actions and omissions,” “striv[e] for good faith and fair dealing,” “avoid[] deception in ... pricing,
 3 communication, and delivery of distribution,” and affirm “core values” of honesty, ... fairness
 4 [and] transparency.”
 5          60.    By not stating on the page where consumers were given the option to leave a tip that
 6 the tips were used to subsidize DoorDash’s guaranteed minimum payments and that part or all of
 7 the tips did not provide a financial benefit to the Dashers, DoorDash violated these Ethical Norms
 8 because, among other reasons, it did not strive (or achieve) good faith and fair dealing, did not
 9 avoid deception in communication and did not affirm the core values of honesty, fairness and
10 transparency.
11          61.    The AMA has also published “Ethical Values,” which “represent the collective
12 conception of what communities find desirable, important and morally proper.” Id. AMA states
13 that marketers’ Ethical Values include honesty, meaning “[s]triv[ing] to be truthful in all situations
14 and at all times” and “[h]onoring our explicit and implicit commitments and promises.”
15          62.    Another Ethical Value, according to the AMA, is fairness, which includes
16 “[r]epresent[ing] products in a clear way in selling, advertising and other forms of
17 communication,” “avoid[ing] false, misleading and deceptive promotion,” and “[r]efusing to
18 engage in ‘bait-and-switch’ tactics.” Id.
19          63.    Yet another Ethical Value, according to the AMA, is “Transparency,” which
20 includes “[s]triv[ing] to communicate clearly with all constituencies.” Id.
21          64.    By not stating on the page where consumers were given the option to leave a tip that
22 the tips were used to subsidize DoorDash’s guaranteed minimum payments and that part or all of
23 the tips did not provide a financial benefit to the Dashers, DoorDash violated these Ethical Values,
24 because, among other reasons, it was not truthful (to say nothing of not striving to be truthful) in
25 all situations, did not represent their products and policy in a clear way, did not avoid false,
26 misleading and deceptive promotion, engaged in a “bait-and-switch” tactic, and did not
27 communicate clearly.
28 / / /
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 1            D.     DoorDash’s Scheme Originated and Was Directed from California.
 2            65.    On information and belief, DoorDash made the decisions and took the actions that
 3 violated the UCL in California. This belief is based on the following:
 4            66.    California is the center of DoorDash’s business operations. As set forth above, its
 5 headquarters is located in San Francisco.
 6            67.    Most of DoorDash’s top executives are based out of California. This includes CEO
 7 Tony Xu15, Chief Technology Officer Andy Fang16, Chief Financial Officer Prabir Adarkar17,
 8 Chief Operating Officer Christopher Payne18, Chief Business and Legal Officer Keith Yandell19,
 9 Vice President of Finance Michael Kim20, Vice President of Product Management Rajat Shroff21,
10 Vice President of Analytics & Data Science Jessica Lachs22, and HR Director Nathan Tanner23.
11            68.    Other high ranking DoorDash employees based out of California include Vice
12 President Ravi Inukonda24, Vice President of Business Development A. Toby Espinosa25, Senior
13 Manager of Marketing Strategy Lauren Reinhard26, Vice President of Legal Tia Sherringham27,
14 and Head of Corporate Development Matthew Rotella28.
15            69.    On information and belief, DoorDash made its decisions regarding its tipping policy
16 at its headquarters in San Francisco, where its CEO Mr. Xu and other executives are located. That
17     15
            https://www.linkedin.com/in/xutony/ (accessed 9/16/19).
18     16
            https://www.linkedin.com/in/andy-fang-5302b830/ (accessed 9/16/19).
19     17
            https://www.linkedin.com/in/prabir-adarkar-8b7b16/ (accessed 9/16/19).
       18
20          https://www.linkedin.com/in/christopherpayne/ (accessed 9/16/19).
       19
            https://www.linkedin.com/in/keith-yandell-2a947432/ (accessed 9/16/19).
21
       20
            https://www.linkedin.com/in/michaelkimsf/ (accessed 9/16/19).
22     21
            https://www.linkedin.com/in/rajatshroff/ (accessed 9/16/19).
23     22
            https://www.linkedin.com/in/jessica-lachs/ (accessed 9/16/19).
24     23
            https://www.linkedin.com/in/nathantanner/ (accessed 9/16/19).
       24
25          https://www.linkedin.com/in/rinukonda/ (accessed 9/16/19).
       25
            https://www.linkedin.com/in/a-toby-espinosa-b9458812/ (accessed 9/16/19).
26     26
            https://www.linkedin.com/in/laurenmaddoxreinhard/ (accessed 9/16/19).
27     27
            https://www.linkedin.com/in/tiasherringham/ (accessed 9/16/19).
28     28
            https://www.linkedin.com/in/matthewrotella84/ (accessed 9/16/19).
                                                       14 
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1 belief is based, in part, on Mr. Xu’s tweets stating, as quoted above, “But it’s clear from recent
2 feedback that we didn’t strike the right balance. We thought we were doing the right thing by
3 making Dashers whole when a customer left no tip. What we missed was that some customers
4 who *did* tip would feel like their tip did not matter.”
5                                     CLASS ALLEGATIONS
6         70.    Plaintiffs brings this action on behalf of themselves and as representatives of all
7 others who are similarly situated. Pursuant to Rules 23(a), (b)(2), and/or (b)(3) of the Federal
8 Rules of Civil Procedure, Plaintiffs seeks certification of a Nationwide Class, a Missouri Subclass
9 and an Illinois Subclass (collectively, the “Class”).
10        71.    The nationwide Class is initially defined as follows:
11                      All consumers who placed a food delivery order
12                      through DoorDash who, within the applicable
13                      period of limitations preceding the filing of this
14                      lawsuit to the date of class certification, paid a tip
15                      to his or her driver through DoorDash’s website or
16                      app (the “Nationwide Class”).
17        72.    The Missouri Subclass is initially defined as follows:
18                      All consumers who, in the State of Missouri, placed
19                      a food delivery order through DoorDash and paid
20                      a tip to his or her driver through DoorDash’s
21                      website or app within the applicable period of
22                      limitations preceding the filing of this lawsuit to the
23                      date    of    class   certification    (the   “Missouri
24                      Subclass”).
25        73.    The Illinois Subclass is initially defined as follows:
26                      All consumers who, in the State of Illinois, placed a
27                      food delivery order through DoorDash and paid a
28                      tip to his or her driver through DoorDash’s website
                                                  15 
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 1                         or app within the applicable period of limitations
 2                         preceding the filing of this lawsuit to the date of
 3                         class certification (the “Illinois Subclass”).
 4         74.      Excluded from each of the above classes is DoorDash, including any entity in which
 5 DoorDash has a controlling interest, is a parent or subsidiary, or which is controlled by DoorDash,
 6 as well as the officers, directors, affiliates, legal representatives, predecessors, successors, and
 7 assigns of DoorDash. Also excluded are the judges and court personnel in this case and any
 8 members of their immediate families.
 9         75.      Plaintiffs reserve the right to amend or modify the above class definitions with
10 greater specificity or division into subclasses after having had an opportunity to conduct
11 discovery.
12         76.      This action has been brought and may be properly maintained on behalf of the Class
13 proposed herein under Rule 23 of the Federal Rules of Civil Procedure.
14         77.      Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Nationwide Class and
15 each subclass are so numerous that joinder of all members is impractical. Plaintiffs are informed
16 and believe that there are thousands of members of the Class and Subclasses. The precise number
17 of class members can be ascertained from DoorDash’s records.
18         78.      Commonality and Predominance. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are
19 questions of law and fact common to each class, which predominate over any questions affecting
20 individual members of each respective class. These common questions of law and fact include,
21 without limitation:
22               a. Whether DoorDash uses tips paid by consumers to subsidize the guaranteed
23                  minimum payments that it provides to its drivers;
24               b. Whether DoorDash conceals that it uses tips paid by consumers to subsidize the
25                  guaranteed minimum payments that it provides to its drivers;
26               c. Whether DoorDash conceals that part or all of the tips paid by consumers do not
27                  provide a financial benefit to their drivers;
28 / / /
                                                     16 
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 1                d. Whether DoorDash’s conduct as alleged herein is unfair, unlawful and or fraudulent
 2                   in violation of the UCL;
 3                e. Whether DoorDash’s actions are deceptive and unfair under the MMPA;
 4                f. Whether DoorDash’s actions are deceptive and unfair under the ICFA;
 5                g. Whether DoorDash’s actions constitute unjust enrichment or money had and
 6                   received; and
 7                h. Whether Plaintiffs and the other Class members are entitled to equitable relief,
 8                   including, but not limited to, restitution or injunctive relief; and
 9                i. Whether Plaintiffs and other Class members are entitled to damages and other
10                   monetary relief.
11          79.      Typicality. Fed. R. Civ. P. 23 (a)(3). Plaintiffs’ claims are typical of the claims of
12 the class and subclasses they seek to represent. Plaintiffs and all Class members were exposed to
13 uniform practices and sustained injuries arising out of and caused by DoorDash’s scheme of using
14 consumers’ tips to subsidize its guaranteed minimum payments.
15          80.      Adequacy. Fed. R. Civ. P. 23(a)(4). Plaintiffs are committed to the vigorous
16 prosecution of this action and have retained competent counsel experienced in the prosecution of
17 class actions. Accordingly, Plaintiffs are adequate representatives and will fairly and adequately
18 protect the interests of the Class.
19          81.      Superiority. Fed. R. Civ. P. 23(b)(3). A class action is superior to other available
20 methods for the fair and efficient adjudication of this controversy. Since the amount of each
21 individual Class member’s claim is small relative to the complexity of the litigation, and due to
22 the financial resources of DoorDash, no Class member could afford to seek legal redress
23 individually for the claims alleged herein. Therefore, absent a class action, Class members will
24 continue to suffer losses and DoorDash’s misconduct will proceed without remedy. Even if Class
25 members themselves could afford such individual litigation, the court system could not. Given
26 the complex legal and factual issues involved, individualized litigation would significantly
27 increase the delay and expense to all parties and to the Court. Individualized litigation would also
28 create the potential for inconsistent or contradictory rulings. By contrast, a class action presents
                                                      17 
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 1 far fewer management difficulties, allows claims to be heard which might otherwise go unheard
 2 because of the relative expense of bringing individual lawsuits, and provides the benefits of
 3 adjudication, economies of scale and comprehensive supervision by a single court. Finally,
 4 Plaintiffs know of no difficulty that will be encountered in the management of this litigation which
 5 would preclude its maintenance as a class action.
 6                                   FIRST CLAIM FOR RELIEF
 7                 VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                                Cal. Bus. & Prof. Code, § 17200, et seq.
 8                    (By Plaintiffs and the Nationwide Class Against DoorDash)
 9           82.    Plaintiffs reallege and incorporate by reference the allegations contained in
10 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
11 extent necessary, plead this cause of action in the alternative.
12           83.    Plaintiffs bring this claim individually and on behalf of the members of the
13 Nationwide Class against DoorDash under California law.
14           84.    Plaintiffs have standing to pursue this cause of action as Plaintiffs have suffered
15 injury in fact and have lost money or property as a result of DoorDash’s actions as delineated
16 herein.
17           85.    DoorDash’s scheme, as delineated herein, constitutes an unlawful, unfair and/or
18 fraudulent business practices in violation of California’s UCL (Cal. Bus. & Prof. Code, §§ 17200,
19 et seq.).
20           86.    DoorDash’s business practices, as alleged herein, violate the “unlawful” prong of
21 the UCL because they violate, inter alia, Section 5(a)(1) of the FTC Act.
22           87.    DoorDash’s business practices, as alleged herein, violate the “unfair” prong of
23 California Business & Professions Code sections 17200, et seq. because the injury resulting from
24 DoorDash’s acts and practices is substantial, not outweighed by any countervailing benefits to
25 consumers or to competition, and not an injury that the consumers themselves could reasonably
26 have avoided.
27           88.    DoorDash’s business practices, as alleged herein, violate the “fraudulent” prong of
28 California Business & Professions Code sections 17200, et seq. because they are likely to deceive
                                                   18 
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 1 a reasonable consumer. Specifically, giving consumers the option to leave tips for their drivers
 2 and then using amounts tipped to subsidize its guaranteed minimum payments, such that part or
 3 all of the tips provide no financial benefit to the drivers, is likely to deceive a reasonable consumer
 4 as to who is benefitting from their tips and thereby cheat them into paying tips that provide a
 5 financial benefit to DoorDash instead of their drivers.
 6          89.      Accordingly, DoorDash has violated, and continues to violate, California Business
 7 and Professions Code section 17200’s proscription against engaging in unlawful business acts or
 8 practices.
 9          90.      As a direct and proximate result of DoorDash’s unlawful, unfair, and fraudulent
10 business practices, Plaintiffs and the Class have suffered injury in fact and lost money or property.
11          91.      Pursuant to California Business and Professions Code section 17203, Plaintiffs and
12 the Class seek an order of this court enjoining DoorDash from continuing to engage in unlawful,
13 unfair, or deceptive business practices and any other act prohibited by law, including those acts
14 set forth in the complaint.
15          92.      Plaintiffs and the Class also seek an order requiring DoorDash to make full
16 restitution of all monies it wrongfully obtained from Plaintiffs and the Class.
17          WHEREFORE, Plaintiffs and the Nationwide Class pray judgment against DoorDash as
18 hereafter set forth.
19                                   SECOND CLAIM FOR RELIEF
20                VIOLATION OF THE MMPA BY MEANS OF UNFAIR PRACTICES
                                      Mo. Rev. Stat. §§ 407.010 et seq.
21                   (By Plaintiff Peter and the Missouri Subclass Against DoorDash)
22          93.      Plaintiff Peter realleges and incorporates by reference the allegations contained in
23 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
24 extent necessary, pleads this cause of action in the alternative.
25          94.      Plaintiff Peter brings this claim individually and on behalf of the members of the
26 Missouri Subclass against DoorDash under Missouri law.
27          95.      The actions of DoorDash alleged herein violated, and continue to violate, the
28 Missouri Merchandising Practices Act (“MMPA”), Mo. Rev. Stat. §§ 407.010 et seq., because
                                                     19 
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 1 they constitute unfair practices.
 2         96.    The MMPA, Mo. Rev. Stat. § 407.020, states in relevant part:
 3                The act, use or employment by any person of any deception, fraud,
 4                false pretense, false promise, misrepresentation, unfair practice or the
 5                concealment, suppression, or omission of any material fact in
 6                connection with the sale or advertisement of any merchandise in trade
 7                or commerce . . . is declared to be an unlawful practice.
 8         97.    Plaintiff Peter, on behalf of herself and all others similarly situated in Missouri, is
 9 entitled to bring this action pursuant to Mo. Rev. Stat. § 407.025, which provides in relevant part
10 that:
11                       1. Any person who purchases or leases merchandise primarily
12                for personal, family or household purposes and thereby suffers an
13                ascertainable loss of money or property, real or personal, as a result
14                of the use or employment by another person of a method, act or
15                practice declared unlawful by section 407.020, may bring a private
16                civil action in either the circuit court of the county in which the seller
17                or lessor resides or in which the transaction complained of took place,
18                to recover actual damages. The court may, in its discretion, award
19                punitive damages and may award to the prevailing party attorney’s
20                fees, based on the amount of time reasonably expended, and may
21                provide such equitable relief as it deems necessary or proper.
22                       2. Persons entitled to bring an action pursuant to subsection 1
23                of this section may, if the unlawful method, act or practice has caused
24                similar injury to numerous other persons, institute an action as
25                representative or representatives of a class against one or more
26                defendants as representatives of a class . . . . In any action brought
27                pursuant to this section, the court may in its discretion order, in
28                addition to damages, injunction or other equitable relief and
                                                   20 
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 1                  reasonable attorney’s fees.
 2          98.     The MMPA defines “merchandise” as any objects, wares, goods, commodities,
 3 intangibles, real estate or services. Mo. Rev. Stat. § 407.010. Thus, the food-delivery services that
 4 DoorDash provides are merchandise.
 5          99.     In providing food-delivery services to its customers, DoorDash is engaging in the
 6 sale of merchandise in trade or commerce.
 7          100.    Plaintiff Peter and the Missouri Subclass ordered food through DoorDash for
 8 personal, family, or household purposes and tipped their drivers through the website or app, which
 9 DoorDash used toward its guaranteed minimum payment. Thus, part or all of the amounts left by
10 Plaintiff Peter and the Missouri Subclass members as tips did not provide a financial benefit to
11 their drivers.
12          101.    The Missouri Attorney General has promulgated a regulation defining the meaning
13 of unfair practice as used in the MMPA. That definition states that unethical practices are unfair
14 in violation of the above statute. Mo. Code Regs. tit. 15, § 60-8.020.
15          102.    Pursuant to the MMPA, DoorDash has a duty not to engage in any unethical or
16 unfair practice in connection with the sale of any merchandise in trade or commerce. For the
17 reasons stated herein, it breached that duty.
18          103.    Giving consumers the option to leave tips for their drivers, while concealing that the
19 tips are used to subsidize part of DoorDash’s guaranteed minimum payments and that part or all
20 of the tips provide no financial benefit to the drivers, is unfair and unethical and violates generally
21 accepted principles of ethical business conduct, including the principles of the Direct Marketing
22 Association and American Marketing Association, as set forth above.
23          104.    Plaintiff Peter and the Missouri Subclass thereby suffered ascertainable loss based
24 on DoorDash’s unfair acts or practice by paying to leave tips for their drivers that DoorDash used
25 to subsidize its guaranteed minimum payments. Had DoorDash not concealed what the tips were
26 really used for, Plaintiff Peter and the Missouri Subclass would have paid less in connection with
27 their orders because they would not have left tips that did not provide a financial benefit to their
28 drivers.
                                                    21 
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 1          105.   DoorDash’s acts and practices alleged herein have directly, foreseeably, and
 2 proximately caused loss, damages, and injury to Plaintiff Peter and the Missouri Subclass in an
 3 amount to be determined at trial.
 4          106.   DoorDash’s unfair and unethical acts and practices in violation of the MMPA were
 5 performed willfully and wantonly, were outrageous, and were done in reckless indifference to the
 6 rights of Plaintiff Peter and Missouri Subclass.
 7          WHEREFORE, Plaintiff Peter and the Missouri Subclass pray judgment against DoorDash
 8 as hereafter set forth.
 9                                  THIRD CLAIM FOR RELIEF
10                  VIOLATION OF THE MMPA BY MEANS OF DECEPTION
                                    Mo. Rev. Stat. §§ 407.010 et seq.
11                 (By Plaintiff Peter and the Missouri Subclass Against DoorDash)
12          107.   Plaintiff Peter realleges and incorporates by reference the allegations contained in
13 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
14 extent necessary, pleads this cause of action in the alternative.
15          108.   Plaintiff Peter brings this claim individually and on behalf of the members of the
16 Missouri Subclass against DoorDash under Missouri law.
17          109.   The actions of DoorDash alleged herein violated, and continue to violate, the
18 MMPA because they constitute deception.
19          110.   Mo. Rev. Stat. § 407.020.1 prohibits “[t]he act, use or employment by any person
20 of any … deception … in connection with the sale or advertisement of any merchandise in trade
21 or commerce.”
22          111.   The Missouri Attorney General has promulgated a regulation defining the meaning
23 of deception as used in the MMPA. That definition states that deception is any “method, act, use,
24 practice, advertisement or solicitation that has the tendency or capacity to mislead, deceive or
25 cheat, or that tends to create a false impression.” Mo. Code Regs. Ann. tit. 15, § 60-9.020.
26          112.   Pursuant to the MMPA, DoorDash has a duty not to engage in any deception in
27 connection with the sale or advertisement of any merchandise in trade or commerce. For the
28 reasons stated herein, it breached that duty.
                                                    22 
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 1          113.   Giving consumers the option to leave tips for their drivers and then using amounts
 2 tipped to subsidize its guaranteed minimum payments, such that part or all of the tips provide no
 3 financial benefit to the drivers, constitutes deception under the MMPA because this act or practice
 4 has the tendency or capacity to mislead, deceive, cheat, and/or create a false impression.
 5          114.   Specifically, DoorDash’s act or practice of using consumers’ tips to subsidize its
 6 guaranteed minimum payments has the tendency to create a false impression and mislead
 7 consumers as to who is benefitting from their tips, and to deceive and cheat them into paying tips
 8 that provide a financial benefit to DoorDash instead of their drivers.
 9          115.   Plaintiff Peter and the Missouri Subclass thereby suffered ascertainable loss based
10 on DoorDash’s deception by paying to leave tips for their drivers that DoorDash used to subsidize
11 its guaranteed minimum payments. Had DoorDash not concealed what the tips were really used
12 for, Plaintiff Peter and the Missouri Subclass would have paid less in connection with their orders
13 because they would not have left tips that did not provide a financial benefit to their drivers.
14          116.   DoorDash’s deceptive acts and practices have directly, foreseeably, and proximately
15 caused loss, damages and injury to Plaintiff Peter and the MMPA Subclass.
16          117.   DoorDash’s deceptive acts and practices in violation of the MMPA were performed
17 willfully and wantonly, were outrageous and were done in reckless indifference to the rights of
18 Plaintiff Peter and the Missouri Subclass.
19          WHEREFORE, Plaintiff Peter and the Missouri Subclass pray judgment against DoorDash
20 as hereafter set forth.
21                                 FOURTH CLAIM FOR RELIEF
                               UNJUST ENRICHMENT IN MISSOURI
22                 (By Plaintiff Peter and the Missouri Subclass Against DoorDash)
23          118.   Plaintiff Peter realleges and incorporates by reference the allegations contained in
24 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
25 extent necessary, pleads this cause of action in the alternative.
26          119.   Plaintiff Peter brings this claim individually and on behalf of the members of the
27 Missouri Subclass against DoorDash under Missouri law.
28 / / /
                                                   23 
                                      CLASS ACTION COMPLAINT
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 1          120.   Substantial benefits have been conferred upon DoorDash from Plaintiff Peter and
 2 members of the Missouri Subclass by Plaintiff Peter and the Missouri Subclass members paying
 3 their drivers tips that DoorDash used to subsidize its guaranteed minimum payments. DoorDash
 4 has knowingly and willingly accepted and enjoyed the benefits of its practice of using consumers’
 5 tips to subsidize its guaranteed minimum payments.
 6          121.   DoorDash either knew or should have known that it was deceiving consumers by
 7 giving them the option to tip their drivers while concealing that it used their tips to subsidize its
 8 guaranteed minimum payments, and that it was therefore accepting money from consumers that
 9 consumers intended to benefit their drivers.
10          122.   For DoorDash to retain the benefit of these payments under these circumstances is
11 inequitable.
12          123.   DoorDash’s acceptance and retention of these benefits under the circumstances
13 make it inequitable for DoorDash to retain these benefits without payment of the value to Plaintiff
14 Peter and the Missouri Subclass.
15          124.   Plaintiff Peter and the Missouri Subclass are entitled to recover from DoorDash all
16 amounts wrongfully collected and improperly retained by DoorDash based on its practice of using
17 consumers’ tips to subsidize its guaranteed minimum payments.
18          125.   As a direct and proximate result of DoorDash’s wrongful conduct and unjust
19 enrichment, Plaintiff Peter and the Missouri Subclass are entitled to restitution from, and
20 institution of, a constructive trust disgorging all profits, benefits, and other compensation obtained
21 by DoorDash, plus attorneys’ fees, costs, and interest thereon.
22          WHEREFORE, Plaintiff Peter and the Missouri Subclass pray judgment against DoorDash
23 as hereafter set forth.
24                                   FIFTH CLAIM FOR RELIEF
                           MONEY HAD AND RECEIVED IN MISSOURI
25                 (By Plaintiff Peter and the Missouri Subclass Against DoorDash)
26          126.   Plaintiff Peter realleges and incorporates by reference the allegations contained in
27 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
28 extent necessary, pleads this cause of action in the alternative.
                                                    24 
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 1          127.   Plaintiff Peter brings this claim individually and on behalf of the members of the
 2 Missouri Subclass against DoorDash under Missouri law.
 3          128.   DoorDash has received money from Plaintiff Peter and the Missouri Subclass for
 4 providing food-delivery services, which includes money that it received as a result of its practice
 5 of using consumers’ tips to subsidize its guaranteed minimum payments, that in equity and good
 6 conscience should be returned to Plaintiff Peter and the Missouri Subclass.
 7          129.   It is unjust for DoorDash to accept and retain this money that it received by using
 8 tips paid by Plaintiff Peter and members of the Missouri Subclass to subsidize its guaranteed
 9 minimum payments.
10          130.   DoorDash should return to Plaintiff Peter and members of the Missouri Subclass the
11 money DoorDash received by using their tips to subsidize its guaranteed minimum payments.
12          WHEREFORE, Plaintiff Peter and the Missouri Subclass pray judgment against DoorDash
13 as hereafter set forth.
14                                  SIXTH CLAIM FOR RELIEF
15                    UNFAIR PRACTICES IN VIOLATION OF THE ICFA
                                         ICFA, 815 ILCS 505/2
16                 (By Plaintiff Theiss and the Illinois Subclass Against DoorDash)
17          131.   Plaintiff Theiss realleges and incorporates by reference the allegations contained in
18 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
19 extent necessary, pleads this cause of action in the alternative.
20          132.   Plaintiff Theiss brings this claim individually and on behalf of the members of the
21 Illinois Subclass against DoorDash under Illinois law.
22          133.   Section 2 of the ICFA, 815 ILCS 505/2, prohibits “unfair or deceptive acts or
23 practices, including but not limited to the use or employment of any deception, fraud, false
24 pretense, false promise, misrepresentation or the concealment, suppression or omission of such
25 material fact … in the conduct of any trade or commerce …,” as set forth below:
26                 Unfair methods of competition and unfair or deceptive acts or
27                 practices, including but not limited to the use or employment of any
28                 deception, fraud, false pretense, false promise, misrepresentation or
                                                   25 
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 1                 the concealment, suppression or omission of any material fact, with
 2                 intent that others rely upon the concealment, suppression or omission
 3                 of such material fact, or the use or employment of any practice
 4                 described in Section 2 of the “Uniform Deceptive Trade Practices
 5                 Act”, approved August 5, 1965,1 in the conduct of any trade or
 6                 commerce are hereby declared unlawful whether any person has in
 7                 fact been misled, deceived or damaged thereby.
 8 815 ILCS 505/2.
 9          134.   In outlawing unfair acts and practices, the Illinois legislature adopted the Federal
10 Trade Commission’s interpretation of § 5(a)(1) of the Federal Trade Commission (“FTC”) Act,
11 15 U.S.C. § 45(a): “In construing this section consideration shall be given to the interpretations
12 of the Federal Trade Commission and the federal courts relating to Section 5(a) of the Federal
13 Trade Commission Act.” 815 ILCS 505/2.
14          135.   In determining whether a practice is unfair in violation of Section 5(a) of the FTC
15 Act, the FTC considers “whether the practice, without necessarily having been previously
16 considered unlawful ... is within at least the penumbra of some common-law, statutory, or other
17 established concept of unfairness” and “whether it is ... unethical.” FTC v. Sperry & Hutchinson
18 Co., 405 U.S. 233, 244 n. 5 (1972).
19          136.   Accordingly, unethical practices are unfair under the ICFA.
20          137.   In providing food-delivery services to its customers, DoorDash is engaged in trade
21 and commerce.
22          138.   Pursuant to the ICFA, DoorDash has a duty not to engage in unfair acts or practices
23 in the conduct of any trade of commerce. For the reasons stated herein, it breached that duty.
24          139.   Giving consumers the option to leave tips for their drivers, while concealing that the
25 tips are used to subsidize part of DoorDash’s guaranteed minimum payments and that part or all
26 of the tips provide no financial benefit to the drivers, is unfair and unethical and violates generally
27 accepted principles of ethical business conduct, including the principles of the Direct Marketing
28 Association and American Marketing Association, as set forth above.
                                                    26 
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 1          140.   DoorDash has engaged in the unfair acts and practices as described above willfully
 2 and knowingly.
 3          141.   DoorDash’s unfair acts and practices have directly, foreseeably, and proximately
 4 caused damages and injury to the Illinois Subclass.
 5          142.   Plaintiff Theiss and members of the Illinois Subclass paid tips to their drivers that
 6 DoorDash used to subsidize the guaranteed minimum payments that it owed to its drivers.
 7          143.   Plaintiff Theiss and the Illinois Subclass therefore suffered monetary damages in
 8 the amounts of the tips that they paid that did not provide a financial benefit to their drivers.
 9          144.   The ICFA allows “[a]ny person who suffers actual damage as a result of a violation
10 of this Act committed by any other person [to] bring an action against such person. The court, in
11 its discretion may award actual economic damages or any other relief which the court deems
12 proper….” 815 ILCS 505/10a.
13          WHEREFORE, Plaintiff Theiss and the Illinois Subclass pray judgment against DoorDash
14 as hereafter set forth.
15                                SEVENTH CLAIM FOR RELIEF
16                 AFFIRMATIVE DECEPTION IN VIOLATION OF THE ICFA
                                         ICFA, 815 ILCS 505/2
17                 (By Plaintiff Theiss and the Illinois Subclass Against DoorDash)
18          145.   Plaintiff Theiss realleges and incorporates by reference the allegations contained in
19 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
20 extent necessary, pleads this cause of action in the alternative.
21          146.   Plaintiff Theiss brings this claim individually and on behalf of the members of the
22 Illinois Subclass against DoorDash under Illinois law.
23          147.   Section 2 of the ICFA prohibits “deceptive acts or practices, including but not
24 limited to the use or employment of any deception, fraud, false pretense, false promise,
25 misrepresentation or the concealment, suppression or omission of any material fact, with intent
26 that others rely upon the concealment, suppression or omission of such material fact … in the
27 conduct of any trade or commerce ….” 815 ILCS 505/2.
28 / / /
                                                    27 
                                      CLASS ACTION COMPLAINT
             Case 4:19-cv-06098-JST Document 1 Filed 09/25/19 Page 28 of 203



 1          148.    In providing food-delivery services to its customers, DoorDash is engaged in trade
 2 and commerce.
 3          149.    Pursuant to the ICFA, DoorDash has a duty not to engage in deceptive acts or
 4 practices by the use of deception, fraud, false pretense, false promise, or misrepresentation in the
 5 conduct of any trade of commerce.
 6          150.    By giving consumers the option to leave tips for their drivers while concealing that
 7 DoorDash uses the tips to subsidize part of its guaranteed minimum payments, such that all or
 8 part of the tips provide no financial benefit to the drivers, DoorDash has engaged in deceptive acts
 9 or practices by the use of deception, fraud, false pretense, false promise, or misrepresentation.
10          151.    Plaintiff Theiss and members of the Illinois Subclass paid tips to their drivers that
11 DoorDash used to subsidize its guaranteed minimum payments to the drivers. This means that
12 part or all of their tips did not provide a financial benefit to the drivers.
13          152.    DoorDash’s deceptive acts and practices have directly, foreseeably, and proximately
14 caused damages and injury to Plaintiff Theiss and the Illinois Subclass. DoorDash has engaged in
15 these deceptive acts and practices willfully and knowingly.
16          153.    Plaintiff Theiss and the Illinois Subclass therefore suffered monetary damages in
17 the amounts of the tips that they paid that did not provide a financial benefit to their drivers.
18          154.    The ICFA allows “[a]ny person who suffers actual damage as a result of a violation
19 of this Act committed by any other person [to] bring an action against such person. The court, in
20 its discretion may award actual economic damages or any other relief which the court deems
21 proper….” 815 ILCS 505/10a.
22          WHEREFORE, Plaintiff Theiss and the Illinois Subclass pray judgment against DoorDash
23 as hereafter set forth.
24                                  EIGHTH CLAIM FOR RELIEF
                                UNJUST ENRICHMENT IN ILLINOIS
25                  (By Plaintiff Theiss and the Illinois Subclass Against DoorDash)
26          155.    Plaintiff Theiss realleges and incorporates by reference the allegations contained in
27 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
28 extent necessary, pleads this cause of action in the alternative.
                                                     28 
                                       CLASS ACTION COMPLAINT
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 1          156.   Plaintiff Theiss brings this claim individually and on behalf of the members of the
 2 Illinois Subclass against DoorDash under Illinois law.
 3          157.   Substantial benefits have been conferred upon DoorDash from Plaintiff Theiss and
 4 Illinois Subclass Members by Plaintiff Theiss and Illinois Subclass Members paying their drivers
 5 tips that DoorDash used to subsidize its guaranteed minimum payments.                 DoorDash has
 6 knowingly and willingly accepted and enjoyed the benefits of its practice of using consumers’ tips
 7 to subsidize its guaranteed minimum payments.
 8          158.   DoorDash either knew or should have known that it was deceiving consumers by
 9 giving them the option to tip their drivers while concealing that it used their tips to subsidize its
10 guaranteed minimum payments, and that it was therefore accepting money from consumers that
11 consumers intended to benefit their drivers.
12          159.   For DoorDash to retain the benefit of these payments under these circumstances is
13 inequitable.
14          160.   DoorDash’s acceptance and retention of these benefits under the circumstances
15 make it inequitable for DoorDash to retain these benefits without payment of the value to Plaintiff
16 Theiss and the Illinois Subclass.
17          161.   Plaintiff Theiss and the Illinois Subclass are entitled to recover from DoorDash all
18 amounts wrongfully collected and improperly retained by DoorDash based on its practice of using
19 consumers’ tips to subsidize its guaranteed minimum payments.
20          162.   As a direct and proximate result of DoorDash’s wrongful conduct and unjust
21 enrichment, Plaintiff Theiss and the Illinois Subclass are entitled to restitution from, and
22 institution of, a constructive trust disgorging all profits, benefits, and other compensation obtained
23 by DoorDash, plus attorneys’ fees, costs, and interest thereon.
24          WHEREFORE, Plaintiff Theiss and the Illinois Subclass pray judgment against DoorDash
25 as hereafter set forth.
26 / / /
27 / / /
28 / / /
                                                    29 
                                       CLASS ACTION COMPLAINT
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 1                                 NINTH CLAIM FOR RELIEF
                           MONEY HAD AND RECEIVED IN ILLINOIS
 2                 (By Plaintiff Theiss and the Illinois Subclass Against DoorDash)
 3          163.   Plaintiff Theiss realleges and incorporates by reference the allegations contained in
 4 paragraphs 1 through 81, inclusive, of this Complaint, as though fully set forth herein and, to the
 5 extent necessary, pleads this cause of action in the alternative.
 6          164.   Plaintiff Theiss brings this claim individually and on behalf of the members of the
 7 Illinois Subclass against DoorDash under Illinois law.
 8          165.   DoorDash has received money from Plaintiff Theiss and the Illinois Subclass for
 9 providing food-delivery services, which includes money that it received as a result of its practice
10 of using consumers’ tips to subsidize its guaranteed minimum payments, that in equity and good
11 conscience should be returned to Plaintiff Theiss and the members of the Illinois Subclass.
12          166.   It is unjust for DoorDash to accept and retain this money that it received by using
13 tips paid by Plaintiff Theiss and the members of the Illinois Subclass to subsidize its guaranteed
14 minimum payments.
15          167.   DoorDash should return to Plaintiff Theiss and the members of the Illinois Subclass
16 the money it received by using their tips to subsidize its guaranteed minimum payments.
17          WHEREFORE, Plaintiff Theiss and the Illinois Subclass pray judgment against DoorDash
18 as hereafter set forth.
19                                      PRAYER FOR RELIEF
20          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,
21 respectfully request that the Court enter judgment against DoorDash, as follows:
22           1.    An order certifying appropriate classes and/or subclasses, designating Plaintiffs as
23 the class representatives and their counsel as class counsel;
24           2.    An award of restitution, damages, and disgorgement to Plaintiffs and the Class in
25 an amount to be determined at trial;
26           3.    An award of punitive damages as the Court deems necessary or proper;
27           4.    An order enjoining DoorDash from continuing to engage in the practices
28 complained of herein;
                                                   30 
                                     CLASS ACTION COMPLAINT
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1         5.   An order requiring DoorDash to pay both pre- and post-judgment interest on any
2 amounts awarded, as allowed by law;
3         6.   An award of costs and attorneys’ fees, as allowed by law; and
4         7.   Such other or further relief as may be appropriate.
5
6 Dated: September 25, 2019         ARIAS SANGUINETTI WANG & TORRIJOS, LLP
7                                   By:     /s/ Alfredo Torrijos
8                                         Mike Arias (SBN 115385)
                                            mike@aswtlawyers.com
9                                         Elise R. Sanguinetti (SBN 191389)
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10
                                          Alfredo Torrijos (SBN 222458)
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13                                        (310) 844-9696 / (310) 861-0168 (fax)

14                                  LAW OFFICE OF RICHARD S. CORNFELD, LLC
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                                       (314) 241-5799 / (314) 241-5788 (fax)
19
                                    Attorneys for Plaintiffs and the Proposed Class
20
21
22
23
24
25
26
27
28
                                               31 
                                 CLASS ACTION COMPLAINT
           Case 4:19-cv-06098-JST Document 1 Filed 09/25/19 Page 32 of 203



1                                   DEMAND FOR JURY TRIAL
2         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs, individually and on behalf of
3 all others similarly situated, hereby demand a trial by jury of any and all issues in this action so
4 triable of right.
5
6 Dated: September 25, 2019           ARIAS SANGUINETTI WANG & TORRIJOS, LLP
7                                     By:     /s/ Alfredo Torrijos
8                                           Mike Arias (SBN 115385)
                                              mike@aswtlawyers.com
9                                           Elise R. Sanguinetti (SBN 191389)
                                              elise@aswtlawyers.com
10
                                            Alfredo Torrijos (SBN 222458)
11                                            alfredo@aswtlawyers.com
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12                                          Los Angeles, CA 90045
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14                                    LAW OFFICE OF RICHARD S. CORNFELD, LLC
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19
                                      Attorneys for Plaintiffs and the Proposed Class
20
21
22
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28
                                                  32 
                                    CLASS ACTION COMPLAINT
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                          Thanks for your order, Jennifer

                                Sapporo 2 Sushi & Thai

                                   Individual Order • 1 Item
                              Delivery: Thu May 16 at 11:51 AM




Jennifer Markezich's Order
1       Pad See Ew                                                                     $9.00




Subtotal                                                                             $9.00
Tax                                                                                  $0.96
Delivery                                                                             $0.00
Service fee                                                                          $1.62
Dasher tip                                                                           $2.00
Total                                                                               $15.58




                                   Delivery Address

                              727 N 1st St, St. Louis, MO 63102, USA



Order Number: 210016100                                                            Page 1 of 1


                                                                                Exhibit A
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                           Thanks for your order, Karson

                                       Chick-fil-A (02831)

                                      Individual Order • 3 Items
                                  Delivery: Sat Mar 16 at 3:27 PM




Karson Thesis's Order
1       Spicy Chicken Sandwich                                                           $5.35
1       Chick-fil-A Waffle Potato Fries™                                                 $2.40
1       Chick-fil-A® Lemonade                                                            $2.60




Subtotal                                                                              $10.35
Tax                                                                                    $0.86
Delivery                                                                               $0.00
Service fee                                                                            $1.04
Dasher tip                                                                             $3.00
Total                                                                                 $15.25




                                      Delivery Address

Order Number: 169513655                                                              Page 1 of 2

                                                                                 Exhibit B
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                           811 Old Caseyville Rd, Caseyville, IL 62232, USA




Order Number: 169513655                                                              Page 2 of 2
                                                                                 Exhibit B
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             Exhibit C
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                          Thanks for your order, Karson

                                     Burger King (2809)

                                    Individual Order • 3 Items
                                Delivery: Wed Mar 20 at 8:55 PM




Karson Thesis's Order
1       WHOPPER                                                                           $4.39
1       French Fries                                                                      $2.29
1       Classic OREO Shake                                                                $3.29




Subtotal                                                                                $9.97
Tax                                                                                     $0.81
Delivery                                                                                $3.99
Service fee                                                                             $1.00
Dasher tip                                                                              $2.00
Total                                                                                  $19.77




                                    Delivery Address

Order Number: 172425602                                                               Page 1 of 2

                                                                                  Exhibit C
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                             1600 Keebler Rd, Collinsville, IL 62234, USA




Order Number: 172425602                                                              Page 2 of 2
                                                                                 Exhibit C
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                          Thanks for your order, Karson

                                      Wendy's (11155)

                                     Individual Order • 1 Item
                                 Delivery: Fri Apr 19 at 5:04 PM




Karson Thesis's Order
1       S'Awesome Bacon Cheeseburger Combo                                              $10.32




Subtotal                                                                               $10.32
Tax                                                                                     $0.94
Delivery                                                                                $2.99
Service fee                                                                             $1.03
Dasher tip                                                                              $2.00
Total                                                                                  $17.28




                                    Delivery Address

                           811 Old Caseyville Rd, Caseyville, IL 62232, USA



Order Number: 192020382                                                               Page 1 of 1

                                                                                  Exhibit D
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                          Thanks for your order, Karson

                                   Firehouse Subs (1514)

                                      Individual Order • 1 Item
                                Delivery: Mon May 27 at 4:14 PM




Karson Thesis's Order
1       ■Smokehouse Beef & Cheddar Brisket™ (Medium)                                      $8.04




Subtotal                                                                                $8.04
Tax                                                                                     $0.73
Delivery                                                                                $1.99
Service fee                                                                             $0.80
Dasher tip                                                                              $2.00

Total                                                                                  $13.56




                                     Delivery Address

                              1600 Keebler Rd, Collinsville, IL 62234, USA


Order Number: 218269155                                                               Page 1 of 1

                                                                                  Exhibit E
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                          Thanks for your order, Karson

                                   Firehouse Subs (1514)

                                      Individual Order • 1 Item
                                 Delivery: Sat Aug 10 at 2:46 PM




Karson Thesis's Order
1       ■Turkey Bacon Ranch ™ (Medium)                                                    $6.49




Subtotal                                                                                $6.49
Tax                                                                                     $0.59
Delivery                                                                                $1.99
Service fee                                                                             $0.65
Dasher tip                                                                              $2.00

Total                                                                                   $2.00




                                     Delivery Address

                              1600 Keebler Rd, Collinsville, IL 62234, USA


Order Number: 273448840                                                               Page 1 of 1

                                                                                  Exhibit F
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                          Thanks for your order, Karson

                                       Wendy's (11155)

                                      Individual Order • 3 Items
                                 Delivery: Fri Aug 23 at 1:29 PM




Karson Thesis's Order
1       Jr. Hamburger                                                                     $1.13
1       Jalapeño Bacon Topped Fries                                                       $3.30
1       Wildberry Lemonade                                                                $3.26




Subtotal                                                                                $7.69
Tax                                                                                     $0.70
Delivery                                                                                $2.99
Service fee                                                                             $0.77
Dasher tip                                                                              $2.00

Total                                                                                  $14.58




                                      Delivery Address

Order Number: 283475520                                                               Page 1 of 2

                                                                                  Exhibit G
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                           811 Old Caseyville Rd, Caseyville, IL 62232, USA




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                                  1



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   DIR
     RECT MARKE
          M   ETING ASSOCI
                      A       IATION N GUID
                                          DELINES
                        for
             Eth
               hical Bu
                      usiness P
                              Practicee
The Direect Marketing  g Associatio
                                  on's Guidelinnes for Ethiccal Business Practice are intended to
provide individuals
         i            and
                      a organizaations involv  ved in direct marketing inn all media w with generallly
accepted principles ofo conduct. These
                                  T      guidelines reflect D DMA's longg-standing poolicy of highh
levels of ethics and thhe responsib
                                  bility of the Association,
                                                A             , its memberrs, and all maarketers to
maintain consumer anda community relationships that aree based on faair and ethicaal principless. In
addition to providing g general guiidance to thee industry, thhe Guidelinees for Ethicall Business
Practice are
          a used by DMA's
                       D       Commmittee on Ethical
                                               E       Businness Practicee, an industryy peer revieww
committeee, as the staandard to whhich direct marketing
                                              m           proomotions thaat are the subbject of
complainnt to DMA are compared    d.

These guuidelines reprresent DMA
                               A's general phhilosophy thhat self-regullatory measuures are
preferablle to governm
                     mental mand
                               dates. Self-rregulatory acctions are moore readily aadaptable to
changingg techniques and econommic and sociaal conditionss. They encoourage widespread use oof
sound buusiness practices.

Because dishonest, misleading
                    m           orr offensive communicati
                                              c           ions discrediit all means of advertisinng
and markketing, includ
                     ding direct marketing,
                                 m           observance of these guideelines by all concerned iis
expectedd. All person
                    ns involved in
                                 i direct marrketing shouuld take reasoonable steps to encouragge
other ind
        dustry members to followw these guideelines as welll.

DMA Gu   uidelines proovide the bassis for DMAA member coompliance foor ethical maarketing pracctices
and comp pliance primmarily under U.S.
                                    U laws. Global
                                                G      comppanies should be reviewiing international
rules in addition
         a        to U.S.
                     U rules. Fo   or compliancce examples and specificc best practicces which m
                                                                                               may
be over and
         a above baaseline guideelines, pleasee refer to DM MA’s guidannce and best practice
documen  nts, such as itts “Do the Right
                                   R     Thing”” guidance. TThe DMA allso asks its mmembers to
review thhe Fair Inforrmation Pracctices and Priinciples (FIP
                                                            PPs.) Send qquestions to eethics@the-
dma.org.

January
      y, 2014




                                                   2


                                                                                                  Exhibit H
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                             DMA Member Principles
DMA Member Principles are the underlying framework for the Guidelines for Ethical Business
Practice as detailed herein, and for Guidelines that will be drafted in the future. These Principles
apply to DMA members’ relationships with current and prospective customers, donors, and
members, and are the grounding for all DMA members, which includes those who market
directly not only to consumers, but also to businesses, government agencies, and “SOHO”
(small-office/home-office) entities. The Principles provide a general statement to the public of
the expectations they can have when dealing with DMA members.

A DMA Member:

1.     Is committed to customer satisfaction, good corporate citizenship, and responsible
       environmental, community and financial stewardship
2.     Clearly, honestly, and accurately represents its products, services, terms and conditions
3.     Delivers its products and services as represented
4.     Communicates in a respectful and courteous manner
5.     Responds to inquiries and complaints in a constructive, timely way
6.     Maintains appropriate security policies and practices to safeguard information
7.     Provides information on its policies about the transfer of personally identifiable
       information for marketing purposes
8.     Honors requests not to have personally identifiable information transferred for marketing
       purposes
9.     Honors requests not to receive future solicitations from its organization
10.    Follows the spirit and letter of the law as well as DMA's Guidelines for Ethical Business
       Practice




                                                 3


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The Terms of the Offer
HONESTY AND CLARITY OF OFFER
Article #1
All offers should be clear, honest, and complete so that the consumer may know the exact nature
of what is being offered, the price, the terms of payment (including all extra charges) and the
commitment involved in the placing of an order. Before publication of an offer, marketers
should be prepared to substantiate any claims or offers made. Advertisements or specific claims
that are untrue, misleading, deceptive, or fraudulent should not be used.

ACCURACY AND CONSISTENCY
Article #2
Simple and consistent statements or representations of all the essential points of the offer should
appear in the promotional material. The overall impression of an offer should not be
contradicted by individual statements, representations, or disclaimers.

CLARITY OF REPRESENTATIONS
Article #3
Representations which, by their size, placement, duration, or other characteristics are unlikely to
be noticed or are difficult to understand should not be used if they are material to the offer.

ACTUAL CONDITIONS
Article #4
All descriptions, promises, and claims of limitation should be in accordance with actual
conditions, situations, and circumstances existing at the time of the promotion.

DISPARAGEMENT
Article #5
Disparagement of any person or group on grounds addressed by federal or state laws that
prohibit discrimination is unacceptable.

DECENCY
Article #6
Solicitations should not be sent to consumers who have indicated to the marketer that they
consider those solicitations to be vulgar, immoral, profane, pornographic, or offensive in any
way and who do not want to receive them.

PHOTOGRAPHS AND ART WORK
Article #7
Photographs, illustrations, artwork, and the situations they describe should be accurate portrayals
and current reproductions of the products, services, or other subjects they represent.




                                                 7

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DISCLOSURE OF SPONSOR AND INTENT
Article #8
All marketing contacts should disclose the name of the sponsor and each purpose of the contact.
No one should make offers or solicitations in the guise of one purpose when the intent is a
different purpose regardless of the marketing channel used.

ACCESSIBILITY
Article #9
Every offer should clearly identify the marketer's name and street address or telephone number,
or both, at which the individual may obtain service and exercise their marketing preferences. If
an offer is made online, the marketer should provide its name, an Internet-based contact
mechanism, and a street address. For email solicitations, marketers should comply with Article
#40 (Commercial Solicitations Online). For mobile marketing solicitations, marketers should
comply with Articles #54-56 to provide adequate notice to consumers to allow them to exercise
their marketing preferences.

SOLICITATION IN THE GUISE OF AN INVOICE OR GOVERNMENTAL
NOTIFICATION
Article #10
Offers that are likely to be mistaken for bills, invoices, or notices from public utilities or
governmental agencies should not be used.

POSTAGE, SHIPPING, OR HANDLING CHARGES
Article #11
Postage, shipping, or handling charges, if any, should bear a reasonable relationship to actual
costs incurred.

ADVANCE CONSENT/NEGATIVE OPTION MARKETING
Article #12
These guidelines apply to all media and address marketing plans where the consumer gives
consent to receive and pay for goods or services in the future on a continuing or periodic basis,
unless and until the consumer cancels the plan.

   The following should apply to all advance consent or negative option marketing plans:

   1. Initial Offer:

       CONSENT: Regardless of channel, marketers should have the consumer’s express
       informed consent to participate in any advance consent or negative option marketing plan
       before the consumer is billed or charged. For example, a pre-checked box without further
       action, such as clicking a response button or sending back a response to confirm
       individual consent is not sufficient. In telephone sales where the consumer agrees to the
       offer in a way other than by credit or debit card payment, the consumer consent must be
       written or audio recorded.




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           Marketers should inform consumers in the initial offer of their right to cancel
            their participation in the plan and any outstanding fees that may be owed.

           Marketers should inform consumers in the initial offer of the length of any
            trial period, including a statement that the consumer’s account will be
            charged after the trial period (including the date of the charge) unless the
            consumer takes an affirmative step to cancel, providing the consumer a
            reasonable time period to cancel, and the steps needed to avoid charges.

MATERIAL TERMS & CONDITIONS: Regardless of channel, marketers should
clearly and conspicuously disclose all material terms and conditions before obtaining the
consumer's billing information, including:

           A description of the goods or services being offered
           The identity of the marketer and contact information for service or
            cancellation
           The interval between shipments or services to be provided
           The price or the range of prices of the goods or services purchased by the
            consumer, including whether there are any additional charges should be
            disclosed
           Whether the consumer will be billed or automatically charged
           When and how frequently the consumer will be billed or charged
           Any terms with regards to a “free to keep” incentive as applicable
           The fact that the consumer must take affirmative action to cancel in order to
            avoid future billing or charges
           The specific and easy steps that consumers should follow to cancel the plan
            and to stop recurring charges from being placed on the consumer’s account,
            and
           The time period within which the consumer must cancel.

When applicable, the following terms and conditions should also be clearly and
conspicuously disclosed in the initial offer:

           That the current plan or renewal prices of the goods or services are subject to
            change
           The length of any free, trial or approval period in time or quantity
           The length of membership period, and the length of subsequent renewal or
            billing periods
           The fact that goods or services will continue after the free period unless the
            consumer cancels
           Any minimum purchase obligations, and
           The terms and conditions of any refund policy

In instances where the marketer uses pre-acquired account information under a free-to-
pay conversion plan, the marketer should:


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                  Obtain from the consumer the complete account number to be charged within
                   the appropriate data security protocols (such as PCI compliance)
                  Obtain affirmative consent from the consumer to charge such account, and
                  Provide channel specific proof (an email or hard copy confirmation, or if via
                   telephone, audio record the entire transaction.)

       In instances where the marketer uses pre-acquired account information but does not
       engage in a free-to-pay conversion plan, the marketer should:

                  Identify with specificity the account that will be charged, and
                  Obtain affirmative consent from the consumer to charge such account

2. Providing the Goods & Services to the Consumer:

           Marketers may provide products or services and bills concurrently; however,
            consumers should not be obligated to pay bills prior to the expiration of any trial
            period.

           Marketers should inform consumers in renewal reminders of their right to cancel
            their participation in the plan, and any outstanding fees owed.

           Marketers should provide renewal reminders at the frequency specified in the initial
            offer.

3. Cancellation:

           Marketers should promptly honor requests for refunds due upon consumers'
            cancellation of the plan.

           Marketers should allow consumers a reasonable length of time between receipt of
            renewal reminders and the renewal date, after which consumers can cancel the plan.

           Marketers should honor the time period they provided for a cancellation and should
            honor a cancellation after the expiration of the trial period.

4. For Internet Sales:

       The initial merchant must never disclose a credit card, debit card or other financial
       account number or other billing information that is used to charge the customer of the
       initial merchant to any post-transaction third party seller for use in an Internet-based sale
       of any goods or services from that post-transaction third party seller.




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Post-Transaction Third Party Sales:

       For post-transaction third party sellers:
       No charges should apply to a consumer’s account before obtaining the consumer’s billing
       information as follows:

       The third party seller has first clearly and conspicuously disclosed to the purchaser a
       description of the goods and services being offered and all material terms of the offer
       including:
            The fact that the third party seller is not affiliated with the initial merchant;
            The costs of such goods or services;
            And the consumer has provided express informed consent for the charges by
              providing the complete account information to be charged, providing the
              consumer’s name and address and a means to contact the consumer, and
              providing confirmation such as clicking a confirmation button or otherwise
              demonstrating consent to the charges.

       All marketing partners or service providers should comply with these guidelines.




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Marketing to Children
MARKETING TO CHILDREN
Article #13
Offers and the manner in which they are presented that are suitable for adults only should not be
made to children. In determining the suitability of a communication with children online, via
wireless devices such as a mobile phone, or in any other medium, or by providing a commercial
website or other online services directed to children under 13, marketers should first determine
whether the collection and use of the child’s data for marketing purposes or the sending of
marketing material to the child is permitted under federal law, such as the Children’s Online
Privacy Protection Act (COPPA), or state law. Where marketing to children is permitted by law,
marketers should ensure the marketing is suitable for the child taking into account the age range,
knowledge, sophistication, and maturity of their intended audience.

Definitions:

Covered Entities for COPPA and related online data issues: These include operators of
commercial websites and online services (including mobile apps or any service available over
the Internet or that connects to the Internet or a wide-area network) directed to children under 13
that collect, use or disclose personal information from children; third parties (e.g. social plug ins
and ad networks) with actual knowledge of such information collection. Further, first parties are
held strictly accountable for the actions of third parties on that first party’s site or service.

Personal Information:
This includes the following:
       First and last name;
       A home or other physical address;
       Online contact information;
       A screen or user name that functions as online contact information;
       A telephone number;
       A social security number;
       A persistent identifier that serves to recognize a user over time across different websites
       or online services;
       A video, photograph or audio file where such file contains a child’s image or voice;
       Geolocation information sufficient to identify street name and name of a city or town; or
       Information concerning the child or the parents of the child that the operator collects
       online from the child and combines with an identifier described above.

Direct Notice to Parents: Parents must be provided with a detailed direct notice of the
operator’s personal information collection, use and disclosure practices, not through a hyperlink.




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PARENTAL RESPONSIBILITY AND CHOICE
Article #14
Marketers communicating commercial appeals, operators of commercial websites, and online
services (such as mobile apps) directed to children under 13 should provide direct notice (as
defined above) and an opportunity to opt out of the marketing process so that parents have the
ability to limit the collection, use, and disclosure of their children's names, addresses, or other
personally identifiable information prior to such collection, use and disclosure.

Parents must be provided the choice of consenting to the operator’s collection and internal use of
a child’s information. Such information may never be disclosed to third parties (unless the
disclosure is integral to the site or service, in which case that must be made clear to the parent.)

Parents must have access to their child’s personal information to review and/or have that
information deleted.

Parents must be given an opportunity to prevent further use or online collection of a child’s
personal information.

COLLECTION AND USE OF INFORMATION FROM OR ABOUT CHILDREN
Article #15
Marketers should limit the collection, use, and dissemination of personally identifiable
information collected from or about children to that information that is required for the
promotion, sale, and delivery of goods and services; the provision of customer services;
conducting market research; and engaging in other appropriate marketing activities.

Marketers should effectively explain that the information is being requested for marketing
purposes. Information not appropriate for marketing purposes should not be collected.

Upon request from a parent, marketers should promptly provide the source and general nature of
information maintained about a child and allow for removal or correction.

Marketers should implement the strictest security measures to ensure against unauthorized
access, alteration, or dissemination of the data collected from or about children, and should
provide information regarding such measures upon request to the parent or guardian of the
minor.

Operators should retain personally identifiable information only as long as is reasonably
necessary, and must delete personally identifiable information using reasonable measures.

ONLINE MARKETING TO CHILDREN UNDER 13 YEARS OF AGE
Article #16

This Article applies to online marketing as follows:

Online marketers (operators of general audience websites or online services) should not
knowingly collect personally identifiable information online or via wireless handsets or devices



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from a child under 13 without prior verifiable parental consent and direct parental notification of
the nature and intended use of such information, and shall provide an opportunity for the parent
to prevent such use and participation in the activity.

Operators of websites and online services must provide a privacy notice with clear and concise
description of their information policies and practices. This notice should be easy to read on
smaller screens (e.g., mobile devices.) for parents and allow them to provide verifiable consent.

Marketers are not required to ask the age of a child and may rely on the information provided by
the user. Marketers may age screen users and apply notice and consent requirements only for
users that identify themselves as being under age 13. If an operator later determines that a
particular user is a child under the age of 13, parental notice and consent requirements are
triggered.

Online and wireless/mobile contact information should only be used to directly respond to an
activity initiated by a child and not to re-contact a child for other purposes without verifiable
prior parental consent.

Marketers should not knowingly collect, without verifiable prior parental consent, personally
identifiable information online or via a wireless handset or device from children that would
permit any offline contact with the child.

Marketers should not knowingly distribute to any third parties, without verifiable prior parental
consent, information collected from a child that would permit any contact with that child.

Marketers should take reasonable steps to prevent the online publication or posting of
information that would allow a third party to contact a child offline unless the marketer has
verifiable prior parental consent.

Marketers should not entice a child online to divulge personally identifiable information by the
prospect of a special game, prize, or other offer.

Marketers should not make a child's access to website or mobile content contingent on the
collection of personally identifiable information. Only online contact information used to
enhance the interactivity of the site is permitted.

The following assumptions underlie these online guidelines:
 When a marketer directs a site at a certain age group, it can expect that the visitors to that site
   are in that age range, and
 When a marketer asks the age of the child, the marketer can assume the answer to be truthful.




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Special Offers and Claims
USE OF THE WORD "FREE" AND OTHER SIMILAR REPRESENTATIONS
Article #17
A product or service that is offered without cost or obligation to the recipient may be
unqualifiedly described as "free."

If a product or service is offered as "free," all qualifications and conditions should be clearly and
conspicuously disclosed, in close conjunction with the use of the term "free" or other similar
phrase. When the term "free" or other similar representations are made (for example, 2-for-1,
half-price, or 1-cent offers), the product or service required to be purchased should not have been
increased in price or decreased in quality or quantity.

PRICE COMPARISONS
Article #18
Price comparisons, including those between a marketer's current price and a former, future, or
suggested price, or between a marketer's price and the price of a competitor's comparable
product, should be fair and accurate.

In each case of comparison to a former, manufacturer's suggested, or competitor's comparable
product price, recent substantial sales should have been made at that price in the same trade area.

For comparisons with a future price, there should be a reasonable expectation that the new price
will be charged in the foreseeable future.

GUARANTEES
Article #19
If a product or service is offered with a guarantee or a warranty, either the terms and conditions
should be set forth in full in the promotion, or the promotion should state how the consumer may
obtain a copy. The guarantee should clearly state the name and address of the guarantor and the
duration of the guarantee.

Any requests for repair, replacement, or refund under the terms of a guarantee or warranty
should be honored promptly. In an unqualified offer of refund, repair, or replacement, the
customer's preference should prevail.

USE OF TEST OR SURVEY DATA
Article #20
All test or survey data referred to in advertising should be valid and reliable as to source and
methodology, and should support the specific claim for which it is cited. Advertising claims
should not distort test or survey results or take them out of context.




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TESTIMONIALS AND ENDORSEMENTS
Article #21
Testimonials and endorsements in any media (including but not limited to such comments on a
company’s website and via social networking sites, online message boards, blogging and “word-
of-mouth” marketing) should be used only if they:
        a.    Are authorized by the person quoted;
        b.    Are accurate, genuine and related to the experience of the person giving them,
              both at the time made and at the time of the promotion, and disclose the expertise
              of the endorser in terms of whether he or she is an expert for the purposes of the
              advertisement or simply a consumer endorser;
        c.    Are not taken out of context so as to distort the endorser's opinion or experience
              with the product or service;
        d.    Clearly and conspicuously disclose any material connections between the
              endorser and marketer, which the consumer would not expect. A material
              connection refers to a connection between the endorser and marketer that
              materially affects the weight or credibility of the endorsement, such as payments
              or free products, or an employer/employee relationship; and
        e.    Clearly and conspicuously disclose the generally expected, or typical,
              results/performance of the advertised products or services, if the claims made are
              not typical of what a user could expect under normal circumstances.

A marketer should be able to provide prior and adequate substantiation, including providing
reliable scientific evidence, as necessary, for any claims of efficacy (i.e. whether the
product/service will actually do what the marketer says it will do, typicality (i.e. whether the
typical consumer will have an experience like that of the endorser), and environmental benefit.
The marketer should also be able to substantiate that the endorser was a bona fide user of the
product at the time of the endorsement.

Additionally, marketers should ensure that their celebrity endorsers disclose their relationships
with marketers when making endorsements outside the context of traditional advertisements,
such as on talk shows or in social media, and they should not knowingly make statements that
are false or unsubstantiated.

For purposes of this article, the terms “testimonial” and “endorsement” refer to an advertising or
marketing message made in any channel that consumers are likely to believe reflects the
opinions, beliefs, findings, or experiences of a party other than the sponsor of the message, even
if the views expressed by that party are identical to those of the sponsor. Testimonials and
endorsements can be verbal statements, demonstrations, or depictions of the name, signature,
likeness or other identifying personal characteristics of an individual or the name or seal of an
organization.




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Sweepstakes
USE OF THE TERM "SWEEPSTAKES"
Article #22
Sweepstakes are promotional devices by which items of value (prizes) are awarded to
participants by chance without the promoter's requiring the participants to render something of
value (consideration) to be eligible to participate. The co-existence of all three elements -- prize,
chance and consideration -- in the same promotion constitutes a lottery. It is illegal for any
private enterprise to run a lottery without specific governmental authorization.

When skill replaces chance, the promotion becomes a skill contest. When gifts (premiums or
other items of value) are given to all participants independent of the element of chance, the
promotion is not a sweepstakes. Promotions that are not sweepstakes should not be held out as
such.

Only those promotional devices that satisfy the definition stated above should be called or held
out to be a sweepstakes.

NO PURCHASE OPTION
Article #23
Promotions should clearly state that no purchase is required to win sweepstakes prizes. They
should not represent that those who make a purchase or otherwise render consideration with their
entry will have a better chance of winning or will be eligible to win more or larger prizes than
those who do not make a purchase or otherwise render consideration. The method for entering
without ordering should be easy to find, read, and understand. When response devices used only
for entering the sweepstakes are provided, they should be as easy to find as those utilized for
ordering the product or service.

CHANCES OF WINNING
Article #24
No sweepstakes promotion, or any of its parts, should represent that a recipient or entrant has
won a prize or that any entry stands a greater chance of winning a prize than any other entry
when this is not the case. Winners should be selected in a manner that ensures fair application of
the laws of chance.

PRIZES
Article #25
Sweepstakes prizes should be advertised in a manner that is clear, honest, and complete so that
the consumer may know the exact nature of what is being offered. For prizes paid over time, the
annual payment schedule and number of years should be clearly disclosed.

Photographs, illustrations, artwork, and the situations they represent should be accurate
portrayals of the prizes listed in the promotion.




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No award or prize should be held forth directly or by implication as having substantial monetary
value if it is of nominal worth. The value of a non-cash prize should be stated at regular retail
value, whether actual cost to the sponsor is greater or less.

All prizes should be awarded and delivered without cost to the participant. If there are certain
conditions under which a prize or prizes will not be awarded, that fact should be disclosed in a
manner that is easy to find, read, and understand.

PREMIUMS
Article #26
Premiums should be advertised in a manner that is clear, honest, and complete so that the
consumer may know the exact nature of what is being offered.

A premium, gift or item should not be called or held out to be a "prize" if it is offered to every
recipient of or participant in a promotion. If all participants will receive a premium, gift, or item,
that fact should be clearly disclosed.

DISCLOSURE OF RULES
Article #27
All terms and conditions of the sweepstakes, including entry procedures and rules, should be
easy to find, read, and understand. Disclosures set out in the rules section concerning no
purchase option, prizes, and chances of winning should not contradict the overall impression
created by the promotion.

The following should be set forth clearly in the rules:
 No purchase of the advertised product or service is required in order to win a prize
 A purchase will not improve the chances of winning
 Procedures for entry
 If applicable, disclosure that a facsimile of the entry blank or other alternate means (such as a
   3"x 5" card) may be used to enter the sweepstakes
 The termination date for eligibility in the sweepstakes. The termination date should specify
   whether it is a date of mailing or receipt of entry deadline
 The number, retail value (of non-cash prizes), and complete description of all prizes offered,
   and whether cash may be awarded instead of merchandise. If a cash prize is to be awarded
   by installment payments, that fact should be clearly disclosed, along with the nature and
   timing of the payments
 The estimated odds of winning each prize. If the odds depend upon the number of entries, the
   stated odds should be based on an estimate of the number of entries
 The method by which winners will be selected
 The geographic area covered by the sweepstakes and those areas in which the offer is void
 All eligibility requirements, if any
 Approximate dates when winners will be selected and notified
 Publicity rights regarding the use of winner's name
 Taxes are the responsibility of the winner
 Provision of a mailing address to allow consumers to receive a list of winners of prizes over
   $25.00 in value


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Fulfillment
UNORDERED MERCHANDISE OR SERVICE
Article #28
Merchandise or services should not be provided without having first received the customer's
permission. The exceptions are samples or gifts clearly marked as such, and merchandise mailed
by a charitable organization soliciting contributions, as long as all items are sent with a clear and
conspicuous statement informing the recipient of an unqualified right to treat the product as a gift
and to do with it as the recipient sees fit, at no cost or obligation to the recipient.

PRODUCT AVAILABILITY AND SHIPMENT
Article #29
Direct marketers should offer merchandise only when it is on hand or when there is a reasonable
expectation of its timely receipt.

Direct marketers should ship all orders according to the terms of the offer or within 30 days
where there is no promised shipping date, unless otherwise directed by the consumer, and should
promptly notify consumers of any delays.

DRY TESTING
Article #30
Direct marketers should engage in dry testing only when the special nature of the offer is made
clear in the promotion.

Collection, Use, and Maintenance of Marketing Data
For purposes of the Guidelines for Ethical Business Practice, the following definitions are used:

Consumer refers to the subject of the data.

Marketing data means actual or inferred information consistent with a person’s commercial or
charitable inquiry or transaction, or market research or market survey information. Such
information can be derived from either a direct contact or marketing partnership when linked to a
person’s name, postal or email address, or telephone number, or any other personally identifiable
information. When obtained from a publicly available source, information (including public
record information), not combined with other information, is not marketing data.

Marketing purpose means any activity undertaken to collect, aggregate, analyze, maintain,
update, or sell information in order to allow or induce consumers to take action to purchase, rent,
or exchange products, property or services, to solicit a charitable donation, to utilize market
research or market surveys, or to provide verification services to marketers.




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PROVIDING CONSUMER CHOICE & THE COLLECTION, USE, AND TRANSFER
OF PERSONALLY IDENTIFIABLE DATA

Article #31
This article is applicable to all addressable media and applies to senders of marketing offers or
fundraising solicitations:

A. Providing Consumer Choice and Privacy Notice Information:

          Marketers should provide consumers a point of contact where they may add, modify
           or eliminate direct marketing communications from a company or an organization
           and obtain the company or organization’s privacy policy with regards to collection,
           use and transfer of their information. The point of contact information (such as a
           website, telephone number or address) should appear upon or within each written
           marketing offer, or upon request by the consumer.

          Online marketers should provide notice in accordance with Article #38.

          Email marketers should provide notice in accordance with Article #39 and the CAN-
           SPAM Act.

          Mobile marketers must obtain prior express consent and provide a notice in
           accordance with Articles #54 and #55.)

          The point of contact notice should: be easy for the consumer to find, read, understand,
           and act upon.

          A marketer periodically should provide existing customers with notice of its policy
           concerning the rental, sale, exchange, or transfer of data about them and of the
           opportunity to opt out of the marketing process. All such opt-out requests should be
           honored promptly.

          An in-house suppression request from a consumer should be interpreted as meaning
           that the consumer also wants to opt out of the transfer of his or her personal
           information

          Upon request by a consumer, a marketer should disclose the source from which it
           obtained personally identifiable information about that consumer.

       B. Processing Consumer Choices:

      A consumer's request for elimination of future marketing offers should be processed:
          o within 30 days of the consumer’s request or as required by law, whichever is the
             shorter time period
          o for a period of at least three years from the date of receipt of the request


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   Where an affiliate, division, or subsidiary markets under a different company or brand
    name, and is perceived as separate by the consumer, each corporate entity or brand
    should separately honor requests received by it.

   A marketer should establish internal policies and practices that assure accountability for
    honoring consumer preference requests regardless of the marketing channel, in
    compliance with this guideline, and at no cost to consumers. Should those policies
    substantially change, the marketer has an obligation to inform consumers of that change
    prior to the rental, sale, exchange, or transfer of data, and to offer consumers an
    opportunity to opt out of the marketing process at that time.

C. DMAchoice and Related Consumer Choice Files:

   For each prospecting list that is rented, sold, exchanged, or transferred, the names
    registered on the applicable DMAchoice (DMA’s consumer choice web site) name-
    removal lists should be removed prior to use.

   DMAchoice name-removal lists include:

    o the relevant categorical opt-out mailing lists for Catalog, Magazine, Pre-screened
      Credit Offers or Other categories, as well as future categories designated by the
      DMA; and

    o the Email Preference Service and Telephone Preference Service, as well as future
      DMA preference service lists.

   The use of the DMAchoice name-removal lists and preference service lists is not required
    for the company’s and organization’s existing customer or donor lists, only for prospects.

   Members should be listed on the DMAchoice site to demonstrate their compliance with
    the DMA Guidelines and to provide a direct connection to consumers for further choice
    requests.

       o The company or organization listed must provide the correct point of contact
         where the consumer may exercise their marketing preferences. (See Also Article
         #9 Accessibility: Every offer should clearly identify the marketer’s name and
         street address or telephone number, or both, at which the individual may obtain
         service and exercise their marketing preferences.)

    In all instances, the most recent monthly release of the relevant DMAchoice file should
    be used.

    In addition to adhering to these guidelines, a marketer should cooperate with DMA when
    requested in demonstrating its compliance with the Commitment to Consumer Choice
    and the marketer’s own consumer preference policies.


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PERSONAL DATA
Article #32
Marketers should be sensitive to the issue of consumer privacy and should only collect, combine,
rent, sell, exchange, or use marketing data. Marketing data should be used only for marketing
purposes.

Data and selection criteria that by reasonable standards may be considered sensitive and/or
intimate should not be disclosed, be displayed, or provide the basis for lists made available for
rental, sale or exchange when there is a reasonable expectation by the consumer that the
information will be kept confidential.

Credit card numbers, checking account numbers, and debit account numbers are considered to be
personal information and therefore should not be transferred, rented, sold, or exchanged when
there is a reasonable expectation by the consumer that the information will be kept confidential.
Because of the confidential nature of such personally identifying numbers, they should not be
publicly displayed on direct marketing promotions or otherwise made public by direct marketers.

Social Security numbers are also considered to be personal information and therefore should not
be transferred, rented, sold, or exchanged for use by a third party when there is a reasonable
expectation by the consumer that the information will be kept confidential. Because of the
confidential nature of Social Security numbers, they should not be publicly displayed on direct
marketing promotions or otherwise made public by direct marketers. Social Security numbers,
however, are used by direct marketers as part of the process of extending credit to consumers or
for matching or verification purposes.

HEALTH INFORMATION PRIVACY & PROTECTION
Article #33

Nothing in these guidelines is meant to prohibit research, marketing, or other uses of health-
related data which are not personally identifiable, and which are used in the aggregate since there
are no restrictions on the use of de-identified health information.

Health Information Data Protection:

Protected Health Information:
Protected health information is individually identifiable information held or transmitted by a
covered entity (a health plan, or a health care clearinghouse, or a health care provider) or its
business associate in any form or media, whether written or oral. This information includes
demographic information collected from an individual that can reasonably be used to identify the
individual. Identifiers can include the individual’s name, specific dates such as birth, admission,
discharge, death, medical record number, photographs, city, zip code or geographic or other
identifiers held as protected health data. Additionally, protected health information is
information created or received by a health care provider, health plan, employer, or health care




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clearinghouse; and relates to the past, present or future physical or mental health condition of the
individual.

These principles apply to any individual or entity that collects, maintains, uses, and/or transfers
such protected health information for marketing purposes, whether or not marketing is a primary
purpose.

This includes business associates (including the subcontractors of the business associate) who
perform functions or services for covered entities that involve the use of protected health
information.

Such business associates may only use the protected health information if they have a written
agreement to use such protected information for the covered entity’s own marketing purposes.

Principles:

   1. Protected health information gained in the context of a relationship between an individual
      and health or medical care providers or medical treatment facilities should not be
      transferred for marketing purposes without that individual’s specific prior consent
      through a written signed authorization form. All marketing communications (receipt of
      financial remuneration in exchange for the communication) must have such prior written
      authorization and must include a statement that the organization will be paid for the
      marketing activity if the marketing includes direct or indirect payment from a third party.

       Exceptions:
          -Covered entities may provide offers for products and services in face-to-face
          encounters (this is to protect the doctor-patient relationship.)
          -Health and wellness communications may be provided by the covered entity about
          its own products and services.
          -General wellness and prevention communications may be provided.

   2. Individually identifiable health-related information gained in the context of a relationship
   between individuals and health care providers or medical treatment facilities (as defined
   above) or other covered entities should not be used to contact those individuals for marketing
   purposes without the required prior written authorization.

   3. Individually identifiable health-related information volunteered by individuals, and
   gathered outside of the relationship between individuals and covered entities, should be
   considered sensitive and personal in nature. Such information should not be collected,
   maintained, used, and/or transferred for marketing purposes unless those individuals receive,
   at the time the information is collected, a clear notice of the marketer’s intended uses of the
   information, whether the marketer will transfer the information to third parties for further
   use, the name of the collecting organization, and the opportunity to opt out of transfer of the
   information. Such information includes, but is not limited to, information volunteered by
   individuals when responding to surveys and questionnaires. The notice should be easy to
   find, read, and understand.



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4. Individually identifiable health-related information inferred about individuals, and
gathered outside of the relationship between individuals and covered entities, should also be
considered sensitive and personal in nature. This is information based on individual
purchasing behavior. Such information includes, but is not limited to, data captured by
inquiries, donations, purchases, frequent shopper programs, advertised toll-free telephone
numbers, or other consumer response devices. Any entity, including a seller of over-the-
counter drugs, which uses inferred health-related information should promptly provide the
individual with notice and the opportunity to opt out of any transfer of the data for marketing
purposes.

5. Marketers using individually identifiable health-related information should provide both
the source and the nature of the information they have about that individual upon the request
of that individual and the receipt of that individual’s proper identification.

6. Individuals should not be required to release individually identifiable health-related
information about themselves or to provide written authorizations to allow their health
information be used for marketing purposes as a condition of receiving insurance coverage,
treatment, services or information, or otherwise completing their health care-related
transaction.

7. The text, appearance, and nature of solicitations directed to individuals on the basis of their
health-related information should take into account the sensitive nature of such information.

8. Marketers should ensure that safeguards are built into their systems to protect individually
identifiable health-related information from unauthorized access, alteration, abuse, theft, or
misappropriation. Employees who have access to individually identifiable health-related
information should agree in advance to use such information only in an authorized manner.

9. If individually identifiable health-related information is transferred from one direct
marketer to another for a legitimate marketing purpose as established by written agreement,
the transferor should arrange the most strict security measures to assure that unauthorized
access to the information is not likely during the transfer process. Transfers of individually
identifiable health-related information should not be permitted for any marketing uses that
are in violation of any of DMA’s Guidelines for Ethical Business Practice, state or federal
laws.

10. Fundraising exception for limited protected health information: Entities are allowed
to use or disclose to a business entity or institution or institutionally-related foundation
limited protected health information (demographics and dates of care) about an individual for
that entity’s fundraising without a prior written authorization. However, the fundraising
entity must ensure its fundraising material includes an opt-out notice that is clear and
conspicuous, and if it is over the phone, an opt-out disclosure must be made. If the individual
does opt-out, no more fundraising communications across all marketing channels may be
made.




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   For the opt-out notice:
              -the opt-out notice must be included in each fundraising communication;
              -the opt-out method must be free;
              -the entity cannot condition the treatment or services on an individual’s choice to
              receive fundraising communication.

PROMOTION OF MARKETING LISTS
Article #34
Any advertising or promotion for marketing lists being offered for rental, sale, or exchange
should reflect the fact that a marketing list is an aggregate collection of marketing data. Such
promotions should also reflect a sensitivity for the consumers on those lists.

MARKETING LIST USAGE
Article #35
List owners, brokers, managers, and users of marketing lists should ascertain the nature of the
list's intended usage for each materially different marketing use prior to rental, sale, exchange,
transfer, or use of the list. List owners, brokers, and managers should not permit the rental, sale,
exchange, or transfer of their marketing lists, nor should users use any marketing lists for an
offer that is in violation of these guidelines. Mobile opt-in lists should not be rented or
exchanged for the purpose of sending mobile marketing solicitations to those on the list, without
obtaining prior express consent from those on the list.

RESPONSIBILITIES OF DATABASE COMPILERS
Article #36
For purposes of this guideline, a database compiler is a company that assembles personally
identifiable information about consumers (with whom the compiler has no direct relationship) for
the purpose of facilitating renting, selling, or exchanging the information to non-affiliated third
party organizations for marketing purposes. Customer refers to those marketers that use the
database compiler’s data. Consumer refers to the subject of the data.

Database compilers should:

      Establish written (or electronic) agreements with customers that define the rights and
       responsibilities of the compiler and customer with respect to the use of marketing data.

      Upon a consumer’s request, and within a reasonable time, suppress the consumer’s
       information from the compiler’s and/or the applicable customer’s database made
       available to customers for prospecting.

      Not prohibit an end-user marketer from divulging the database compiler as the source of
       the marketer’s information.

      At a minimum, explain to consumers, upon their request for source information, the
       nature and types of sources they use to compile marketing databases.




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      Include language in their written (or electronic) agreements with DMA member
       customers that requires compliance with applicable laws and DMA guidelines. For non-
       DMA member customers they should require compliance with applicable laws and
       encourage compliance with DMA’s guidelines. In both instances, customers should
       agree before using the marketing data.

      Require customers to state the purpose for which the data will be used.

      Use marketing data only for marketing purposes. If the data are non-marketing data but
       are used for marketing purposes, they should be treated as marketing data for purposes of
       this guideline.

      For sensitive marketing data, compilers should review materials to be used in promotions
       to help ensure that their customers’ use of the data is both appropriate and in accordance
       with their stated purpose. Sensitive marketing data include data pertaining to children,
       older adults, health care or treatment, account numbers, or financial transactions.

      Randomly monitor, through seeding or other means, the use of their marketing databases
       to ensure that customers use them in accordance with their stated purpose.

      If a database compiler is or becomes aware that a customer is using consumer data in a
       way that violates the law and/or DMA’s ethics guidelines, it should contact the customer
       and require compliance for any continued data usage, or refuse to sell the data and/or
       refer the matter to the DMA and/or a law enforcement agency.

DATA SECURITY
Article #37
The protection of personally identifiable information is the responsibility of all organizations.
Therefore, organizations should assume the following responsibilities to provide secure
transactions and to protect databases containing personally identifiable information against
unauthorized access, alteration, or dissemination of data:

 Establish written data security policies and procedures reflective of current business practices
   (including written policies and procedures related to personal devices v. company-provided
   devices.) Organizations should ensure there are reasonable information security policies and
   practices that seek to assure the uninterrupted security of information systems within their
   organizations.

 Provide data security training for relevant staff. Organizations should create and implement
   reasonable staff procedures, training, and responsiveness measures to protect personally
   identifiable information handled by relevant staff in the everyday performance of their duties.

 Train staff that use their own devices on steps designed to help prevent unauthorized access
   to the organization’s data as well as educate them about the inherent risks, and ensure the
   organization has reasonable data security policies and safeguards in place for such devices.



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      Monitor and assess data security safeguards periodically. Organizations should employ
       and routinely assess protective physical safeguards and technological measures within
       their organizations, including data retention, destruction, deletion practices, and the
       monitoring and analysis of systems logs in support of information security.

 Include contractual safeguards. Organizations should contractually require all business
   partners and service providers that handle personally identifiable data to ensure that their
   policies, procedures, and practices maintain a level of security consistent with or higher than
   the organizations applicable information security policies, including partners’ own
   employees and contractors accessing data through their own devices.

 Set up a data security breach readiness plan. Organizations should develop and maintain a
   data security breach readiness plan reasonable for the size and nature of the organization,
   their level of data collection, and type of data collected.

        Include the following as reasonable within their organization:
          Periodic audit of data retention. What is stored, on what servers, and who has
               access?
              Employ appropriate data loss prevention technologies.
              Employ an appropriate data minimization plan including a data destruction and
               purge process.
              Maintain an inventory of system access and credentials.
              Segment and isolate networks based on business function to avoid compromising
               sensitive personal information that is used in a network.
              Create a reasonable incident response plan including vendor and law enforcement
               contacts as well as notification requirements.
              Maintain a reasonable and ongoing employee training program.
              Provide the appropriate one way encryption.
              Maintain a reasonable password policy including minimum standards for
               passwords complexity and changes.

 If a data security breach occurs, immediately inform compliance or legal staff as identified in
   your data breach readiness plan. Organizations should, in the event of a security breach
   where there is a reasonable likelihood of material harm to consumers, inform those
   consumers who may be affected in the most expedient time practical (or as required by state
   laws) unless requested by legal authorities to delay such notification due to an ongoing
   criminal investigation.

 For email, organizations should implement the appropriate email authentication protocol
   (SPF, DKIM, DMARC as appropriate) to help reduce the risk of spoofed emails.




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 Organizations collecting sensitive data must ensure added data security measures are taken to
   protect such data online. The appropriate digital certificate should be employed meaning the
   Extended Validation Secure Socket Layer Certificates (EV SSL) should be used on all
   relevant pages of sites requesting sensitive data.

Digital Marketing
ONLINE INFORMATION & ONLINE BEHAVIORAL ADVERTISING
Article #38
This Article addresses the collection of personally identifiable information by websites for online
marketing generally, and the collection and use of information for online behavioral advertising
purposes, as defined in the Glossary of Terms.

General Notice to Online Visitors
If your organization operates an online site and/or is engaged in online behavioral advertising,
you should make your information practices available to visitors in a prominent place on your
website’s home page or in a place on your website that is easily accessible from the home page.

In addition, if your organization offers a mobile application, you should make your information
practices reasonably accessible to the consumers of your application.

This notice about information practices should be easy to find, read, and understand. Visitors
should be able to comprehend the scope of the notice and how they can exercise their choices
regarding use of personally identifiable information or information used for online behavioral
advertising purposes. The notice should be available prior to or at the time personally
identifiable information or information used for online behavioral advertising purposes is
collected.

Your organization and its postal address, and the website(s) or mobile application(s) to which the
notice applies, should be identified so visitors know who is responsible for the website or mobile
application. You also should provide specific contact information so visitors can contact your
organization for service or information.

If your organization collects personally identifiable information from visitors your notice should
include:

       The nature of the information collected online for marketing purposes, and the types of
        uses you make of such information, including uses for online behavioral advertising
        purposes;
       The use(s) of such information, including whether you transfer information to third
        parties for use by them for their own marketing or online behavioral advertising purposes
        and the mechanism by which consumers can exercise choice not to have such information
        transferred;
       Whether personally identifiable information is collected by, used by, or transferred to
        agents (entities working on your behalf) as part of the business activities related to the



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       visitor’s actions on the site or application, including to fulfill orders or to provide
       information or requested services;
      Whether you use cookies or other passive means of information collection, and whether
       such information collected is for internal purposes or transferred to third parties for
       marketing purposes, including online behavioral advertising purposes;
      What procedures your organization has put in place for accountability and enforcement
       purposes; and
      That your organization maintains appropriate physical, electronic, and administrative
       safeguards to protect information collected online and keeps your personal information
       secure.
      If your organization maintains a process for a consumer who uses or visits your website
       or mobile application to review and request changes to any of their personally identifiable
       information that is collected through the website or mobile application, you should
       describe that process.
      If the notice is for a mobile application, the notice should include applicable information
       under Article #55 and Article #58 below.
      The effective date of the notice should be provided.

If you knowingly permit network advertisers to collect information on their own behalf or on
behalf of their clients on your Website or mobile application, you should also provide notice of
fact that these types of entities collect information from your site or application and a link to a
mechanism by which a visitor can exercise their choice of not having such information collected
by these types of entities if they provide such choice. (Network advertisers are third parties that
attempt to target online advertising and make it more relevant to visitors based on Web traffic
information collected over time across the websites of others or application usage collected over
time across applications offered by others.)

In addition, marketers should refer to Article #32 (Personal Data) specifically to assure that
marketing data are used only for marketing purposes.

Third-Party Notice for Online Behavioral Advertising
When information is collected from or used on a website or mobile application for online
behavioral advertising purposes, visitors should be provided with notice (easy to find, read and
understand) about the third party’s policies for online behavioral advertising. Third parties, as
defined in the Glossary of Terms, should provide notice in one of the following ways:
     through a clear, meaningful, and prominent link described in or proximate to the
       advertisement delivered on the Web page or through the application where information is
       collected;
     on DMA’s approved website(s), such as DMAchoice.org or another comprehensive
       industry-developed website(s), that is linked from the disclosure that describes the fact
       that information is being collected for online behavioral advertising purposes;
     on the web page where the information is collected if there is an arrangement with the
       website operator for the provision of such notice;
     if agreed to by the operator of the website(s) on its web page disclosing notice and choice
       regarding information collected for online behavioral advertising purposes.



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Consumer Choice for Third-Party Online Behavioral Advertising
A third party should provide consumers with the ability to exercise choice with respect to the
collection and use of information for online behavioral advertising purposes or the transfer of
such information to a non-affiliate for such purposes. Such choice should be available through
the notice options as detailed above.

Material Changes to Existing Policies
If your organization’s policy changes materially with respect to the sharing of personally
identifiable information with third parties including but not limited to changes for online
behavioral advertising purposes, you should update your policy and give consumers conspicuous
notice to that effect, offering an opportunity for individuals to select their preferences. Prior to
making a materially different use of information collected from an individual for online
behavioral advertising purposes, and before notice of your organization’s policy change is given,
organizations should obtain informed consent to such a new marketing use from the consumer.

Honoring Choice
You should honor a website visitor’s choice regarding use and transfer of personally identifiable
information made in accordance with your stated policy. If you have promised to honor the
visitor’s choice for a specific time period, and if that time period subsequently expires, then you
should provide that visitor with a new notice and choice. You should provide choices online.
You may also offer choice options by mail or telephone.

Providing Access
You should honor any representations made in your online policy notice regarding access.

Information Security
Your organization should maintain appropriate physical, technical and administrative safeguards
and use appropriate security technologies and methods to protect information collected or used
online, and to guard against unauthorized access, alteration, or dissemination of personally
identifiable information during transfer and storage. Your procedures should require that
employees and agents of your organization who have access to personally identifiable
information use and disclose that information only in a lawful and authorized manner.
Organizations should retain information that is collected and used for online behavioral
advertising purposes only for as long as necessary to fulfill a legitimate business need, or as
required by law.

Visitors Under 13 Years of Age
If your organization has a site or a mobile application directed to children under the age of 13 or
collects personally identifiable information from visitors known to be under 13 years of age,
your website should take the additional steps required by the Marketing to Children Articles of
the Guidelines for Ethical Business Practice and inform visitors that your disclosures and
practices are subject to compliance with the Children’s Online Privacy Protection Act
(“COPPA”). In addition, an organization should not engage in online behavioral advertising
directed to children where it has actual knowledge that the children are under the age of 13,
unless compliant with COPPA and these Guidelines.




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Health and Financial Information
Entities should not collect and use financial account numbers, Social Security numbers,
pharmaceutical prescriptions, or medical records about a specific individual for online behavioral
advertising purposes without prior express consent and unless compliant with the Health
Insurance Portability & Accountability Act (“HIPPA”) health laws and regulations, financial
rules and regulations, and these Guidelines.

Accountability
There should be a meaningful, timely, and effective procedure through which your organization
can demonstrate adherence to your stated online information practices. Such a procedure may
include: (1) self or third-party verification and monitoring, (2) complaint resolution, and (3)
education and outreach. This can be accomplished by an independent auditor, public self-
certification, a third-party privacy seal program, a licensing program, and/or membership in a
trade, professional or other membership association with a self-regulatory program.

Service Provider Treatment of Online Behavioral Advertising Information
A service provider, as defined in the Glossary of Terms, should not collect and use information
for online behavioral advertising purposes without consent and should provide an easy-to-use
ongoing means to withdraw consent to the collection and use of that information for online
behavioral advertising purposes.

In addition, a service provider should take the following steps regarding information collected
and used for online behavioral advertising purposes:

       1. Alter, anonymize, or randomize (e.g., through “hashing” or substantial redaction) any
       personally identifiable information or unique identifier in order to prevent the
       information from being reconstructed into its original form in the ordinary course of
       business.

       2. Disclose in the notice described above the circumstances in which information is
       collected and used for online behavioral advertising purposes.

       3. Take reasonable steps to protect the non-identifiable nature of information if and when
       it is distributed to non-affiliates, including not disclosing the algorithm or other
       mechanism used for anonymizing or randomizing the information, and obtaining
       satisfactory written assurance that such non-affiliates will not attempt to re-construct the
       information and will use or disclose the anonymized information only for purposes of
       online behavioral advertising or other uses as specified to users. This assurance will be
       considered satisfied if a non-affiliate does not have any independent right to use the
       information for its own purposes under a written contract.

       4. Take reasonable steps to ensure that any non-affiliate that receives anonymized
       information will itself ensure that any other non-affiliate to which such information is
       disclosed agrees to the restrictions and conditions set forth in this subsection. This
       obligation is also considered satisfied if a non-affiliate does not have any independent
       right to use the data for its own purposes under a written contract.



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Glossary of Terms

Ad Delivery -- means the delivery of online advertisements or advertising-related services using
ad reporting data. Ad delivery does not include the collection and use of ad reporting data when
such data are used to deliver advertisements to a computer or device based on the preferences or
interests inferred from information collected over time and across non-affiliate sites because this
type of collection and use is covered by the definition of online behavioral advertising.

Ad Reporting -- refers to the logging of page views on a website(s) or the collection or use of
other information about a browser, operating system, domain name, clickstream within a site,
date and time of the viewing of the Web page or advertisement, and related information for
purposes including but not limited to: statistical reporting in connection with the activity on a
website(s); Web analytics and analysis for improved marketing and better site design; and
logging the number and type of advertisements served on a particular website(s).

Affiliate -- refers to an entity that controls, is controlled by, or is under common control with,
another entity.

Consent -- means an individual’s action in response to a clear, meaningful and prominent notice
regarding the collection and use of data for online behavioral advertising purposes. Informed
consent is based on information provided to an individual that allows them to select their
preferences, prior express consent means consent required from an individual prior to any
marketing communication from the marketer or others.

Contextual Advertising -- Advertising based on a consumer’s current visit to a Web page or
search query. Online behavioral advertising, as defined in this Article’s Glossary of Terms, does
not include contextual advertising.

Control -- of an entity means that one entity (1) is under significant common ownership or
operational control of the other entity, or (2) has the power to exercise a controlling influence
over the management or policies of the other entity. In addition, for an entity to be under the
control of another entity and thus be treated as a first party under these principles, the entity must
adhere to online behavioral advertising policies that are not materially inconsistent with the other
entity’s policies.

First Party -- is the entity that is the owner of the website, or those of its affiliates, and has
control over the website with which the consumer interacts.

Online Behavioral Advertising -- means the collection of information from a particular
computer or device regarding Web viewing behaviors over time and across non-affiliate websites
for the purpose of using such information to predict user preferences or interests to deliver
advertising to that computer or device based on the preferences or interests inferred from such
Web viewing behaviors. Online behavioral advertising does not include the activities of first
parties, ad delivery or ad reporting, or contextual advertising (i.e. advertising based on the



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content of the Web page being visited, a consumer’s current visit to a Web page, or a search
query). The activities of search engines fall within the scope of online behavioral advertising to
the extent that they include collection of data regarding Web viewing behaviors over time and
across non-affiliate websites in order to deliver advertising to that computer or device based on
the preferences or interests inferred from such Web viewing behaviors.

Personally Identifiable Information & Non-Personally Identifiable Information -- for
purposes of this Article, personally identifiable information refers to name, address, or other
information that identifies a specific individual; non-personally identifiable information (non-
PII) refers to information, such as a computer’s IP address, that does not tie the information to a
specific individual. Non-personally identifiable information collected by third parties from
websites for online behavioral advertising should be combined with personally identifiable
information collected about an individual for marketing purposes only with that individual’s
consent, unless the individual was provided with notice and choice with respect to such potential
combination at the time the non-personally identifiable information was collected and did not opt
out.

Service Provider -- refers to an organization that collects and uses information from all or
substantially all URLs traversed by a Web browser across websites for purposes of online
behavioral advertising. Examples of service providers in this context are internet access service
providers and providers of desktop applications software such as Web browser “tool bars.”

Third Party -- an entity is a third party to the extent that it engages in online behavioral
advertising on a non-affiliate’s website.

MOBILE SERVICE COMMERCIAL MESSAGE SOLICITATIONS (MSCMs)
DELIVERED TO A WIRELESS DEVICE
Article #39

A Mobile Service Commercial Message (MSCM) is a commercial electronic mail message that
is transmitted directly to a wireless device that is utilized by a subscriber of a commercial mobile
service. Marketers sending MSCMs messages should obtain prior express consent from
recipients and should abide by CAN-SPAM, the Federal Communications Commission’s
Wireless Email Rule, DMA Guidelines for Online & Mobile Marketing, and any additional
federal and state regulations.

COMMERCIAL SOLICITATIONS ONLINE
Article #40

       1. DEFINITION:
       This article refers to addressable commercial solicitations initiated online by marketers
       (or their affiliates); including commercial solicitations sent to an individual’s email
       address or another “direct contact point.” For purposes of this article, a “direct contact
       point” is defined as a user ID or other unique identifier at which an individual can be
       communicated with online or via a mobile Internet device. This may include, for




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example, a text message number, personalized activity feed identifier (e.g., “twitter” ID),
or user ID for postings on or to a personal social network profile page.

Nothing in this Article or definition is meant to restrict or prohibit the use of aggregated
or anonymized data pertaining to direct contact points, the use of profile data for online
behavioral advertising (OBA,) or online banner advertising.

2. CHANNEL APPROPRIATE CONSENT:
Marketers (or their affiliates) may initiate commercial solicitations online to customers or
prospects under the following circumstances
 individuals have given their channel-appropriate consent to the marketer (including,
   but not limited to, through the terms of a social media platform) to receive
   solicitations online, or
 Individuals did not opt out after the marketer has given notice of the opportunity to
   opt out from receiving solicitations online, or
 The marketer has received assurance from the third party list provider that the
   individuals whose email addresses or other direct contact points appear on that list:
               - have given their channel-appropriate consent to receive solicitations
                   online, or
               - have already received notice of the opportunity to opt out from
                   receiving online solicitations and have not opted out, and DMA’s
                   Email Preference Service (E-MPS) suppression file was used by the
                   third party.

3. CHANNEL APPROPRIATE CHOICE:

Marketers should furnish individuals with the appropriate notice or a point of contact and
an Internet-based mechanism individuals can use to:
 Request that the marketer not send them future online solicitations and
 Request that the marketer not rent, sell, or exchange their email addresses or other
    direct contact point data for online solicitation purposes.

If individuals request that they be added to the marketer’s in-house suppression list, then
the marketer may not rent, sell, or exchange their email addresses or other direct contact
point data with third parties for solicitation purposes.

The above requests should be honored within 10 business days, and the marketer’s opt-
out mechanism should be active for at least 30 days from the date of the solicitation.

Marketers that rent, sell, or exchange personally identifiable information need to provide
individuals with notice of a mechanism to opt out of personally identifiable information
transfer to third-party marketers.

Solicitations sent via email should disclose the marketer's identity and street address. The
subject and “from” lines should be clear, honest, and not misleading, and the subject line
should reflect the actual content of the message so that recipients understand that the


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        email is an advertisement. The header information should be accurate. A marketer should
        also provide specific contact information at which the individual can obtain service or
        information.

EMAIL AUTHENTICATION
Article #41
Marketers that use email for communication and transaction purposes should adopt and use
identification and authentication protocols.

USE OF SOFTWARE OR OTHER SIMILAR TECHNOLOGY INSTALLED ON A
COMPUTER OR SIMILAR DEVICE
Article #42
Marketers should not install, have installed, or use, software or other similar technology on a
computer or similar device that initiates deceptive practices or interferes with a user’s
expectation of the functionality of the computer and its programs. Such practices include, but are
not limited to, software or other similar technology that:

       Takes control of a computer (e.g., relaying spam and viruses, modem hijacking, denial of
        service attacks, or endless loop pop-up advertisements)
       Deceptively modifies or deceptively disables security or browser settings or
       Prevents the user’s efforts to disable or uninstall the software or other similar technology

Anyone that offers software or other similar technology that is installed on a computer or similar
device for marketing purposes should:

   Give the computer user clear and conspicuous notice and choice at the point of joining a
    service or before the software or other similar technology begins operating on the user’s
    computer, including notice of significant effects* of having the software or other similar
    technology installed
   Give the user an easy means to uninstall the software or other similar technology and/or
    disable all functionality
   Give an easily accessible link to your privacy policy and
   Give clear identification of the software or other similar technology’s name and company
    information, and the ability for the user to contact that company

*Determination of whether there are significant effects includes, for example:
       Whether pop-up advertisements appear that are unexpected by the consumer
       Whether there are changes to the computer’s home page or tool bar
       Whether there are any changes to settings in security software, such as a firewall, to
          permit the software to communicate with the marketer or the company deploying the
          software, or
       Whether there are any other operational results that would inhibit the user’s expected
          functionality




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Cookies or other passive means of data collection, including Web beacons, are not governed by
this Guideline. Article #38 provides guidance regarding cookies and other passive means of data
collection.

SOCIAL MEDIA & ONLINE REFERRAL MARKETING
Article #43

1. DEFINITION:
Social media marketing is the use of online communities and/or social networks (via services,
websites or platforms – each a “channel”) to send a commercial marketing message to an
individual and/or to that individual’s own network. (Social media involves user interactions
which the individual has agreed to display and to be shared.) Online referral marketing is a
technique marketers use to generate new marketing leads.

       Typically, the online marketer encourages an individual to do the following:
          1. Forward a commercial solicitation to another individual, or
          2. Provide the marketer with personally identifiable information, such as name
              and/or address/email address, about the referred individual so the marketer may
              contact that person directly, or
          3. Share or display a social ad and/or otherwise engage with a social media network
              or channel by, for example, “friending” (an invitation to establish a social media
              relationship), posting or otherwise sharing or displaying the ad on or via a social
              media channel (e.g., an activity feed such as tweeting). This interaction may
              involve a request from the marketer that the individual provide profile or social
              data about himself/herself or others in his/her network. Profile data may include,
              but is not limited to: name, age, gender, location, expressed personal interests and
              preferences, and photos. Profile data also extends to what is known as the “social
              graph,” which are explicit online connections and interactions between
              individuals (“friends”).


   2. USING INFORMATION PROVIDED BY THE INDIVIDUAL AND/OR
      ABOUT OTHERS:

       If personally identifiable information about an individual is given to a marketer through
       social media channels and/or online referral marketing rather than directly from an
       individual, then the following steps should be taken:

       A marketer should not use personally identifiable information about a referred individual
       provided online by another individual unless:

          The marketer has previously disclosed, in a clear and conspicuous manner, to the
           referring individual the intended uses of the information (Note: All notices and
           disclosures referenced in this article should be made in clear and conspicuous manner
           and in keeping with DMA’s Ethical Guidelines.);




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   The marketer has disclosed to the referring individual that his or her own contact
    information will be provided to those individuals they have referred to the marketer;
   The marketer discloses to the referred person the fact that his or her contact
    information was obtained from another individual. The marketer should make the
    referring person's contact information available in the first communication to the
    prospect; and
   The marketer provides channel appropriate choices to the referred individual
    regarding receiving future communications. (Note: The frequency and type of choice
    provided (e.g., first communication vs. every communication) must be appropriate for
    the channel being used to contact the individual. For example, email communications
    must include an opt-out notice and choice in every communication.)

Since marketers have not had a direct contact with the referred individual, marketers
should not contact referred individuals who are on their in-house suppression lists.

Marketers should not sell, rent, share, transfer, or exchange a referred email address or
referred personally identifiable information unless they receive prior permission from
each referred person to do so.

Prior express consent must be obtained before initiating contact using a marketing
channel or platform for which a referred individual will incur a fee for receipt of the
marketing message, such as premium-rate text messaging via a mobile device. (Articles
#54-#58.) In addition, online referral marketers offering an incentive should adhere to
Article #39 (Mobile Service Commercial Messages).

3. SENDING COMMERCIAL SOLICITATIONS VIA INDIVIDUALS’ SOCIAL
MEDIA NETWORKS:

If a marketer is contacting an individual to send marketing messages to that individual’s
network of contacts, each of the following steps should be taken:

   A marketer should obtain an individual’s prior consent to participate in the social
    media marketing process whereby the marketer is added as a “friend” or a contact to
    be shared with the individual’s other social media contacts;
   Profile data that contains personally identifiable information provided by an
    individual on a social networking site should not be shared with third parties without
    that individual’s prior consent unless the user has agreed to post or populate such
    information in an unrestricted publicly accessible location;
   If tracking data is being collected as part of the social media marketing process for
    purposes of online behavioral advertising, please refer to Article #38;
   If a social or interactive advertising application (incorporating user-generated content
    or user interactions that the individual has consented to being shared) is being
    distributed to the individual’s contacts, a preview should be provided to that
    individual for review and approval before it is distributed by the marketer to that
    individual’s contacts. The recipient of the ad should be provided with an opportunity



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           to opt out of receiving future communications from the marketer and having his/her
           information shared; and
          Marketers should not retain personally identifiable information used for social
           marketing purposes except for marketing purposes, and should not share such data
           with any third party without the individual’s prior consent unless the user has agreed
           to post or populate such information in an unrestricted publicly accessible location.

       Marketers using testimonials and endorsements in any media, including but not limited to
       social media channels (e.g., online message boards, blogging, etc.) and “word-of-mouth”
       marketing, should comply with Article #21 – Testimonials & Endorsements – of these
       Guidelines. Additionally, where marketing to children is permitted by law, marketers
       using social media channels should comply with Articles #13 - #16 of these Guidelines
       and ensure the marketing is suitable for the child, taking into account the age range,
       knowledge, sophistication, and maturity of their intended audience.

           4. OPERATORS OF SOCIAL MEDIA PLATFORMS & FORUMS:

       In addition to complying with the aforementioned items, operators of social media
       networks, platforms or other social media forums should:

          Post their privacy policy in a prominent location on their site so that it is clear and
           conspicuous;
          Advise individual users about their privacy policies, data deletion policy and the steps
           users should follow to change their privacy settings, to deactivate or to delete their
           accounts;
          Prevent games, quizzes and other applications developed by third parties from
           accessing personally identifiable information from an individual user until the
           marketer has provided clear and conspicuous notice to the individual before accessing
           their information (notice must include an opportunity to refuse marketing
           communications associated with the application), or obtains prior consent from that
           user for each category of personal information accessed.


EMAIL APPENDING TO CONSUMER RECORDS
Article #44
Definition of email address appending: Email address appending is the process of adding a
consumer's email address to that consumer's record. The email address is obtained by matching
those records from the marketer's database against a third-party database to produce a
corresponding email address.
A marketer should append a consumer's email address to its database only when the consumer
gives a marketer permission to add his or her email address to the marketer's database; or
   1. There is an established business relationship with that consumer either online or offline,
      and




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   2. The data used in the append process are from sources that provided notice and choice
      regarding the acceptance of receiving third-party email offers and where the consumer
      did not opt out, and
   3. Reasonable efforts are taken to ensure the appending of accurate email addresses to the
      corresponding consumer records
Marketers should not send emails to appended email addresses that are on their in-house email
suppression files. Marketers should not send Mobile Service Commercial Messages (MSCMs)
to appended email addresses that belong to wireless handsets or devices unless the recipient has
provided prior express authorization to receive such messages from the sender. A marketer
should not sell, rent, transfer, or exchange an appended email address of a consumer unless it
first offers notice and choice to the consumer. All messages to an email appended address
should include a notice and choice to continue to communicate via email.
Marketers should have in place appropriate record-keeping systems to ensure compliance with
these guidelines.


Telephone Marketing to Landline & Wireless Devices
REASONABLE HOURS
Article #45
Telephone contacts, whether to a landline or wireless handset or device, should be made during
reasonable hours as specified by federal and state laws and regulations.

TAPING OF CONVERSATIONS
Article #46
Taping of telephone conversations by telephone marketers should only be conducted with notice
to or consent of all parties, or the use of a beeping device, as required by applicable federal and
state laws and regulations.

RESTRICTED CONTACTS
Article #47
A marketer should not knowingly call or send a voice solicitation message to a consumer who
has an unlisted or unpublished telephone number except in instances where that specific number
was provided by the consumer to that marketer for that purpose. A marketer should maintain an
in-house Do-Not-Call list and refrain from calling numbers for solicitation purposes that are on
the marketer’s in-house Do-Not-Call list.
A marketer should not knowingly call a wireless device, except in instances where the recipient
has provided prior express consent to receive such calls from that marketer.
Prior to contacting a landline or wireless device, marketers should use applicable federal and
DMA Wireless Suppression Files or another comprehensive wireless suppression service. Such
suppression files should assist marketers in determining whether or not they are contacting a
wireless device, including landline numbers that have been ported to wireless handsets or
devices.



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A marketer should use DMA’s Telephone Preference Service as required in Article #31 and must
use the federal Do-Not-Call registry and state Do-Not-Call lists when applicable prior to using
any outbound calling list. Telemarketing calls may be made to landline telephones, where the
telemarketer has an established business relationship with the individuals even if the individual is
on the national registry. An established business relationship is defined as those persons with
whom the marketer has had a transaction/received a payment within the last 18 months or those
persons who have inquired about the marketer’s products/services within the last 3 months.
(Note: State laws may vary. DMA’s website at: www.the-
dma.org/government/donotcalllists.shtml attempts to provide current information on state Do-
Not-Call lists.) Consumers who have provided informed, written permission to the marketer do
not need to be suppressed by any Do-Not-Call list. Individuals can add or remove themselves
from company-specific Do-Not-Call lists either orally or in writing.
Marketers should not use randomly or sequentially generated numbers in sales or marketing
solicitations.

CALLER-ID/AUTOMATIC NUMBER IDENTIFICATION REQUIREMENTS
Article #48
Marketers engaging in telemarketing to landline and wireless telephone numbers should generate
caller identification information, including:

      A telephone number for the seller, service bureau, or customer service department that
       the consumer can call back during normal business hours to ask questions and/or to
       request not to receive future calls by making a do-not-call request, and
      Whenever the technology is available from the marketer’s telecommunications carrier,
       the name of the seller on whose behalf the call is placed or service bureau making the
       call.

Marketers should not block transmission of caller identification or transmit a false name or
telephone number.

Telephone marketers using automatic number identification (ANI) should not rent, sell, transfer,
or exchange, without customer consent, landline telephone numbers gained from ANI, except
where a prior business relationship exists for the sale of directly related goods or services. With
regard to mobile telephone numbers, marketers should abide by Articles #31 and #35.

USE OF AUTOMATED DIALING EQUIPMENT, “ROBO” CALLING
Article #49

Marketers using automated dialing equipment should allow 15 seconds or four rings before
disconnecting an unanswered call.

Marketers should connect calls to live representatives within two seconds of the consumer’s
completed greeting (except in cases where a prerecorded marketing message is used, in
accordance with Article #55).




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If the connection does not occur within the two-second period, then the call is considered
abandoned whether or not the call is eventually connected.

Whenever a live representative is not available within two seconds of the consumer’s completed
greeting, the marketer should play a prerecorded identification message that includes the seller’s
name and telephone number, states that the call was made for "telemarketing purposes," and
provides a telephone number at which the consumer can request not to receive future marketing
calls. The message must also contain an automated, interactive voice- and/or key press-activated
opt-out mechanism that enables the called party to make a do not call request prior to terminating
the call, including brief explanatory instructions on how to use such mechanism.

When the called party elects to opt-out using such mechanism, the mechanism must
automatically record the called party’s number to the seller’s do not call list and immediately
terminate the call.

Repeated abandoned or “hang up” calls to consumers’ residential or wireless telephone numbers
should be minimized.

In no case should calls be abandoned more than:

Three percent of answered calls within each calling campaign, if the campaign is less than 30
days, or separately over each successive 30-day period or portion of that period during which the
campaign continues (unless a more restrictive federal or state law applies), or
twice to the same telephone number within a 48-hour time period.

Marketers should only use automated dialing equipment that allows the telephone to immediately
release the line when the called party terminates the connection.

When using any automated dialing equipment to reach a multi-line location, whether for
business-to-consumer or business-to-business marketing, the equipment should release each line
used before connecting to another.

Companies that manufacture and/or sell automated dialing equipment should design the software
with the goal of minimizing abandoned calls to consumers. The software should be delivered to
the user set as close to 0% as possible. Manufacturers should distribute these Guidelines for
Automated Dialing Equipment to purchasers of dialing equipment and recommend that they be
followed.

The dialers’ software should be capable of generating a report that permits the user of the
equipment to substantiate compliance with the guideline.

Glossary of Terms Used

Automated Dialing Equipment -- any system or device that automatically initiates outgoing
call attempts (including text messages) in a random or sequential manner or from a
predetermined list of phone numbers. This term includes any equipment that constitutes an



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“automatic telephone dialing system” as defined under the Telephone Consumer Protection Act
(“TCPA”) and/or the FCC’s TCPA regulations.

Abandoned Call -- a call placed by automated dialing equipment to a consumer which when
answered by the consumer, (1) breaks the connection because no live agent is available to speak
to the consumer, or (2) no live agent is available to speak to the consumer within 2 seconds of
the consumer’s completed greeting.

Abandonment Rate -- the number of abandoned calls over a 30-day period divided by the total
number of calls that are answered by a live consumer. Calls that are not answered by a live
consumer do not count in the calculation of the abandonment rate.

Campaign -- refers to an offer of the same good or service for the same seller. As long as the
same good or service is being offered by the same seller, the offer is part of a single campaign,
regardless of whether there are changes in the terms of the offer or the wording of any marketing
material, including any telemarketing script, used to convey the offer. This definition applies to
Article 48 only and is based on the FTC’s definition of a “campaign” for purposes of calculating
the abandonment rate.

Report -- reportable information that should be made available which contains key points,
including the percentage of abandoned calls.

Telemarketing – a telephone call, prerecorded message or text message placed to a landline or
wireless number for the purpose of promoting, advertising, marketing or offering goods or
services.

USE OF PRERECORDED VOICE & TEXT MESSAGING
Article #50
Marketers who use prerecorded voice messaging should not automatically terminate calls or
provide misleading or inaccurate information when a live consumer answers the telephone.

Consent Required:
Marketers should only use text messaging sent via Automated Dialing Equipment or prerecorded
voice to sell goods or services if they have first obtained the call recipient’s prior express written
agreement to receive prerecorded messages through a written form which may be electronic to
the extent permitted by law. In obtaining the consumer’s express written agreement, a marketer
should observe the following:

      Before obtaining the consumer’s informed consent, the marketer should clearly and
       conspicuously disclose that the purpose of the agreement is to allow the marketer to make
       prerecorded message calls or send autodialed texts to the consumer.

      The written agreement should evidence the consumer’s informed consent to receive
       prerecorded calls or text messages by or on behalf of the specific marketer




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      The marketer should not require that the consumer agree to receive prerecorded calls or
       text messages as a condition of purchasing any good or service.

      Disclosures that the individual’s consent allows the marketer to make prerecorded calls
       and/or text messages, and that providing consent is not a condition of any purchase,
       should be made at the time the marketer is seeking written consent.

      Disclosure that by executing the agreement, the individual authorizes the marketer to
       deliver to the individual marketing text messages using Automatic Dialing Equipment or
       a prerecorded voice;

      The agreement should include the consumer’s telephone number and signature.

      Marketers may obtain the written agreement electronically in accordance with applicable
       laws such as the E-Sign Act.

Choice Mechanism: Marketers should provide an in-call opt-out mechanism that the call
recipient can use to be placed on the company’s do-not-call list during the each prerecorded call,
or provide an opt-out mechanism within the text message. The type of opt-out mechanism that
the marketer should provide depends on whether the call can be answered by a live person or by
an automated device. If the marketer is able to determine whether a prerecorded call has been
answered by a live person or an automated device, the marketer should tailor the prerecorded
message to include the appropriate opt-out mechanism (either option 1 or 2 below):

(1)     If the call is answered by a live person, then the marketer should provide an automated
interactive voice and/or keypress-activated opt-out mechanism that the recipient can use to make
an opt-out request. The mechanism should be available for use at any time during the message.

(2)    If the call is answered by an answering machine or voicemail system, then the
prerecorded message should provide a toll-free telephone number that the recipient can call to
make an opt-out request at any time during the telemarketing campaign. The telephone number
provided should connect directly to an automated interactive voice and/or keypress-activated
opt-out mechanism. Consumers should be able to call at any time of the day, and on any day,
during the duration of the campaign.

If the marketer is not able to determine whether a prerecorded call has been answered by a live
person or an automated device, the prerecorded message should include both options 1 and 2.

The interactive voice and/or keypress-activated opt-out mechanism – regardless of whether the
prerecorded call can be answered by a live person or automated answering device – should have
the following features:

       The opt-out mechanism should automatically add the number called to the entity’s
       company-specific do-not-call list; and
       the opt-out mechanism should immediately disconnect the call once the opt-out request is
       made.


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Marketers may use prerecorded messages that provide information, but do not induce the
purchase of goods or services, without first obtaining prior written consent and without providing
an opt-out mechanism. Such calls should promptly disclose the identity of the caller at the outset
of the call and provide a valid telephone number sometime during the call.

USE OF TELEPHONE FACSIMILE MACHINES
Article #51
Unless there is an established business relationship, or unless prior permission has been granted,
advertisements, offers and solicitations, whether sent to a consumer or a business, should not be
transmitted to a facsimile machine, including computer fax machines. An established business
relationship in the fax context is defined as a prior or existing relationship based on a voluntary,
two-way communication between the sender and recipient of the fax. Such communication
includes a purchase, transaction, inquiry, or application for or about goods or services offered by
the sender. For business relationships formed after July 9, 2005, the fax number must be
provided voluntarily by the recipient to the sender, or be made available voluntarily by the
recipient in a directory, advertisement, or Internet site.

Each permitted transmission to a fax machine must clearly contain on the first page:
    the date and time the transmission is sent;
    the identity of the sender which is registered as a business with a state;
    the telephone number of the sender or the sending machine; and
    a clear and conspicuous opt-out notice.

The opt-out notice should:
    clearly state that the recipient may opt out of any future faxes and provide clear
       instructions for doing so;
    provide a domestic telephone number and fax number for recipients to transmit an opt-
       out request; and
    unless the telephone or fax number is toll-free, a cost-free mechanism to submit an opt-
       out request.

Senders must accept opt-out requests at any time.

Opt-out requests must be honored in 30 days, or sooner if feasible. An opt-out request
terminates permission to send future faxes based only on an established business relationship.

PROMOTIONS FOR RESPONSE BY TOLL-FREE AND PAY-PER-CALL NUMBERS
Article #52
Promotions for response by 800 or other toll-free numbers should be used only when there is no
charge to the consumer for the call itself and when there is no transfer from a toll-free number to
a pay call.

Promotions for response by using 900 numbers or any other type of pay-per-call programs
should clearly and conspicuously disclose all charges for the call. A preamble at the beginning
of the 900 or other pay-per-call should include the nature of the service or program, charge per


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minute, and the total estimated charge for the call, as well as the name, address, and telephone
number of the sponsor. The caller should be given the option to disconnect the call at any time
during the preamble without incurring any charge. The 900 number or other pay-per-call should
only use equipment that ceases accumulating time and charges immediately upon disconnection
by the caller.


DISCLOSURE AND TACTICS
Article #53
Marketers should make the following initial disclosures promptly:

      The identity of the seller or charitable organization on behalf of which the call is made;
      That the purpose of the call is to sell goods or services or to solicit a charitable
       contribution;
      The nature of the goods or services offered during the call (if applicable); and
      If a prize promotion is offered, that no purchase or payment is necessary to be able to win
       a prize or participate in a prize promotion and that any purchase or payment will not
       increase the person’s chances of winning.

Prior to asking consumers for payment authorization, telephone marketers should disclose the
cost of the merchandise or service and all terms and conditions, including payment plans,
whether or not there is a no refund or a no cancellation policy in place, limitations, and the
amount or existence of any extra charges such as shipping and handling and insurance. At no
time should high pressure tactics be utilized.


Mobile Marketing
Please refer to the Glossary of Terms at the end of this section for the complete definitions of key
concepts and terms used within this section.

OBTAINING CONSENT TO CONTACT MOBILE DEVICES
Article #54
Marketers should obtain prior express written consent from existing and prospective customers
before using automated dialing equipment to send mobile marketing to a wireless device. When
obtaining prior express written consent, marketers shall meet the following requirements:
    1) Before obtaining the consumer’s informed consent, the marketer should clearly and
        conspicuously disclose that the purpose of the agreement is to allow the marketer to make
        autodialed calls to the consumer's wireless telephone.
    2) The written agreement should evidence the consumer’s informed consent to receive
        autodialed calls by or on behalf of the specific marketer.
    3) The marketer shall not require that the consumer agree to receive prerecorded calls as a
        condition of purchasing any good or service.
    4) The marketer shall disclose that the individual’s consent allows the marketer to make
        autodialed calls to the person's wireless telephone and that providing consent is not a
        condition of any purchase.
    5) The agreement shall include the consumer’s telephone number and signature.


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   6) Marketers may obtain the written agreement electronically in accordance with applicable
       laws such as the E-Sign Act.

PROVIDING NOTICE AND CHOICE ABOUT MOBILE MARKETING PRACTICES
Article #55
Marketers that send or intend to send mobile messages should publish an easily accessible notice
of their information practices (which includes but is not limited to a notice in their respective
privacy policies) with regards to mobile marketing. The notice must include sufficient
information to allow individuals to make an informed choice about their interaction with the
marketer. This should include, at minimum, any applicable terms and conditions, details of the
marketer’s information handling practices and clear directions about how to unsubscribe from
future solicitations.

The mobile marketing notice should be easy to find, read and understand on mobile screens, and
should comply with existing DMA Guidelines. Of particular note, mobile marketers should
review and comply with the Terms of the Offer (Articles #1-6, #8, #9), Advance Consent
Marketing (Article #12), Special Offers & Claims (Articles #17-#21), and Sweepstakes (Articles
#22-#27).

MOBILE OPT-OUT REQUESTS
Article #56
Every mobile marketing message sent must include a simple and easy-to-use mechanism through
which the individual can opt out of receiving future mobile marketing messages. Where possible,
the opt-out mechanism provided should allow the recipient to opt out via reply text message.

Where individuals respond to a marketer indicating that they do not wish to receive future
mobile marketing messages (e.g. an individual replies “STOP”), the marketer should honor the
request. Mobile opt-out requests should be honored within 10 days of being received and in
accordance with Article #31.

SPONSORSHIP OR AFFILIATE MOBILE MARKETING
Article #57
A marketer may include an affiliate or sponsorship message within a mobile marketing
communication, providing that the recipient has provided prior express consent to receive mobile
marketing communications from that marketer and that it is clear from the mobile marketing
communication that the message has been sent by that marketer and not by the sponsor. A
marketer should also comply with Article #8 - Disclosure of Sponsor and Intent.

LOCATION-BASED MOBILE MARKETING
Article #58
Marketers sending location-based mobile marketing messages to recipients should adhere to
Articles #54-56. In addition, marketers should inform individuals how location information will
be used, disclosed and protected so that the individual may make an informed decision about
whether or not to use the service or consent to the receipt of such communications. Location-
based information must not be shared with third-party marketers unless the individual has given
prior express consent for the disclosure.



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MOBILE SUBSCRIPTION SERVICES AND PREMIUM-RATE MOBILE SERVICES
Article #59
Mobile subscription services and mobile premium-rate products and/or services should be
offered and delivered in accordance with DMA Guidelines, in particular the Terms of the Offer
(Articles #1-6, #8, #9), Advance Consent Marketing (Article #12), Marketing to Children
(Article #13-#16), Special Offers & Claims (Articles #17-#21) and Sweepstakes (Articles #22-
#27). All advertising and marketing for mobile subscription services or premium-rate mobile
products/services should clearly define the service offered and outline the terms and conditions
of the offer in accordance with these articles. Mobile subscription services or premium-rate
mobile services should not be supplied unless the recipient has actively requested to receive the
specific service to be supplied. Further, prior express consent should be obtained from a recipient
prior to supplying additional or separate mobile subscription services and premium-rate mobile
services at a subsequent date.

In accordance with Articles #12 and #48, and prior to sending or charging recipients for mobile
subscription services and/or premium-rate mobile products/services, marketers should:
     provide the individual with an opportunity to see or hear the terms and conditions relating
       to the subscription service, including:
            the cost per unit or the total cost of the subscription or premium-rate service;
            the term of the subscription or premium-rate service;
            the frequency of the subscription or premium-rate service;
            payment intervals;
            how to terminate the subscription or premium-rate service including any terms
               and conditions that apply to such termination.

      obtain prior express consent from recipients to receive and be charged for said
       subscriptions, products and/or services;

      inform recipients in the initial offer and in renewal reminders of their right to cancel their
       participation in the plan, and include contact information within the initial and renewal
       messages that allows the recipient to directly contact them;

      provide renewal reminders at the frequency specified in the initial offer;

      promptly honor requests for refunds due upon a consumer’s cancellation of the plan;

      abide by Articles #13-#16 and #48, and take reasonable precautions and implement
       adequate technical accountability and authentication measures to ascertain that

           o (a) the mobile phone number or email address provided indeed belongs to the
             intended recipient of the subscriptions, products or services, and

           o (b) periodically, and not less than once a month, include contact information
             within the mobile subscription service message or premium-rate mobile service
             message that allows the individual to directly contact the marketer.



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Glossary of Terms Used

   Individuals -- refers to the recipients or potential recipients of mobile marketing
    communications. For purposes of opting out (refer to Article #56), individuals refers to the
    number(s) and/or electronic address(es) of the wireless device(s) used by the recipients.

   Location-Based Services --marketing text message targeted to a recipient dependent on their
    location, by a handset or user’s physical location.

   Mobile Marketing -- refers to a sales and promotion technique in which promotional
    materials are delivered to a wireless phone or device. It can include both ‘direct mobile
    marketing’ (i.e. marketing communications targeted, sent or “pushed” to a wireless handset
    or device, such as marketing text messages) and ‘indirect mobile marketing’ (i.e. marketing
    that can be accessed or “pulled” by an individual via a wireless handset or device such as a
    mobile enabled website). Examples include the sending of SMS, MMS or WAP push
    messages, Bluetooth messaging and other interrupt based marketing to wireless devices.

   Mobile Service Commercial Message (MSCM) -- a commercial electronic message that is
    transmitted directly to a wireless device that is utilized by a subscriber of commercial mobile
    service.

   Multi-Media Messaging Services (MMS) -- an extension of a the Short Message Service
    Technology that permits the marketer to send marketing messages to a wireless handset that
    include multimedia objects such as images, audio and video.

   Mobile Subscription Service --a service that is provided periodically or on an ongoing basis
    that is delivered to an individual via a wireless handset or device. This includes free services
    and paid subscription services.

   Premium Rate Mobile Services -- a service that is provided in a single instance,
    periodically or on an ongoing basis that is delivered to an individual via a wireless handset or
    device whereby the recipient pays a rate that exceeds the standard tariff to either receive or
    send a mobile message.

   Prior Express Consent -- refers to affirmative, express and informed consent. A marketer
    should be able to demonstrate that recipients knowingly and affirmatively consented to be
    contacted on their wireless devices by that marketer for any purposes. Consent may be
    obtained orally, in writing or electronically. The notice to obtain consent should include a
    clear and conspicuous disclosure and require an active step on the part of the recipient to
    demonstrate that he/she agrees to receive the communication and/or product or service. This
    consent may be obtained via any channel. A pre-checked box, for example, would not suffice
    as an adequate means for obtaining consent.

   Recipient -- any natural or legal person or business that receives a mobile marketing
    communication.



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   Short Message Service (SMS) -- a marketing message sent as a text message.

   Text message --a brief electronic message sent between mobile phones, containing text
    composed by the sender, usually input via a lettering system on a cell phone's numeric
    keypad.

   Wireless Application Protocol (WAP) -- Refers to a secure specification that allows users
    to access information instantly via handheld wireless devices such as mobile phones, pagers,
    two-way radios, smartphones and communicators.

   Wireless -- Refers to telecommunications in which electromagnetic waves (rather than some
    form of wire) carry the signal over part or all of the communication path.

   Wireless Handset -- Umbrella term for devices, typically with keys to input data, that are
    mobile and can be operated by hand. Examples are mobile phones, pagers, two-way radios,
    smartphones and communicators.


FUNDRAISING
Article #60
In addition to compliance with these guidelines, fundraisers and other charitable solicitors
should, whenever requested by donors or potential donors, provide financial information
regarding use of funds.




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LAWS, CODES, AND REGULATIONS
Article #61
Direct marketers should operate in accordance with laws and regulations of the United States
Postal Service, the Federal Trade Commission, the Federal Communications Commission, the
Federal Reserve Board, and other applicable federal, state, and local laws governing advertising,
marketing practices, and the transaction of business.


DMA Resources
   "Do the Right Thing" Compliance Guide
   Commitment to Consumer Choice Member Compliance Guide
   Preference Services Subscriber Information
   DMA’s consumer preference website: www.DMAchoice.org
   Privacy Policy Generators
   Environmental Resources and Generator (The “Green 15”)
   E-Commerce Integrity Resource Center
   Information Security: Safeguarding Personal Data in Your Care

See DMA’s website for numerous other resources developed by the Department of Corporate &
Social Responsibility:
www.thedma.org/compliance

DMA can also provide its members with information on the following Federal Trade
Commission (FTC) and Federal Communications Commission (FCC) regulations and rules
affecting direct marketers:

FTC:
 Mail or Telephone Order Merchandise Rule
 Telemarketing Sales Rule
 Children's Online Privacy Protection Rule
 Negative Option Rule…and much more!

FCC:
 Telephone Consumer Protection Act

Report a Complaint:
To report a complaint regarding a marketing practice that may violate these Guidelines, please
email us at ethics@the-dma.org; or submit a written complaint with a copy of the marketing
promotion to: Attention: DMA Ethics & Consumer Affairs, 1615 L Street NW, Washington, DC
20036.




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              DMA’s Department of Corporate & Social Responsibility
In its continuing efforts to improve and advance the practices of direct marketing and the
marketer's relationship with customers, the DMA sponsors several activities through its
Department of Corporate & Social Responsibility:

   Ethical Guidelines are maintained, updated periodically, and distributed to the direct
    marketing community.
   The Committee on Ethical Business Practice investigates and examines promotions and
    practices throughout the direct marketing community that are brought to its attention.
   The Ethics Policy Committee revises the Guidelines as needed, and initiates programs and
    projects directed toward improved ethical awareness in the direct marketing arena.
   The Committee on the Environment and Social Responsibility identifies ways for members
    to be good corporate citizens and recommends relevant best practices.
   DMA’s Commitment to Consumer Choice builds consumer trust in the marketing process by
    offering individual choices online and offline.
    www.DMAchoice.org offers consumers assistance in managing their mail and email
    marketing preferences, and provides consumer education. www.Aboutads.info provides
    consumers choices for online behavioral advertising. The DMA CSR department oversees
    compliance by marketers to ensure consumer choices are being honored.

                 For additional information contact DMA's Washington Office:

                                 1615 L Street, NW, Suite 1100
                                    Washington, DC 20036
                                         202.955.5030
                                      Fax: 202.955.0085
                                  www.dmaresponsibility.org
                                  Email: ethics@the-dma.org

                                                ***

                                Direct Marketing Association, Inc.
                                         Headquarters:
                                  1120 Avenue of the Americas
                                New York, New York 10036-6700
                                         212.768.7277
                                       Fax: 212.302.6714
                                        www.thedma.org




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The Direct Marketing Association staff wants to assist its
members in their efforts to market ethically – for the
protection of their customers and donors, the reputation of
their company or organization, and the future of the direct
marketing community.

Every day, DMA staff gives direct marketers advice on how
to assure their business practices comply with DMA
Guidelines for Ethical Business Practice. This booklet puts
in writing some of that advice, and outlines questions you
should be asking yourself to determine whether your
organization is doing the right thing.




Revised January 2009




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                                    Guidelines
                                       for
                             Ethical Business Practice
The Direct Marketing Association's Guidelines for Ethical Business Practice are intended to
provide individuals and organizations involved in direct marketing in all media with generally
accepted principles of conduct. These guidelines reflect DMA's long-standing policy of high
levels of ethics and the responsibility of the Association, its members, and all marketers to
maintain consumer and community relationships that are based on fair and ethical principles. In
addition to providing general guidance to the industry, the Guidelines for Ethical Business
Practice are used by DMA's Committee on Ethical Business Practice, an industry peer review
committee, as the standard to which direct marketing promotions that are the subject of
complaint to DMA are compared.

These self-regulatory guidelines are intended to be honored in light of their aims and principles.
All marketers should support the guidelines in spirit and not treat their provisions as obstacles to
be circumvented by legal ingenuity.

These guidelines also represent DMA's general philosophy that self-regulatory measures are
preferable to governmental mandates. Self-regulatory actions are more readily adaptable to
changing techniques and economic and social conditions. They encourage widespread use of
sound business practices.

Because dishonest, misleading or offensive communications discredit all means of advertising
and marketing, including direct marketing, observance of these guidelines by all concerned is
expected. All persons involved in direct marketing should take reasonable steps to encourage
other industry members to follow these guidelines as well.




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                             DMA Member Principles
DMA Member Principles are the underlying framework for the Guidelines for Ethical Business
Practice as detailed herein, and for Guidelines that will be drafted in the future. These Principles
apply to DMA members’ relationships with current and prospective customers, donors, and
members, and are the grounding for all DMA members, which includes those who market
directly not only to consumers, but also to businesses, government agencies, and “SOHO”
(small-office/home-office) entities. The Principles provide a general statement to the public of
the expectations they can have when dealing with DMA members.

A DMA Member:

1.     Is committed to its customers' satisfaction
2.     Clearly, honestly, and accurately represents its products, services, terms and conditions
3.     Delivers its products and services as represented
4.     Communicates in a respectful and courteous manner
5.     Responds to inquiries and complaints in a constructive, timely way
6.     Maintains appropriate security policies and practices to safeguard information
7.     Provides information on its policies about the transfer of personally identifiable
       information for marketing purposes
8.     Honors requests not to have personally identifiable information transferred for marketing
       purposes
9.     Honors requests not to receive future solicitations from its organization
10.    Follows the spirit and letter of the law as well as DMA's Guidelines for Ethical Business
       Practice




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The Terms of the Offer
This section of the guidelines covers the basics for any direct
marketer, specifically that consumers should be clearly
informed who is promoting the offer, what the offer is, and
how the company can be contacted for service.
HONESTY AND CLARITY OF OFFER
Article #1
All offers should be clear, honest and complete so that the
consumer may know the exact nature of what is being offered, the
price, the terms of payment (including all extra charges) and the
commitment involved in the placing of an order. Before
publication of an offer, marketers should be prepared to
substantiate any claims or offers made. Advertisements or specific
claims that are untrue, misleading, deceptive or fraudulent should
not be used.

Comment:
•   Suppose you are marketing a weight loss product. You want to say that people can lose weight
    with your program. To do so, you should be able to show to yourself - and keep records so you
    can show others - that many consumers have, in fact, had success with your company’s diet.
    You also want to make sure you do not exaggerate the amount of weight typical consumers can
    lose-or the ease of losing it.
•   If you are with an advertising agency or Web site design firm, you also have a responsibility to
    make sure that advertisements are clear, honest and not deceptive. Catalog marketers, in fact,
    should ask for material to back up questionable claims rather than merely repeat what the
    manufacturer says about the merchandise. And, if the manufacturer refuses to give you proof or
    gives you questionable proof, that should serve as a red flag.

Questions to Ask:
•   Are you accurately describing the size and other attributes, and/or the quality of what you are
    offering, taking care not to imply that the merchandise is bigger or better than it is?
•   Have you included all information that would be important to a consumer making a purchase
    decision?
•   Have you made the total final price – or terms of payment - easy to find so that consumers do
    not have to search for this information?
•   Do you have the facts at hand to feel confident that the claims you are making are true, or do
    you only “have a feeling” that they may be true?




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ACCURACY AND CONSISTENCY

Article #2
Simple and consistent statements or representations of all the
essential points of the offer should appear in the promotional
material. The overall impression of an offer should not be
contradicted by individual statements, representations or
disclaimers.

Comment:
•   Keep in mind that a disclaimer or disclosure alone usually is not enough to remedy a misleading
    or false claim.
•   A promotion might state in large bold headlines that the recipient is the definite winner of a
    large monetary prize. Individual statements elsewhere in the promotion, however, note that
    almost all recipients actually win only $1. In this instance, details that explain the promotion
    should be given, and you should make sure that the details will be noticed by the average
    consumer and that they do not merely explain away the promotion's overall impression.

Questions to Ask:
•   Is the language understandable for the average reasonable consumer under the circumstances, or
    is it too complex for the average consumer to understand?
•   Did you make sure that statements in different parts of the ad do not contradict each other?
•   Is the overall impression the average person takes away from reading the promotion likely to be
    a true picture of what the promotion is?
•   Have you included all the details that an average reasonable person would need to make a good
    decision, and are they all easy to find and understand?
•   Have you taken care to avoid a “shout and whisper” technique, that is, have you avoided points
    in prominent language being "shouted" contradicted by essential information in fine print being
    "whispered?"

CLARITY OF REPRESENTATIONS
Article #3
Representations which, by their size, placement, duration or other
characteristics are unlikely to be noticed or are difficult to
understand should not be used if they are material to the offer.

Comment:
•   A promotion, for instance, that uses "mouse type" at the bottom of a page or flashes important
    information on the TV screen very briefly would render the promotion difficult to read and
    unclear.
•   Representations can be both expressly made or implied.

Questions to Ask:
•   Are all important facts clearly and conspicuously stated, and is any surrounding material likely to
    detract from their being noticed?
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•   Is the average consumer you are marketing to likely to be able to easily read the type size and
    font used?
•   Does the graphic format make it easy to find and read important information?

ACTUAL CONDITIONS
Article #4
All descriptions, promises and claims of limitation should be in
accordance with actual conditions, situations and circumstances
existing at the time of the promotion.

Comment:
•   A discount travel certificate received in the mail contains small print on the back which discloses
    that travel is only for certain limited times, there are numerous other restrictions, and there are
    several “advance fees” that must be paid. Most consumers would view these disclaimers as
    material to the offer and contrary to the impression first made.
•   If a promotion’s outer envelope claims something specific is “inside,” you should ensure that
    what is advertised is actually inside the envelope. If, instead, there is an explanation of how the
    consumer goes about obtaining what was claimed to be “inside,” then the outer envelope should
    clearly disclose that condition by stating, for instance, “more details inside.”

Questions to Ask:
•   Do you inform the consumer of all details immediately so he or she can make an intelligent and
    considered decision, taking care not to wait until the last minute to disclose some important
    limitation on the offer?
•   Do you take care not to create a false impression of urgency, limited quantity or unqualified
    suitability when that is not the case?
•   Do you have systems in place to make sure that all advertised promises can be honored, barring
    circumstances beyond your control?

DISPARAGEMENT
Article #5
Disparagement of any person or group on grounds addressed by
federal or state laws that prohibit discrimination is unacceptable.
Comment:
•   Think, for example, about an advertisement for some new electronic device that portrays people
    who use wheelchairs as unable to travel outside of their home. While meaning to promote a
    useful product, this advertisement might disparage wheelchair users as people who are helpless
    and unable to get around – an unflattering and untrue picture, and should be avoided.

Questions to Ask:
•   Have you taken care not to picture a person or group in a negative light?
•   Have you included or eliminated a group based on stereotype?


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•   Are you knowledgeable about or have you consulted legal counsel regarding laws concerning
    disparagement and discrimination? For instance, improper targeting based on certain zip code
    selections could be illegal if seen as an attempt to deny credit to certain populations.

DECENCY

Article #6
Solicitations should not be sent to consumers who have indicated
to the marketer that they consider those solicitations to be vulgar,
immoral, profane, pornographic or offensive in any way, and who
do not want to receive them.

Comment:
•   “Offensive” or “profane” is in the mind of the beholder. Lingerie ads that most consumers
    would not consider vulgar, for example, might offend one of your prospects. If that individual
    asks to be removed from your mailing list, it would be improper not to suppress the name as
    quickly as possible.

Questions to Ask:
•   Do you have in place quick, easy and effective mechanisms for removing people from lists they
    don’t wish to be on?
•   Do you use (if relevant to your business) the U.S. Postal Service’s name-removal list for Sexually
    Oriented Advertisements (the “pander” file)?

PHOTOGRAPHS AND ART WORK

Article #7
Photographs, illustrations, artwork and the situations they describe
should be accurate portrayals and current reproductions of the
products, services or other subjects they represent.

Comment:
•   If your catalog, for example, illustrates a realistic-looking three-dimensional reproduction of a
    famous statue, you are sure to disappoint your customers if they receive one with a size or scale
    far different than the one depicted – or a poster or picture of one instead of the real thing.

Questions to Ask:
•   Do you make sure that you use current or actual photos and not “stock” photos or drawings
    that are not accurate portrayals?
•   Do you describe the height, weight, color or any other critical details in the copy?
•   Do you take care not to use photos or illustrations that, through graphic representation,
    overstate the size or value of the product being offered?
•   Are your customer service reps trained to give advice and details on items?



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DISCLOSURE OF SPONSOR AND INTENT

Article #8
All marketing contacts should disclose the name of the sponsor and
each purpose of the contact. No one should make offers or
solicitations in the guise of one purpose when the intent is a
different purpose.

Comment:
•   This article requires, for example, that if you are sending a fundraising promotion, the
    promotion should not pretend that it is simply a survey. It may be fine to have both a survey
    and a request for funds in the same promotion; however, as long as the survey is bona fide, that
    is, you plan to tabulate and use the information provided by respondents. In this example, the
    intent of each part of the promotion should be made clear to the consumer.

Questions to Ask:
•   Does your promotion clearly have your company or organization name on it and where and how
    it can be reached?
•   Does the promotion clearly state what its purpose is, for instance, to sell products, solicit funds
    for a charity or conduct a sweepstakes?
•   Does the reader understand what action you are asking him or her to take, for instance, to place
    an order, send a check, or return an entry form?

ACCESSIBILITY

Article #9
Every offer should clearly identify the marketer's name and street
address or telephone number, or both, at which the individual may
obtain service. If an offer is made online, the marketer should
provide its name, an Internet-based contact mechanism and a street
address. For e-mail solicitations, marketers should comply with
Article #39 (Commercial Solicitations Online).

Comment:
•   It is important for the promotion to clearly identify your company by a name that is sufficient
    for the consumer to know who the marketer is, even if a service entity is actually used to contact
    the consumer. The address and telephone number given should be usable for customer service
    inquiries to avoid confusion and difficulty in obtaining needed assistance. Return e-mail
    addresses that don’t allow the consumer to actually contact your company are useless and
    frustrating to consumers.

Questions to Ask:
•   Does the promotion clearly have your company or organization name on it?
•   Does the offer contain a customer service address and/or telephone number and, if relevant, an
    e-mail address?

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•   If a potential customer needs more information about the offer, will it be easy to contact your
    company and get that information?
•   If one of your customers needs assistance with an order, will it be clear what telephone number
    or address should be contacted to get that assistance?

SOLICITATION IN THE GUISE OF AN INVOICE OR
GOVERNMENTAL NOTIFICATION
Article #10
Offers that are likely to be mistaken for bills, invoices, or notices
from public utilities or governmental agencies should not be used.

Comment:
•   If your company is soliciting new business for a directory, for example, you should not state
    “amount due” or “billing number” or otherwise make the promotion look like an actual invoice
    for a prior order or renewal when it is not.
•   Likewise, if your company is offering a service to advise consumers of government-sponsored
    auctions, you should make sure that the promotion, including the outer envelope, does not look
    like it is from the government agency itself. Government symbols and advisories about not
    obstructing mail delivery should not be misused to make consumers believe that promotions are
    official government documents.
•   The intent of this guideline is not to stunt marketers’ creativity, but the line between “creativity”
    and deception should not be crossed.

Questions to Ask:
•   Do you avoid using the term “invoice” or “reference number” or “amount due” on an
    unsolicited advertisement for new business?
•   Does the wording clearly state that the offer is not a bill?
•   Is the overall impression the consumer takes away likely to be that the promotion is from a
    private business, and not a government agency?
•   Does the promotion clearly and conspicuously state it is not from the government?
•   Does the promotion avoid using terms like “official” and referring to mailing regulations and
    penalties for misuse of the U.S. mails?
•   Do you take care to not have the graphics and/or format make the promotion appear to be an
    invoice or from the government?

POSTAGE, SHIPPING OR HANDLING CHARGES
Article #11
Postage, shipping or handling charges, if any, should bear a
reasonable relationship to actual costs incurred.

Comment:
•   Many consumers question what they view as excessive shipping and handling charges. When
    figuring shipping and handling fees, it is important to reflect these costs as accurately as possible
    so that your customers or prospects are not likely to view these fees as a company “profit
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    center.” Such an attitude can contribute to consumer hesitancy in using and trusting direct
    marketing. You should also clearly and conspicuously disclose what the shipping and handling
    costs are -- to avoid unpleasant surprises and customer dissatisfaction.
•   The DMA has established Guidance for Establishing and Substantiating Shipping and Handling Charges
    to assist you in understanding legal risks and setting justifiable costs. See
    www.dmaresponsibility.org/SH.
•   In addition, many consumers object to insurance fees for lost or damaged merchandise as
    unnecessary, and simply adding to the company’s profits. If you charge an insurance fee, it
    would be helpful to explain why -- that the insurance fee is meant to expedite the process of re-
    sending merchandise and that you will make good on the order promptly. Shipment of
    consumers’ orders in a timely fashion, however, should not be affected by whether or not they
    pay the insurance fee.

Questions to Ask:
•   Are your customers likely to view your postage and handling charges as reasonable rather than as
    a company “profit center”?
•   Are the charges appropriate in accordance with established methods of determining shipping
    and handling, such as by the product’s weight or cost?
•   Have you established a fulfillment cost study for your shipping and handling charges? (See
    www.dmaresponsibility.org/SH.)
•   Is any insurance charge appropriate for the service you perform?


Advance Consent Marketing
The following guidelines were approved by DMA's Board of
Directors in order to address increasing complaints to
government regulatory agencies and to DMA alleging
unauthorized credit card charges for unordered goods or
services. They were subsequently updated to ensure
consistency with the Federal Trade Commission's revised
Telemarketing Sales Rule.
Article #12
These guidelines address marketing plans where the consumer gives consent
to receive and pay for goods or services in the future on a continuing or
periodic basis unless and until the consumer cancels the plan.

The following principles apply to all advance consent marketing plans:

¾ Marketers should have the consumer’s informed consent to participate in
    any advance consent marketing plan before the consumer is billed or

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    charged. In telephone sales where the consumer pays in a way other than by
    credit or debit card, this consent must be written or audio recorded.

¾ Marketers may provide products or services and bills concurrently; however,
    consumers should not be obligated to pay bills prior to the expiration of any
    trial period.

¾ Marketers should inform consumers in the initial offer and in renewal
    reminders of their right to cancel their participation in the plan.

¾ Marketers should provide renewal reminders at the frequency specified in
    the initial offer. Marketers should allow consumers a reasonable length of
    time between receipt of renewal reminders and the renewal date, before
    which consumers can cancel the plan.

¾ Marketers should promptly honor requests for refunds due upon
    consumers' cancellation of the plan.

Marketers should clearly and conspicuously disclose material terms and
conditions before obtaining the consumer's consent, including:

¾ a description of the goods or services being offered
¾ the identity of the marketer and contact information for service or
    cancellation
¾   the interval between shipments or services to be provided
¾   the price or the range of prices of the goods or services purchased by the
    consumer, including whether there are any additional charges
¾   whether the consumer will be billed or automatically charged
¾   when and how frequently the consumer will be billed or charged
¾   the fact that the consumer must take affirmative action to cancel in order to
    avoid future billing or charges
¾   the specific and easy steps that consumers should follow to cancel the plan
    and avoid the charges, and
¾   the time period if any within which the consumer must cancel

When applicable, the following terms and conditions should also be clearly and
conspicuously disclosed in the initial offer:

¾ that the current plan or renewal prices of the goods or services are subject to
  change
¾ the length of any free, trial, or approval period in time or quantity
¾ the length of any membership period, and the length of subsequent renewal
  or billing periods
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¾ the fact that goods or services will continue after the free period unless the
  consumer cancels
¾ any minimum purchase obligations, and
¾ terms and conditions of any refund policy

In telephone sales where the marketer uses pre-acquired account information
under a free-to-pay conversion plan, the marketer should:

• obtain from the consumer the last 4 digits of the account to be charged
• obtain consent from the consumer to charge such account, and
• audio record the entire transaction

In telephone sales where the marketer uses pre-acquired account information
but does not engage in a free-to-pay conversion plan, the marketer should:

• identify with specificity the account that will be charged, and
• obtain consent from the consumer to charge such account

All marketing partners or service providers should comply with these
guidelines.

Comment:
•   This article addresses plans where the consumer consents in advance to receive and pay for
    goods or services in the future on an ongoing basis unless and until the consumer cancels the plan. In
    contrast, the Federal Trade Commission's Prenotification Negative Option Rule applies to
    marketing plans that involve the sale of a specific number of goods, or the sale of goods or services
    for a specific period of time where the marketer gives the consumer advance notice before each
    shipment, along with the opportunity to decline the goods before delivery.
•   Marketers should ensure that consumers consent to participating in marketing programs and to
    having their credit card accounts charged. Inadvertently surprising consumers with charges for
    products or services they did not consent to or misleading them by processing credit card
    charges or debits during what they thought was a "free trial" is not doing the right thing or
    enhancing consumer confidence in direct marketing.
•   Advance consent marketing plans can use a variety of terminology, for instance:
             •     Free Trial Offers
             •     Preview Offers
             •     "Free-to-Pay" Conversions
             •     Automatic Renewal Plans
             •     Continuity Programs
             •     "On Approval" Offers
•   Often membership or buying clubs and magazine subscriptions are sold via advance consent
    marketing plans. There are a variety of ways such plans are advertised and operated. Depending
    on the specific offer, trial goods or services may, or may not, be free regardless of whether the
    consumer continues the program. For instance, a buying club may be offered on a 3-month trial
    basis, after which time the consumer continues membership in the club and even if the
    consumer cancels after the trial period, is liable for the 3-month trial. Or, a consumer may accept
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    a free introductory offer to a magazine, and if he or she does not wish to continue with a
    subscription, writes "cancel" on the invoice and does not owe for the introductory issues
    received. While both are fair practices, disclosures must make it clear to consumers whether or
    not they must pay for the trial period at the time of their agreement to participate.
•   Regardless of the specific plan offered by your company, the main premise of this guideline is
    that a consumer must unequivocally understand the purchasing plan and give informed consent
    before being enrolled. This means that you should receive your prospective customer's
    permission before processing any charges or submitting any bills. Although you can send an
    invoice along with your products, you should make it clear that the consumer is not obligated to
    begin making payments until after the end of any promised trial, or initial, period.
•   Marketers should clearly inform consumers of all important details of the offer before seeking
    consumer consent (whether the plan is presented in written form, online, or via a teleservices
    call).
•   Consumers should be clearly informed of any price change in their ongoing programs and their
    right to cancel.
•   If you call prospective customers because of their customer relationship with an unrelated
    marketer, and would like to charge the credit account they used for the previous purchase, you
    must follow Teleservices Sales Rule provisions. (See www.the-
    dma.org/telemarketing/tsr_compliance_guide.pdf .) The DMA and regulatory agencies
    have received numerous consumer complaints alleging that credit card account information was
    transferred from one marketer to another without their consent. Although there are legal and
    legitimate reasons for such transfers to take place, including between corporate affiliates and for
    credit account verification, consumers do not always understand the reasons for these transfers.
    Consumer consent should always be on record before any charges are processed.
•   Consumers need to be informed both upfront and in renewal notices about their rights to cancel
    participation in the program. Cancellation notices should be easy to find, read and understand.
    You do not have to provide a free method of canceling (such as a toll-free number), but it
    should be easy for the consumer to exercise the cancellation right.

Questions to Ask:
•   Do your promotional materials disclose all important terms clearly and conspicuously, including
    what is being offered, the price of the goods (or range of prices), how frequently the consumer
    will receive the products offered, and how frequently the consumer will receive bills or be
    charged?
•   Are any additional costs, such as shipping and handling (or ranges of these costs), clearly
    disclosed in your promotional materials?
•   Do your written materials and/or teleservices script clearly state who is offering the products or
    services and provide contact information for customer service?
•   Are consumers informed, in the initial offer and in renewal reminders, of their rights to cancel
    the program, and of terms and conditions in any refund policy? Are renewal reminders sent
    according to the promised frequency?
•   Are consumers informed in renewal reminders of any changes in price, going forward, and of
    their right to cancel the program?
•   Is a straightforward method of cancellation provided that is easily understood by the average
    consumer? Do you honor cancellation requests and provide any refunds due promptly?
•   Do you take affirmative steps to ensure that teleservices reps follow your scripts and obtain
    consumer consent prior to enrolling consumers in your marketing plan?
•   Do you ask for and receive assurances from your business partners that they also comply with
    these guidelines in order to protect consumers?
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Marketing to Children
This section of the guidelines is meant to help marketers
who count children as among their customer segments, if not
their major customers. Marketing to children involves a
different sensitivity from marketing to adults, especially in
the interactive online world. Children increasingly make
buying decisions, but need special protections. Online
marketing to children has led to an increase of legislative and
media attention to all forms of marketing to children. Given
this attention, the Association responded by strengthening its
guidelines in this area.

MARKETING TO CHILDREN

Article #13
Offers and the manner in which they are presented that are suitable
for adults only should not be made to children. In determining the
suitability of a communication with children online or in any other
medium, marketers should address the age range, knowledge,
sophistication and maturity of their intended audience.

Comment:
•   Products and services not meant for young individuals, such as credit cards or online gambling,
    should not be promoted to them. Inasmuch as the age of majority determines whether one can
    be bound to a contract, even marketing magazine renewals to young teens has come under
    scrutiny by some state regulators; marketers should evaluate the “climate” before engaging in
    such marketing campaigns.
•   Because children are less experienced consumers than adults, they are often not aware of what
    they may be obligating themselves to. They are also not legally responsible for the resulting
    contracts or bills.

Questions to Ask:
•   Are you careful to clean your lists so children do not mistakenly receive marketing materials not
    appropriate for them?
•   Do you have quick and effective mechanisms in place to remove children’s names when
    requested?
•   If the promotion is appropriate for children, do you use language that is easily understood by
    children in the specific age range you are marketing to?
•   Are any pictures and graphics clear, appropriate and complete?

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•   Do your promotions encourage young children to involve their parents in all purchasing
    decisions?

PARENTAL RESPONSIBILITY AND CHOICE

Article #14
Marketers should provide notice and an opportunity to opt out of
the marketing process so that parents have the ability to limit the
collection, use and disclosure of their children's names, addresses
or other personally identifiable information.

Comment:
•   Your company’s youth-oriented magazine, for example, could have a notice in its masthead or
    other area where subscriber information is located that children’s names and addresses are
    sometimes exchanged with other companies offering suitable products for children. The notice,
    which could also be included in a customer service letter to parents, would clearly disclose how
    to limit the exchange of such information.

Questions to Ask:
•   Do you state, in a notice that is easy to find, read and understand, that children’s names and
    addresses may be rented or transferred to other companies offering relevant products?
•   Do you clearly state how parents can opt out of receiving prospect advertising from other
    companies?

INFORMATION FROM OR ABOUT CHILDREN

Article #15
Marketers should take into account the age range, knowledge,
sophistication and maturity of children when collecting information
from them. Marketers should limit the collection, use and
dissemination of information collected from or about children to
information required for the promotion, sale and delivery of goods
and services, provision of customer services, conducting market
research and engaging in other appropriate marketing activities.

Marketers should effectively explain that the information is being
requested for marketing purposes. Information not appropriate for
marketing purposes should not be collected.

Upon request from a parent, marketers should promptly provide the
source and general nature of information maintained about a child.
Marketers should implement strict security measures to ensure
against unauthorized access, alteration or dissemination of the data
collected from or about children.
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Comment:
Marketing to children is one of the most sensitive areas of direct marketing. This article addresses
several data usage aspects:
• Information that is not needed to serve or market to a child should not be collected and kept by
    marketers.
• Parents understandably want to know the source of unsolicited promotions directed to or about
    their children, so they should be given this information upon request.

       Keep in mind that under the law (the Children’s Online Privacy Protection Act (COPPA,
       effective April 21, 2000), and the Federal Trade Commission (FTC) regulations that
       implement the Act, you must get verifiable parental consent to collect information online
       from children. See Article #16.

•   Because marketing to children raises security issues in some parents’ minds, it makes sense to
    direct promotions “to the parents of…” rather than to the child.
•   It also may not make sense to use language such as: “We have learned about your child” which
    could be frightening to parents.
•   Since security is uppermost in parents’ minds, information must be kept and handled with
    utmost care.

Questions to Ask:
•   Are you using clear age-appropriate language to tell children, when applicable, why you are
    asking for certain information?
•   Do you state clearly to parents why information is requested?
•   Is the information you are collecting from or about children needed only for order fulfillment
    and other appropriate marketing purposes?
•   Do you have procedures in place to allow customer service reps to tell parents, upon their
    request, the source of information about their children?
•   Do you train your customer service reps to knowledgeably and satisfactorily respond to parents’
    requests for information about what you know about their children?
•   Do you train your staff and have in place monitoring systems to securely handle data from or
    about children?

MARKETING ONLINE TO CHILDREN
UNDER 13 YEARS OF AGE

Article #16
Marketers should not collect personally identifiable information
online from a child under 13 without prior parental consent or
direct parental notification of the nature and intended use of such
information online, and an opportunity for the parent to prevent
such use and participation in the activity. Online contact
information should only be used to directly respond to an activity
initiated by a child and not to re-contact a child for other purposes
without prior parental consent. However, a marketer may contact
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and get information from a child for the purpose of obtaining
parental consent.

Marketers should not collect, without prior parental consent,
personally identifiable information online from children that would
permit any off-line contact with the child.

Marketers should not distribute to third parties, without prior
parental consent, information collected from a child that would
permit any contact with that child.

Marketers should take reasonable steps to prevent the online
publication or posting of information that would allow a third party
to contact a child off-line unless the marketer has prior parental
consent.

Marketers should not entice a child to divulge personally
identifiable information by the prospect of a special game, prize or
other offer.

Marketers should not make a child's access to a Web site
contingent on the collection of personally identifiable information.
Only online contact information used to enhance the interactivity
of the site is permitted.

The following assumptions underlie these online guidelines:
¾ When a marketer directs a site at a certain age group, it can
  expect that the visitors to that site are in that age range; and
¾ When a marketer asks the age of the child, the marketer can
  assume the answer to be truthful.

Comment:
•   In the world of online marketing to children, it is essential – both to be in compliance with
    federal law and to do the right thing – to clearly explain to both children and their parents why your
    company is asking for information. For example, you could say to young children: “If you give
    us your e-mail address, we’ll tell you when new toys arrive, but your parents must say that it's
    ok.” You could ask parents for permission, saying: “Information collected from children at this
    site is used only to understand their preferences among products and to notify them of new
    toys.”
•   In addition, online marketers should, to the best of their ability using the technology that is
    currently available, try to obtain parents’ permission before collecting information from children.
    You should, for example, use language such as: “Your mom or dad must say it’s ok before you
    answer these questions.”



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       According to the FTC’s regulations implementing the Children’s Online Privacy Protection
       Act, e-mail can be used to get parental consent for all internal uses of personal
       information. In instances where a child’s personal information may be disclosed to third
       parties or made available publicly, a more reliable method of gaining consent must be
       used. Such methods could include getting a signed form from the parent via postal mail
       or fax; accepting and verifying a credit card number; taking calls from parents through a
       toll-free number; e-mail accompanied by a digital signature; and e-mail accompanied
       by a PIN or password obtained through one of the already-mentioned verification
       methods.


•   “Kids: fill out this short survey telling us about yourself and then you can play these fun games
    and win great prizes” would be an example of “enticing” a child by the prospect of a special
    game, prize or other offer.

Questions to Ask:
•   What is the age range of the children you are directing your messages to? If under age 13, have
    you gotten parental permission to collect information?
•   Are you using information collected from a child only so you can respond to his or her request
    or inquiry, or have you asked the parents for approval to respond?
•   Do you take care not to convey to children that they will get a special prize, or can play a game,
    only if they give information about themselves to your company?
•   Are you using information collected to contact the child so you can obtain parental consent for
    any additional information uses?
•   Do you have secure data handling procedures in place to prevent distribution of information to
    third parties or online posting of information?

       Note: the FTC regulations implementing COPPA were issued November 1999; see separate
       industry compliance guide containing detailed guidance at: www.the-
       dma.org/privacy/children.shtml.


Special Offers and Claims
In addition to basic product or service information that
should be part of any offer, some promotions have additional
offers or claims, including guarantees, price comparisons or
the like. This section and any regulations referenced should
be reviewed carefully by marketers using such special claims.




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USE OF THE WORD "FREE" AND OTHER SIMILAR
REPRESENTATIONS

Article #17
A product or service that is offered without cost or obligation to the
recipient may be unqualifiedly described as "free."

If a product or service is offered as "free," all qualifications and
conditions should be clearly and conspicuously disclosed, in close
conjunction with the use of the term "free" or other similar phrase.
When the term "free" or other similar representations are made (for
example, 2-for-1, half-price or 1-cent offers), the product or service
required to be purchased should not have been increased in price or
decreased in quality or quantity.

Comment:
•   Most consumers understand “free” to mean without further obligation of any kind. If they
    respond to a “free” offer in which additional items need to be purchased, or it turns out that
    they are really joining a continuity program, they should be clearly informed of the terms and
    conditions in the initial promotion before they are billed so there are no misunderstandings.
    Clear disclosures explaining the offer should appear near a representation that something is
    “free,” before you can be fairly confident that average consumers will understand the offer.
•   “Free” is subject to legal requirements, as are other terms such as “sale” and “new.” Check with
    your legal counsel to make sure such terms are used in accordance with legal requirements.

Questions to Ask:
•   Are all important facts and conditions clearly stated?
•   If asked, can you demonstrate that no part of the price of the “free” item has been built into the
    item to be purchased?

PRICE COMPARISONS

Article #18
Price comparisons including those between a marketer's current
price and a former, future or suggested price, or between a
marketer's price and the price of a competitor's comparable
product should be fair and accurate.

In each case of comparison to a former, manufacturer's suggested
or competitor's comparable product price, recent substantial sales
should have been made at that price in the same trade area.



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For comparisons with a future price, there should be a reasonable
expectation that the new price will be charged in the foreseeable
future.

Comment:
•   Trust in buying via direct response can only be sustained when consumers are satisfied that the
    advertised discounts are bona fide. So, if you advertise leather coats for $79.99 and say “compare
    to retail,” then the coats should actually be selling in the same trade area in substantial quantities
    at a higher retail price so that the offer of savings is valid.
•   Although price testing is different from price comparisons, price testing is worth mentioning
    with this article. Sometimes consumers question the ethics of price testing, noting, for example,
    that a catalog sent to one geographical area may have higher prices for the same merchandise
    than a catalog sent to a different area. Price testing is an acceptable way of establishing prices,
    but to build trust, the test should run only for a finite period of time and you might want to
    consider allowing consumers who question pricing discrepancies to buy the desired item at the
    lower advertised price.

Questions to Ask:
•   Do you use the term “sale” in your promotions to compare to your former higher price only
    when you have actually made substantial sales at those former prices?
•   If you use terms such as “compare to manufacturer’s suggested retail price,” have you assured
    yourself that substantial sales have actually been made at that price?

GUARANTEES

Article #19
If a product or service is offered with a guarantee or a warranty,
either the terms and conditions should be set forth in full in the
promotion, or the promotion should state how the consumer may
obtain a copy. The guarantee should clearly state the name and
address of the guarantor and the duration of the guarantee.

Any requests for repair, replacement or refund under the terms of a
guarantee or warranty should be honored promptly. In an
unqualified offer of refund, repair or replacement, the customer's
preference should prevail.

Comment:
•   Warranty information is important to consumers, so when a warranty is referred to in a
    promotion, consumers should be told what the warranty covers, who offers the warranty (the
    seller or the manufacturer of the product) and how to get warranty service. This information
    should either be in the promotion itself, or the consumer should be told how to obtain a free
    copy of the warranty before purchase.
•   You are not required by federal law to have a specific guarantee or return policy. But, if you use
    phrases such as “satisfaction guaranteed” or “money-back guarantee,” the Federal Trade
    Commission’s regulation on warranties requires that you must be willing to give full refunds for
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    any reason. Whatever guarantee policy you advertise must, of course, be honored. If your
    policy is “all sales final,” that should be disclosed.

Questions to Ask:
•   Are all important facts concerning the warranty or guarantee either clearly stated in your
    promotion or a reference made where the consumer can learn about the warranty before making
    the purchase?
•   If you advertise a “lifetime” guarantee, is it clear what lifetime – the buyer’s, the product's, your
    company’s – is referred to?
•   Is it clear how the consumer goes about getting warranty service, if it should be needed?

USE OF TEST OR SURVEY DATA
Article #20
All test or survey data referred to in advertising should be valid and
reliable as to source and methodology, and should support the
specific claim for which it is cited. Advertising claims should not
distort test or survey results or take them out of context.

Comment:
•   “Latest medical research shows 95% of consumers using this herb lower their cholesterol”
    would be sure to capture consumers’ attention, but taken out of context -- for instance, a small
    sample of people with certain medical conditions was tested at a non-certified medical
    establishment -- such test results could be misleading and perhaps even harmful to some
    consumers.

Questions to Ask:
•   Do you have back-up materials from the survey source to substantiate the ad claims?
•   Do you trust the credentials of the research source?
•   Do you “have a feeling” that the survey result seems unrealistic or is controversial?
•   Does the group that experienced the results you’re advertising seem large enough and enough
    like the consumers you’re advertising to?

TESTIMONIALS AND ENDORSEMENTS
Article #21
Testimonials and endorsements should be used only if they are:
     a.    Authorized by the person quoted;
     b.    Genuine and related to the experience of the person
           giving them both at the time made and at the time of the
           promotion; and
     c.    Not taken out of context so as to distort the endorser's
           opinion or experience with the product.


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Comment:
•   Famous personalities or actors announcing the effectiveness of the newest exercise equipment,
    for example, can be effective representatives. But keep in mind that any endorsements you use
    should be as current as possible in addition to being genuine. Make sure the endorser’s opinion
    has not changed and that the product itself has not been modified. If the product has been
    changed, make sure the endorser’s statements still apply.

Questions to Ask:
•   What is the source of the endorsement, and are you confident that it is reliable?
•   Is the endorsement or testimonial current or dated?
•   Does instinct tell you the customer testimonials don’t ring true?


Sweepstakes
This section of the guidelines gives essential information to
any marketer who uses or plans to use sweepstakes as a
promotional tool in any medium. Sweepstakes are popular
among consumers who enjoy the chance to win a valuable
prize at no cost to themselves, and most consumers
understand the basic nature of sweepstakes – that many will
enter and few will win. However, this marketing technique
was under increased regulatory, legislative and media
scrutiny, and some consumers were identified as taking
actions that seemed not to be in their own best interests.
Congress passed a law in 1999, the Deceptive Mail
Prevention & Enforcement Act, to help eliminate confusion
and protect consumers from deceptive promotions. Since
many states also have laws regarding sweepstakes and prize
promotions, legal counsel should be consulted to review your
sweepstakes.
USE OF THE TERM "SWEEPSTAKES"

Article #22
Sweepstakes are promotional devices by which items of value
(prizes) are awarded to participants by chance without the
promoter's requiring the participants to render something of value
(consideration) to be eligible to participate. The co-existence of all
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three elements -- prize, chance and consideration -- in the same
promotion constitutes a lottery. It is illegal for any private
enterprise to run a lottery without specific governmental
authorization.

When skill replaces chance, the promotion becomes a skill contest.
When gifts (premiums or other items of value) are given to all
participants independent of the element of chance, the promotion
is not a sweepstakes. Promotions that are not sweepstakes should
not be held out as such.

Only those promotional devices that satisfy the definition stated
above should be called or held out to be a sweepstakes.

Comment:
•   One concern about the use of the term “sweepstakes” has to do with promotions that are offers
    to purchase information about sweepstakes in a report, which typically contains a listing of
    various sweepstakes and how to enter them. If “sweepstakes” is used in the prominent heading
    or in the name of the promotion, consumers often view the promotion itself as a sweepstakes
    when it is really an offer for information about sweepstakes. Sometimes the term “sweepstakes”
    is used just to add interest to a promotion and encourage consumers to buy the items being
    offered even when there is no sweepstakes involved.
•   Be aware that if you advertise, for example, that the first ten respondents to your promotion get
    a prize, an "early bird special," you may be promoting an illegal lottery.
•   The law requires sweepstakes mailings to include the name of the sponsor and an address at
    which the sponsor may be contacted. The mailing must also display, clearly and conspicuously,
    an address or a toll-free number where a consumer or an individual acting in his stead may
    request that the consumer's name be removed from the sponsor's sweepstakes mailing list. The
    sponsor will have up to 60 days to remove the name from its sweepstakes promotion mailing
    list. (Individuals have the right to sue the sponsor for failure to comply.)

Questions to Ask:
•   Does your sweepstakes offer meet the legal test for a sweepstakes -– a prize being awarded by
    chance and without a requirement to submit payment or something else of value?
•   If your company offers reports or listings of sweepstakes, is the nature of your offer clear to
    consumers?
•   If your sweepstakes is offered online rather than in the print medium, do you still make certain
    that your offer meets the legal test for a sweepstakes, including a way for consumers to enter
    without making a payment or purchase?
•   Do you have processes in place to ensure that you honor name-removal requests as required by
    federal law?




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NO PURCHASE OPTION

Article #23
Promotions should clearly state that no purchase is required to win
sweepstakes prizes. They should not represent that those who
make a purchase, or otherwise render consideration with their
entry, will have a better chance of winning or will be eligible to win
more or larger prizes than those who do not make a purchase or
otherwise render consideration. The method for entering without
ordering should be easy to find, read and understand. When
response devices used only for entering the sweepstakes are
provided, they should be as easy to find as those utilized for
ordering the product or service.

Comment:
•   Late in 1999, Congress enacted a law requiring statements that no purchase is necessary and that
    a purchase will not increase the odds of winning in the mailing, in the rules and on the order
    form. These statements must be shown clearly and more conspicuously than other required
    disclosures. (See DMA's Sweepstakes Do's and Don'ts for Marketers: A "Plain Language" Guide to the
    Deceptive Mail Prevention and Enforcement Act of 1999 at
    www.dmaresponsibility.org/Sweepstakes.)
•   You should consider how consumers view sweepstakes that require them, when not ordering, to
    go through several extra steps to enter. Marketers shouldn’t make consumers feel guilty about
    winning when they didn’t purchase anything.
•   The new law forbids any statement that sweepstakes offers will cease if the consumer doesn’t
    place an order.

Questions to Ask:
•   Do you in the mailing, in the rules and on the order form clearly state that no purchase is
    necessary to enter and that a purchase will not enhance the odds of the entry winning?
•   Is your response device for entering without ordering just as easy for consumers to find, read
    and understand as the device used for entering with an order?

CHANCES OF WINNING
Article #24
No sweepstakes promotion, or any of its parts, should represent
that a recipient or entrant has won a prize or that any entry stands
a greater chance of winning a prize than any other entry when this
is not the case. Winners should be selected in a manner that
ensures fair application of the laws of chance.




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Comment:
•   It is essential for sweepstakes marketers to consider the overall impression their promotions
    make on consumers. The law forbids any representation that an individual is a winner unless
    that individual is, in fact, a winner.
•   Sweepstakes promoters should consider how consumers will react to language such as: “Check
    off the prizes you want;” “How do you want your cash?” “When will you be available to receive
    your prize?” Will such phrases unfairly lead consumers to believe that the mailing is notifying
    them that they already are the winners, or that making a purchase increases the chance of
    winning?
•   Contradictory statements in any mailing containing sweepstakes entry materials will render the
    mailing non-mailable, according to the law, enforced by the U.S. Postal Service.
•   Requiring the mailing of an entry without an order to be sent to a different location from an
    entry accompanied by an order may make it appear to consumers that their entries do not have
    as good a chance of winning because they are not sent to the “good” address.

Questions to Ask:
•   Is it likely that the language used in the promotion could be misunderstood by the recipient as
    meaning he or she holds the winning number and only has to send it back in order to redeem
    the prize?
•   Do you take care that the graphics used, as well as various type sizes and styles, do not add to a
    mistaken impression that the recipient is the holder of the actual winning entry number when he
    or she is most likely not?
•   Does the promotion make it clear that a different address is used for entries with orders so that
    orders can be quickly processed and fulfilled, but that entries with and without orders still have
    an equal chance of winning?

PRIZES
Article #25
Sweepstakes prizes should be advertised in a manner that is clear,
honest and complete so that the consumer may know the exact
nature of what is being offered. For prizes paid over time, the
annual payment schedule and number of years should be clearly
disclosed.

Photographs, illustrations, artwork and the situations they
represent should be accurate portrayals of the prizes listed in the
promotion.

No award or prize should be held forth directly or by implication as
having substantial monetary value if it is of nominal worth. The
value of a non-cash prize should be stated at regular retail value,
whether actual cost to the sponsor is greater or less.

All prizes should be awarded and delivered without cost to the
participant. If there are certain conditions under which a prize or
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prizes will not be awarded, that fact should be disclosed in a
manner that is easy to find, read and understand.

Comment:
•   Disappointment and loss of consumer trust can be avoided by steering clear of an overall
    impression that implies to recipients they won the grand prize when that is most likely not the
    case.
•   The law requires the clear and conspicuous disclosure of the odds of winning each prize and the
    schedule of payments.
•   The likelihood of “winning” a nominal amount of money, for example, 50 cents, versus winning
    one of the major awards, also can be problematic to consumers. If recipients understand their
    “prize” is likely to be a few cents, that’s fine -– they may still want to enter for the chance of
    winning big, but such “prizes” need to be stated clearly and conspicuously, not just in the “fine
    print.”
•   Marketers offering reports about how to enter sweepstakes should not make it seem as though
    the consumer will win a prize if a fee is paid. The sweepstakes report itself may have valuable
    information and instructions on entering various contests with lots of prize money. However,
    the promotion needs to clearly convey that any fee is only for the report itself.

Questions to Ask:
•   Are prizes clearly and accurately portrayed in words and/or pictures?
•   Have you substantiated that non-monetary prizes are worth the amount stated?
•   If the sweepstakes has various levels, awards and expiration dates, are they described in language
    the average consumer will understand (without having to read the piece several times)?

PREMIUMS
Article #26
Premiums should be advertised in a manner that is clear, honest
and complete so that the consumer may know the exact nature of
what is being offered.

A premium, gift or item should not be called or held out to be a
"prize" if it is offered to every recipient of or participant in a
promotion. If all participants will receive a premium, gift or item,
that fact should be clearly disclosed.

Comment:
•   When everyone who responds to a sweepstakes offer will receive the inexpensive item (e.g., the
    fake pearl), the promotion should clearly note the odds in the rules section as 1:1, and add
    language in the promotion’s text to the effect that everyone will receive the premium. Recipients
    should not be led to believe they are among a chosen few to receive the premium.
•   In addition, the term “sweepstakes” should not be used for offers in which everyone receives a
    premium and there is no prize of higher value. It is, of course, possible to have in the same
    promotion both sweepstakes prizes that only a few will win and premiums that everyone else
    will receive.
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Questions to Ask:
•   Does the promotion state in clear language that everybody who sends back the entry will receive
    the premium?
•   Are you careful not to call a premium offer a “sweepstakes” when it does not meet the criteria
    for a sweepstakes?

DISCLOSURE OF RULES

Article #27
All terms and conditions of the sweepstakes, including entry
procedures and rules, should be easy to find, read and understand.
Disclosures set out in the rules section concerning no purchase
option, prizes and chances of winning should not contradict the
overall impression created by the promotion.

The following should be set forth clearly in the rules:
¾ No purchase of the advertised product or service is required in
  order to win a prize.
¾ A purchase will not improve the chances of winning.
¾ Procedures for entry.
¾ If applicable, disclosure that a facsimile of the entry blank or
  other alternate means (such as a 3"x5" card) may be used to
  enter the sweepstakes.
¾ The termination date for eligibility in the sweepstakes. The
  termination date should specify whether it is a date of mailing or
  receipt of entry deadline.
¾ The number, retail value (of non-cash prizes) and complete
  description of all prizes offered, and whether cash may be
  awarded instead of merchandise. If a cash prize is to be
  awarded by installment payments, that fact should be clearly
  disclosed, along with the nature and timing of the payments.
¾ The estimated odds of winning each prize. If the odds depend
  upon the number of entries, the stated odds should be based on
  an estimate of the number of entries.
¾ The method by which winners will be selected.
¾ The geographic area covered by the sweepstakes and those areas
  in which the offer is void.
¾ All eligibility requirements, if any.
¾ Approximate dates when winners will be selected and notified.
¾ Publicity rights regarding the use of winner's name.
¾ Taxes are the responsibility of the winner.
¾ Provision of a mailing address to allow consumers to receive a
  list of winners of prizes over $25.00 in value.
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Comment:
•   Marketers offering sweepstakes should consider the “readability” of their rules section, including
    the size of the print, the layout and the location. For example, rules presented in all capital
    letters in one paragraph are very difficult for most consumers to read. A graphic presentation
    using light type is also difficult to read.
•   Consumers generally want to know the value of all prizes they are eligible for, so even though
    printing space may be limited, it is still a good idea to list this information.
•   The law requires 1) the estimated odds of winning; 2) the quantity, estimated retail value, and
    nature of each prize; and 3) the schedule of payments made over time to appear in the rules.

Questions to Ask:
•   Are you careful not to make any statements in the promotion, or convey an impression, that
    would seem to be contradicted by the information contained in the rules section?
•   Is the rules section easy to find, read and understand?
•   Do you list all the prizes, including the lesser-valued ones, in the rules?
•   Are the odds or an estimation of the odds of winning the various prizes clearly listed?
•   Do the rules clearly explain how to enter both with and without an order?

    See DMA's separate industry compliance document which explains the sweepstakes law in detail
    at: www.dmaresponsibility.org/Sweepstakes .


Fulfillment
In this section, various aspects regarding the fulfillment of
the direct marketing order are covered. Because this is an
area subject to federal regulation, much of the following
discussion explains these requirements as simply as possible,
often by examples. Marketers are also referred to other
helpful resources and are reminded to work with legal
counsel familiar with the subject.
UNORDERED MERCHANDISE OR SERVICE
Article #28
Merchandise or services should not be provided without having
first received the customer's permission. The exceptions are
samples or gifts clearly marked as such, and merchandise mailed by
a charitable organization soliciting contributions, as long as all
items are sent with a clear and conspicuous statement informing
the recipient of an unqualified right to treat the product as a gift

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and to do with it as the recipient sees fit, at no cost or obligation to
the recipient.

Comment:
•   Sometimes consumers complain that they received unordered merchandise or services and
    subsequent invoices when they actually had committed themselves to an automatic renewal
    program. Such a misunderstanding could be avoided if the initial advertising clearly discloses all
    important information. This is particularly important if the offer is made on the phone and the
    consumer receives no other information prior to payment. (See Article #12 Advance Consent
    Marketing.)
•   Consumers, according to federal law, may keep any merchandise that was not ordered and treat
    it as a gift.

Questions to Ask:
•   If you use samples as a marketing tool, do you clearly state that they are samples and that no
    customer payment is required?
•   Are your customers likely to understand, because you have given clear disclosure of all important
    points, when they are signing up for a continuity or automatic renewal program, so they will not
    think they are receiving unordered merchandise or services?

PRODUCT AVAILABILITY AND SHIPMENT
Article #29
Direct marketers should offer merchandise only when it is on hand
or when there is a reasonable expectation of its timely receipt.

Direct marketers should ship all orders according to the terms of
the offer or within 30 days where there is no promised shipping
date, unless otherwise directed by the consumer, and should
promptly notify consumers of any delays.

Comment:

       Promptly fulfilling orders is the right thing to do, but in addition, marketers are legally
       subject to the Federal Trade Commission’s (FTC) Mail or Telephone Order Merchandise
       Rule (“The 30-Day Rule”). A compliance booklet prepared by DMA and the FTC is
       available through the DMA Washington, D.C. office; contact us at ethics@the-dma.org. It
       can also be viewed at: www.dmaresponsibility.org/30DayRule .

•   Sometimes marketers ask whether they can or should charge consumers’ credit cards upon
    receipt of the order. The 30-Day Rule allows that the “shipping clock” begins as soon as a
    properly completed order is received, whether or not the marketer charges the consumer’s
    account then or at the time the product is shipped. Although it is legal to put the charge
    through as soon as the order is received, you may want to wait until the time the order is
    shipped to charge the account. This could avoid situations in which consumers complain that
    they received their credit card bill before delivery of the goods they ordered.

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•   If your promotion doesn’t state when orders will be shipped, but you advise people when they
    call and order that you’ll ship within 72 hours, for example, 72 hours becomes the promised
    shipment date. If you find you cannot then ship within the 72 hours, you have to let your
    customers know and provide them with a delay notice and an opportunity to cancel the order.
•   If you run into a delay situation, you should notify consumers as soon as possible and let them
    know when you’ll be able to ship. If the first delay is 30 days or less, you can assume that they
    will wait. If the delay is more than 30 days or if you have a second or subsequent delay or an
    indefinite delay, you have to cancel the order unless the customer notifies you that he or she will
    wait. For good customer service, you should explain this in your delay notice; otherwise the
    consumer may be very upset upon finding the order has been cancelled.
•   You have to provide a free way for the consumer to tell you what he or she wants to do, such as
    a postage paid postcard to mail or a toll-free number to call.
•   If the consumer ordered merchandise online, the Rule still applies. Delay notices can be given
    via the consumer’s e-mail and the consumer can respond via e-mail as well, if desired.
•   Refunds have to be issued promptly, within one billing cycle (if billed) or within 7 working days
    (if payment was by check).
•   Substitutions should not be made unless consent is obtained or that policy is clearly noted in
    your promotional materials and returns of substituted merchandise are allowed.
•   Some mail or telephone order transactions and how the 30-Day Rule applies are not as clear-cut
    as others. The FTC has over the years filed legal charges against companies for certain practices
    and issued advisory opinions, both of which can help you know what the right thing is to do.

               For instance, consumers sending in coupons that are redeemable for merchandise
               must still be informed of your inability to ship the merchandise when promised,
               offered delay options, and provided with reasonable compensation if the
               merchandise cannot ever be made available.

               Or, occasionally you might have a situation where a small balance is owed a
               consumer. It is expensive for your company and doesn’t seem to make sense to
               issue a check in the amount of 10 cents, for instance. Since this is actually a complex
               legal issue, you should consult legal counsel regarding this type of situation.

Questions to Ask:
•   Are you confident that you have sufficient inventory overall when offering your merchandise?
•   Are you confident that you can ship within the time stated in your promotion or, if no time is
    stated, within 30 days?
•   Does your promotion notify consumers clearly as to how long it will take to ship their orders?
•   Do you have an efficient system in place to promptly notify consumers of delay situations once
    you become aware of them?
•   Are consumers given free options of notifying you of their desire to wait for an order or cancel
    it, as per the 30-Day Rule?
•   Do you credit or refund consumers promptly and in full, as required?
•   If you provide substitutions for unavailable items, do you first get your customer’s consent or
    clearly describe such a policy and accept returned merchandise?




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DRY TESTING

Article #30
Direct marketers should engage in dry testing only when the
special nature of the offer is made clear in the promotion.

Comment:
•   Dry testing occurs when you want to “test the waters” for interest in a new product, i.e., one
    that does not yet exist. On its face, testing the market for a product that doesn’t yet exist
    appears to violate the 30-Day Rule, as the Rule requires a seller who makes an offer to have a
    reasonable basis that the goods ordered will be shipped. However, you may dry test as long as
    consumers are not misled and are informed, for example, by stating something like: “This new
    magazine is being planned; we will let you know if it will not be published, and of course, if it is
    not, we will promptly credit your account by (date).”
•   You may want to delay accepting payment for a product that is not yet available, or refrain from
    charging an account.
•   Also, you should know that the FTC has stated in an advisory opinion that substitutions may not
    be made in this kind of situation.
•   “Price testing” is sometimes confused with “dry testing.” As noted under Price Comparisons, price
    testing is an acceptable and common way of testing the market -– for example, setting a different
    price for the same merchandise in a different geographic location. It is recommended that
    consumers who complain to you about this practice be offered the merchandise at the lower
    advertised price, and that the test be of finite duration.

Questions to Ask:
•   Does your advertising clearly reflect that the offer is for a product or service that is not yet
    available?
•   If it is determined for whatever reason that the product will not be made available, do you notify
    consumers of this fact promptly and issue credits or refunds, if payment had been accepted?


Collection, Use and Maintenance of
Marketing Data
This section of the guidelines covers the essential area of
information usage, without which there would be no direct
marketing as we know it. In order to continue marketing
without overly burdensome regulations, it is highly
recommended that the following be carefully considered and
implemented. Also, of course, as widely promoted, DMA
requires that the basic principles of fair information practices
be utilized, as per the Commitment to Consumer Choice.
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This section covers the areas of collection, use and transfer of
personally identifiable information and sensitive information,
information security, and, pertinent also to business-to-
business marketers, promotion of marketing lists and list
usage, and the responsibilities of database compilers.

*Please note that DMA began to gradually phase out the Telephone Preference
Service (TPS), referenced throughout this section. New consumer registrations
for TPS are no longer being accepted. However, DMA members must
continue to suppress prospective customers listed on TPS through December
31, 2011 (thus honoring TPS registrant requests for five years). DMA now only
accepts TPS registrations for consumers living in the states of PA and WY,
because TPS serves as those states’ official lists. Other consumers who wish to
decrease the amount of unsolicited telemarketing calls they receive should
register with the Federal Trade Commission’s National Do Not Call Registry
at: www.donotcall.gov or by phone 1.888.382.1222.

For purposes of the Guidelines for Ethical Business Practice, the following
definitions are used:

Consumer refers to the subject of the data.

Marketing data means actual or inferred information consistent with a person’s
commercial or charitable inquiry or transaction, or market research or market
survey information. Such information can be derived from either a direct
contact or marketing partnership when linked to a person’s name, postal or e-
mail address, or telephone number, or any other personally identifiable
information. When obtained from a publicly available source, information
(including public record information), not combined with other information, is
not marketing data.

Marketing purpose means any activity undertaken to collect, aggregate,
analyze, maintain, update, or sell information in order to allow or induce
consumers to take action to purchase, rent, or exchange products, property or
services, to solicit a charitable donation, to utilize market research or market
surveys, or to provide verification services to marketers.

Comment:
   •    The definition of marketing purpose includes fraud prevention, verification, and data
        hygiene purposes. Fraud prevention is encompassed within marketing because it is part of
        facilitating the marketing activity of providing assurance that the consumer is who he says he

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       is. Verification is also in furtherance of marketing to update and maintain the marketing
       database, as is data hygiene.
  •    Uses/requests by government agencies, without legal process, are not included.
  •    Individual reference or look-up services are not marketing purposes.


COLLECTION, USE AND TRANSFER OF PERSONALLY
IDENTIFIABLE DATA

Article #31
This article is applicable to all media, and includes special
requirements for mailers.

  • A marketer using the mail channel should provide existing
    and prospective customers with notice of an opportunity to
    modify or eliminate direct marketing communications to be
    received from that company or organization. This guideline
    applies to senders of marketing offers. (Online marketers
    should provide notice in accordance with Article #38. Email
    marketers should provide notice in accordance with Article
    #39 and the CAN-SPAM Act.)

  • The notice in the mailing should:
      o appear in every marketing offer and
      o be easy for the consumer to find, read, understand, and
         act upon

  • A consumer’s request for elimination of future marketing
    offers should be processed:
       o within 30 days or as required by law, whichever is the
          shorter time period
       o for a period of at least three years from the date of
          receipt of the request

  • A marketer periodically should provide existing customers
    with notice of its policy concerning the rental, sale, exchange,
    or transfer of data about them and of the opportunity to opt
    out of the marketing process. All such opt-out requests should
    be honored promptly.

  • An in-house suppression request from a consumer should be
    interpreted as meaning that the consumer also wants to opt
    out of the transfer of his or her personal information.
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• Where an affiliate, division, or subsidiary markets under a
  different company or brand name, and is perceived as separate
  by the consumer, each corporate entity or brand should
  separately honor requests received by it.

• A marketer should establish internal policies and practices
  that assure accountability for honoring requests, in
  compliance with this guideline, and at no cost to consumers.
  Should those policies substantially change, the marketer has
  an obligation to inform consumers of that change prior to the
  rental, sale, exchange, or transfer of such data, and to offer
  consumers an opportunity to opt out of the marketing process
  at that time.

• For each prospecting list that is rented, sold, exchanged, or
  transferred, the names registered on the applicable
  DMAchoice name-removal lists should be removed prior to
  use. DMAchoice name-removal lists include:
     o the relevant categorical opt-out mailing lists for Catalog,
       Magazine, Pre-screened Credit Offers or Other
       categories, as well as future categories designated by the
       DMA; and
     o the eMail Preference Service and Telephone Preference
       Service, as well as future DMA preference service lists
  Use of the above DMAchoice name-removal lists is not
  required on customer/donor lists.

  The following DMAchoice name-removal lists should be used
  on current customer/donor lists, as well as prospect lists:
       • the marketer’s own DMAchoice company/organization
          brand opt-out mailing list

  In all instances, the most recent monthly release of the
  relevant DMAchoice file should be used.

• In addition to adhering to these guidelines, a marketer should
  cooperate with DMA when requested in demonstrating
  compliance with the Commitment to Consumer Choice .

• Upon request by a consumer, a marketer should disclose the
  source from which it obtained personally identifiable data
  about that consumer.
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Comment:

•   These principles -- disclosing notice of your information practices, offering consumers the
    choice to opt out, honoring their opt-out requests, suppressing customer and prospect names
    upon request and using DMA’s name-removal services -– are among the requirements for
    membership in DMA.

         The Commitment to Consumer Choice (approved by DMA’s Board of Directors in October 2007)
         expands upon the principles of DMA’s 1999 Privacy Promise to American Consumers. Detailed
         information and numerous “notice” examples, as well as background as to why the CCC was
         promulgated, are in a separate member compliance guide – available at
         www.DMACCC.org .

         Subscription information for the Preference Services can be found at
         http://preference.the-dma.org/products .

Here are a few other helpful tips for complying with this guideline article:

•   Referring consumers to DMA when what they want is removal from your customer or prospect
    list is not helpful to anyone and definitely not the right thing to do. Consumers often think
    DMA is your list source and that DMA can remove them from your files. Make sure employees
    at your company or organization understand that consumers should be referred to DMA when
    they want an overall reduction in unsolicited national mailings. Consumers can find information
    about DMA’s Preference Services at www.DMAchoice.org.
•   As noted in the children’s marketing section, you should be able to answer questions about the
    source of information. Consumers trying to reduce the amount of their mail or a relative’s mail
    are not happy to hear you say you can’t tell them the source of their name on a mailing list. You
    should tell consumers the source of their name on your list. If, for some reason, you cannot be
    specific as to the source, at least tell consumers the kinds of sources you use.
•   Also, you should not enter into agreements with list sources that would prohibit disclosing the
    source of information to consumers. Make sure your own lists are not exchanged with this non-
    disclosure requirement.
•   You might question whether you have to honor name-removal requests you receive from a third
    party as part of customer service. Many enterprises have sprung up which claim to offer
    consumers help in decreasing the number of unsolicited promotions they receive. Although you
    must maintain an in-house suppression list (required by two federal laws for telephone calling
    lists in addition to DMA’s membership requirement), you are not obligated to accept requests
    that come from such third parties. That is up to your organization. DMAchoice offers a
    company specific opt-out function for the catalog segment (as of October 2008) which should
    also be used by applicable members. DMAchoice should be used on a monthly basis, instead of
    quarterly.
•   Consumers understandably are upset when they receive promotions directed to deceased
    relatives, especially if the individuals died years ago. That is why, in January 2006, DMA’s Board
    of Directors approved the requirement for members to suppress deceased individuals’
    information when such information is provided to DMA. This information is available via the
    Deceased Do Not Contact list and is also flagged on the other Preference Service files.

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• DMA has always encouraged marketers to make every attempt to clean lists against “deceased”
  files maintained by some service bureaus to avoid the circumstance of contacting individuals
  who have died. (This is particularly important when marketing to the mature marketplace and to
  households believed to have newborn children.)
• DMA does not receive information from government agencies like the Social Security
  Administration or other sources about deceased consumers; therefore, the Deceased Do Not
  Contact file is not a complete listing of deceased individuals’ names.

        In addition to using DMA’s Deceased Do Not Contact file, you can also contact the
        Washington, D.C. office for information on service bureaus offering “deceased” files.

•   Although these guidelines apply to business-to-consumer marketing, it is recommended that
    they be honored when marketing to businesses also. Honoring opt-out requests for business
    names and generally cleaning your business lists is just good business.
•   Finally, the guidelines say that in addition to complying with the Commitment to Consumer Choice,
    member companies who are asked to provide documentation of their compliance cooperate
    promptly with DMA staff. It is essential in demonstrating self-regulation to policymakers that
    DMA regularly monitor its members, and that members cooperate with DMA.

Questions to Ask:
•   Does your company have an internal policy regarding fair information principles and practices,
    and an executive charged with oversight for its implementation?
•   Are all employees trained as to what the policy means and how it should be implemented?
•   Does your company give clear notice to consumers about its collection and use of customer
    data?
•   Does your organization provide notice (in commercial mailings) of an opportunity to modify or
    eliminate direct marketing communications?
•   Do you have systems and procedures in place for removing customers and prospects from your
    lists -- within 30 days for telephone lists and within 10 days for email lists according to federal
    law?
•   Do you have procedures for removing deceased persons from your lists?
•   Are your customer service reps trained to identify and handle name-removal requests?
•   Are your customer service reps trained to disclose the source of information to consumers, upon
    their request?
•   Does your company, or your service bureau, use the appropriate Preference Service files before
    contacting prospective customers?
•   If data are rented, sold, exchanged or transferred online, do you take steps to ensure that the
    data are secure and/or encrypted?
•   If requested by DMA, does your company promptly provide documentation that it follows the
    guidelines and the Commitment to Consumer Choice?




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PERSONAL DATA

Article #32
Marketers should be sensitive to the issue of consumer privacy and
should only collect, combine, rent, sell, exchange or use marketing
data. Marketing data should be used only for marketing purposes.

Data and selection criteria that by reasonable standards may be
considered sensitive and/or intimate should not be disclosed,
displayed or provide the basis for lists made available for rental,
sale or exchange when there is a reasonable expectation by the
consumer that the information will be kept confidential.

Credit card numbers, checking account numbers and debit account
numbers are considered to be personal information and therefore
should not be transferred, rented, sold or exchanged when there is
a reasonable expectation by the consumer that the information will
be kept confidential. Because of the confidential nature of such
personally identifying numbers, they should not be publicly
displayed on direct marketing promotions or otherwise made public
by direct marketers.

Social Security numbers are also considered to be personal
information and therefore should not be transferred, rented, sold or
exchanged for use by a third party when there is a reasonable
expectation by the consumer that the information will be kept
confidential. Because of the confidential nature of Social Security
numbers, they should not be publicly displayed on direct marketing
promotions or otherwise made public by direct marketers. [Social
Security numbers, however, are used by direct marketers as part of
the process of extending credit to consumers or for matching or
verification purposes.]


Comment:
•   The first part of this article addresses the fact that marketing data, for example, from subscriber
    files, warranty cards, consumer surveys, etc. should not be used for non-marketing purposes,
    such as reference or “look up” services. Reference services would include such services as
    “people-finding” and skip tracing and would be obtained from publicly available information.
•   Sensitive information generally includes, but is not limited to, consumer information that is
    financial- or health-related.
•   Many consumers and business people have expressed concern after receiving a promotion with a
    "stick-on note" that seems to be a personalized message from someone they know. The note
    generally encourages the recipient to try the advertised product. Although this technique can be
    viewed as creative, people who complain to DMA note their confusion about the sender and
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    concern that the sender knows something personal about them -- for example, that they could
    use a weight loss program or need help with their communication skills.
•   The practice of "reverse append," for example, matching a consumer's credit card number
    against a credit bureau file to obtain the consumer's address, is not specifically covered in this
    article. It may be an acceptable practice if the consumer gives you a credit card number and you
    use the number to obtain an address to which to mail your latest offer. But, reverse appending
    and transferring the information to another marketer may be outside of what consumers would
    reasonably expect. Indeed, many consumers expect that a credit card number will be used only
    to complete a transaction. (See Article #43 regarding E-mail Appending to Consumer Records.)
•   Although it might be reasonable to assume that your company would maintain credit account
    numbers for its own customers, many people would assume this kind of sensitive information
    would not be transferred to another marketer.
•   Also, consumers are increasingly wary of credit identity theft. That occurs when a thief uses
    someone's credit account and other numbers to establish new lines of credit under that person's
    name. Consumers may not learn about their credit problems until they apply for a mortgage or
    job, and then it can take years to straighten out. This is another reason why it makes sense to be
    especially careful in handling financial account information.
•   Consider whether mailing a promotion with a consumer's Social Security number on it may be
    seen as violating that consumer's expectation of confidentiality, especially if the information is
    visible on the outside of the promotion. Although Social Security numbers have long been used
    as personal identifiers in a number of ways, consumers are becoming more aware of the
    potential for their misuse as well as the misuse of credit account numbers.
•   Because of this heightened concern, account numbers and other customer identification
    numbers should no longer be based on a customer's Social Security number.

Questions to Ask:
•   Consider the purpose for which you are collecting data from or about consumers. Are you
    avoiding the collection of data for which you have no marketing usage?
•   Do you believe reasonable consumers would expect your company to be collecting and/or using
    certain kinds of data about them that could be viewed as sensitive?
•   Do you believe consumers would understand and agree with how financial, health-related or
    other data are used?
•   Do you guard your customers' financial information carefully, taking care not to share it with
    other companies that weren't authorized by your customers to have it?
•   Are you careful to maintain and use such information securely and to employ encryption, where
    appropriate, online?
•   Is it necessary for your company to collect, maintain or use consumers' Social Security numbers?
•   Do you take special care to ensure that your customers' Social Security numbers are kept private
    and safe?
•   Do you take care not to share this personal information without your customers' knowledge?
•   Are Social Security numbers visible through a window envelope or in any other way when
    included within a promotion?




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COLLECTION, USE & TRANSFER OF
HEALTH-RELATED DATA

Article #33
Health-related data constitute information related to consumers':
¾ illnesses or conditions;
¾ treatments for those illnesses or conditions, such as prescription drugs,
  medical procedures, devices or supplies; or
¾ treatments received from doctors (or other health care providers), at
  hospitals, at clinics or at other medical treatment facilities.

These fair information practices and principles apply to any individual or
entity that collects, maintains, uses and/or transfers health-related data for
marketing purposes, whether or not marketing is a primary purpose. These
principles are applicable to nonprofit as well as for-profit entities.

1. Personally identifiable health-related data gained in the context of a
relationship between consumers and health or medical care providers or
medical treatment facilities should not be transferred for marketing purposes
without the specific prior consent of those consumers. Health or medical care
providers include licensed health care practitioners, such as doctors, nurses,
psychologists, pharmacists and counselors, and those who support health care
providers and therefore have access to personally identifiable information, such
as insurance companies, pharmacy benefits managers or other business
partners, and businesses that sell prescription drugs.

2. Personally identifiable health-related data, including the occurrence of
childbirth, gained in the context of a relationship between consumers and
health or medical care providers or medical treatment facilities (as defined in
#1) should not be used to contact those consumers for marketing purposes
without giving consumers a clear notice of the marketer's intended uses of the
data and the opportunity to request not to be so contacted.

3. Personally identifiable health-related data volunteered by consumers, and
gathered outside of the relationship between consumers and health care
providers, should also be considered sensitive and personal in nature. Such
data should not be collected, maintained, used and/or transferred for
marketing purposes unless those consumers receive, at the time the data are
collected, a clear notice of the marketer's intended uses of the data, whether
the marketer will transfer the data to third parties for further use, the name of
the collecting organization, and the opportunity to opt out of transfer of the
data. Such data include, but are not limited to, data volunteered by consumers

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when responding to surveys and questionnaires. Clear notice should be easy to
find, read and understand.

4. Personally identifiable health-related data inferred about consumers, and
gathered outside of the relationship between consumers and health care
providers, should also be considered sensitive and personal in nature. These
are data based on consumers' purchasing behavior. Such data include, but are
not limited to, data captured by inquiries, donations, purchases, frequent
shopper programs, advertised toll-free telephone numbers, or other consumer
response devices. Any entity, including a seller of over-the-counter drugs,
which uses inferred health-related data should promptly provide notice and the
opportunity to opt out of any transfer of the data for marketing purposes.

5. Marketers using personally identifiable health-related data should provide
both the source and the nature of the information they have about that
consumer, upon request of that consumer and receipt of that consumer's
proper identification.

6. Consumers should not be required to release personally identifiable health-
related information about themselves to be used for marketing purposes as a
condition of receiving insurance coverage, treatment or information, or
otherwise completing their health care-related transaction.

7. The text, appearance and nature of solicitations directed to consumers on
the basis of health-related data should take into account the sensitive nature of
such data.

8. Marketers should ensure that safeguards are built into their systems to
protect personally identifiable health-related data from unauthorized access,
alteration, abuse, theft or misappropriation. Employees who have access to
personally identifiable health-related data should agree in advance to use those
data only in an authorized manner.

If personally identifiable health-related data are transferred from one direct
marketer to another for a marketing purpose, the transferor should arrange
strict security measures to assure that unauthorized access to the data is not
likely during the transfer process. Transfers of personally identifiable health-
related data should not be permitted for any marketing uses that are in
violation of any of DMA's Guidelines for Ethical Business Practice.

Nothing in these guidelines is meant to prohibit research, marketing or other
uses of health-related data which are not personally identifiable, and which are
used in the aggregate.
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Comments:
•   Think carefully about using a promotion implying or stating, for example, that your company
    knows what prescription medicine the consumer may be taking -- this would be considered
    overstepping the boundaries of confidentiality. Consumers are alarmed at the prospect of having
    sensitive health-related information out of their control, even if your intention is to benefit them
    by giving them information about other remedies.
•   It is also important when using health-related information not to disclose potentially sensitive
    information on the outside of the mailing piece itself. For example, a consumer who has a
    thyroid condition may not want his family member or roommate (or postal carrier, or anyone
    else) to know this. Of course, what is sensitive to one person about his health may not be
    sensitive to another person. Nevertheless, it is best to be extremely careful with health-related
    information.
•   If you collect or use information gained via surveys that ask questions about personal health
    conditions, make sure that the disclosure on the survey is easy to find, read and understand. In
    other words, visibly and clearly spell out what will happen if the consumer fills out and submits
    the survey, for example, "We will send you coupons to save money on useful products, and
    other carefully selected companies will also contact you with their offers of products you may
    find helpful." And, if pertinent, "If you only want the coupons and wish to restrict other uses of
    the information you have provided, please let us know by checking here."
•   The DMA's Frequently Asked Questions fact sheet about rules implementing the Health
    Insurance Portability and Accountability Act of 1996 (HIPAA) (as well as legal counsel) should
    be consulted if your company is a health care provider (a "covered entity").
    See www.dmaresponsibility.org/HIPAA .

Questions to Ask:
•   For what purpose is consumers' health and medical information collected, maintained and used?
•   Do you take care not to collect more information than is necessary for the intended marketing
    purpose?
•   Do you convey to consumers what information is being used and why?
•   Are appropriate systems and procedures in place to remove consumers' information upon their
    request?
•   Does your company carefully guard health and medical information?
•   Are promotions regarding health and medical conditions designed and sent with sensitivity in
    mind?

PROMOTION OF MARKETING LISTS
Article #34
Any advertising or promotion for marketing lists being offered for
rental, sale or exchange should reflect the fact that a marketing list
is an aggregate collection of marketing data. Such promotions
should also reflect a sensitivity for the consumers on those lists.

Comment:
•   You should realize that policymakers and industry critics read direct marketing trade journals.
    Watch how you describe offerings; for example, marketing lists promising “to tell more about
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    individuals than their own mothers know” are misguided and really serve to attract negative
    attention to our industry.
•   If you are a list provider, as another example, ask yourself whether a list promotion that
    describes people who may have financial difficulties as “desperate folks ripe for business
    opportunities” is a sensitive portrayal of prospective customers.
•   Compilers and other list professionals should be especially careful to ensure that their
    promotions do not in any way imply that marketing data are used for non-marketing purposes,
    such as reference services. Data promotions should clearly note where information for “people-
    finding” and other such reference services is obtained.
•   Media and critics also visit our industry’s trade shows. Gimmicks that invite trade show
    attendees to “look up” individual or household data should be discouraged.

Questions to Ask:
•   Does your data card or other listing clearly indicate that the list is an aggregate collection of
    consumer data?
•   Do you use objective descriptions regarding the consumers that make up the lists?
•   Do you promote the list in ways that respect individual consumer privacy?



MARKETING LIST USAGE
Article #35
List owners, brokers, managers, and users of marketing lists should
ascertain the nature of the list's intended usage for each materially
different marketing use prior to rental, sale, exchange, transfer or
use of the list. List owners, brokers, and managers should not
permit the rental, sale, exchange or transfer of their marketing
lists, nor should users use any marketing lists for an offer that is in
violation of these guidelines.

Comment:
•   If you are a list provider, you should carefully analyze your own policies regarding acceptance of
    clients’ intended promotion pieces. Problems can be avoided by not allowing potentially
    misleading or deceptive promotions to be sent to consumers. DMA’s Guidance to List Industry
    on FTC Legal Interpretation discusses screening offers before list rental and should be helpful in
    this regard. See: www.the-dma.org/cgi/disppressrelease?article=603 . [The Commitment
    to Consumer Choice also encourages suppliers to educate their customers as to fair information
    practices.]

Questions to Ask:
•   How do you think the average consumer would view the sample promotion piece or telephone
    script or e-mail text presented to you?
•   Do you believe the promotion is honest, complete, clear, believable and that it passes your
    internal “gut reaction” test?
•   Does the marketer to whom you plan to provide the list practice fair information practices, too?

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RESPONSIBILITIES OF DATABASE COMPILERS
Article #36
For purposes of this guideline, a database compiler is a company that
assembles personally identifiable information about consumers (with whom
the compiler has no direct relationship) for the purpose of facilitating renting,
selling, or exchanging the information to non-affiliated third party
organizations for marketing purposes. Customer refers to those marketers that
use the database compiler’s data.

Database compilers should:

   • Establish written (or electronic) agreements with customers that define the
     rights and responsibilities of the compiler and customer with respect to the use
     of marketing data.

   • Upon a consumer’s request, and within a reasonable time, suppress the
     consumer’s information from the compiler’s and/or the applicable customer’s
     database made available to customers for prospecting.

   • Not prohibit an end-user marketer from divulging the database compiler as the
     source of the marketer’s information.

   • At a minimum, explain to consumers, upon their request for source
     information, the nature and types of sources they use to compile marketing
     databases.

   • Include language in their written (or electronic) agreements with DMA member
     customers that requires compliance with applicable laws and DMA guidelines.
     For non-DMA member customers they should require compliance with
     applicable laws and encourage compliance with DMA’s guidelines. In both
     instances, customers should agree before using the marketing data.

   • Require customers to state the purpose for which the data will be used.

   • Use marketing data only for marketing purposes. If the data are non-marketing
     data but are used for marketing purposes, they should be treated as marketing
     data for purposes of this guideline.

   • For sensitive marketing data, compilers should review materials to be used in
     promotions to help ensure that their customers’ use of the data is both
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       appropriate and in accordance with their stated purpose. Sensitive marketing
       data include data pertaining to children, older adults, health care or treatment,
       account numbers, or financial transactions.

  • Randomly monitor, through seeding or other means, the use of their marketing
    databases to ensure that customers use them in accordance with their stated
    purpose.

  • If a database compiler is or becomes aware that a customer is using consumer
    data in a way that violates the law and/or DMA’s ethics guidelines, it should
    contact the customer and require compliance for any continued data usage, or
    refuse to sell the data and/or refer the matter to the DMA and/or a law
    enforcement agency.

Comments:
  •    As a matter of clarification, database compilers are not responsible for providing notice to
       consumers regarding their information practices.
  •    The “written agreement” between a database compiler and a customer referred to in the
       guideline could be reached electronically (such as by voice recording, touch tone response,
       digital signature, or digital acknowledgement), but verbally would not be a strong enough
       standard. The point is that regardless of how databases are obtained (for example: online,
       telephone order, or CD-ROM retail purchase), database compilers and customers should
       have an agreement that states consumer data will be used ethically and legally.
  •    It should be noted that the agreement between database compilers and customers should
       include that a random monitoring process will be employed for consumer protection. It
       would be up to the parties themselves to spell out the specifics, including actions to be taken
       in case of a violation of the agreement.
  •    A “reasonable time” within which to suppress a consumer’s information upon request is not
       defined by the guideline. As a guide, 30 days appears to be reasonable. The compiler should
       decide what is reasonable, taking the consumer’s perspective into account. Compilers may
       also want to include language in their contracts advising how often suppression requests will
       be provided and encouraging their customers to honor those requests promptly.
  •    “Sensitive marketing data” means marketing data pertaining to children or older consumers,
       health care or treatment, account numbers, or financial transactions. For sensitive marketing
       data, the extra step of reviewing promotions should be taken.
  •    It is acknowledged that there are several different standards regarding at what age a person is
       an “older adult.” Ages range from 50 (AARP) to 65 and up. We urge compilers to look at
       the totality of circumstances when deciding whether there is a duty to review promotions.
  •    The inclusion of “older adults” recognizes that younger and older Americans, in some
       instances, may be particularly susceptible to certain marketing practices. Promotions directed
       to them may require a higher degree of scrutiny.
  •    Compilers who sell, lease or trade lists that contain nonprofit data are covered under this
       guideline. Similarly, nonprofits that compile marketing lists or who hire third parties to do so
       are covered as well.
  •    Political data lists to be used for political purposes are not covered under this guideline.
       However, lists containing information of a political nature that will be used for marketing

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        purposes are covered by this guideline. For example, a list of contributors to a candidate that
        is to be used to market a political almanac would be covered.
   •    During discussions and review of this guideline it was noted that situations will not always
        present a clear and easy choice regarding the necessity to review the marketing use of a list.
        The guideline anticipates this by requesting that the compiler exercise its best judgment in
        determining the need to review the use of a list.
   •    Pre-screened credit offers may be used only as permitted by the Fair Credit Reporting Act
        (FCRA). Thus, for purposes of this guideline, “financial transactions” do not include pre-
        screened credit offers.


Suggested contract language:
         The following is an illustration of appropriate language that database compilers may include
in their written (or electronic) agreements and the points they should cover to help define the rights
and responsibilities of the compiler and customer with respect to the use of marketing data:

        “It is an express condition of this agreement (1) that the Data rented or obtained from
        Database Compiler shall be used only for lawful marketing purposes and in compliance with
        the ethical guidelines of the Direct Marketing Association, and (2) that Database Compiler
        may, upon reasonable request, require Client or Client’s agent or broker to provide Database
        Compiler with evidence showing that Client, Client’s agent or broker, or other authorized
        user, is in compliance with this condition.

“Database Compiler reserves the right to immediately, and without further notice or refund or
rebate, terminate this agreement if Database Compiler has reason to believe that this express
condition is not being complied with.”

This suggested language is just one option for defining rights and responsibilities concerning the use
of marketing data. Contract language may be more or less strict, but should require compliance with
applicable laws and DMA guidelines for DMA member customers (and require compliance with
applicable laws and encourage adherence to DMA member guidelines for non-DMA member
customers), and provide for a right of the database compiler to request proof of compliance and
seek corrective action in the event of non-compliance by the customer.


INFORMATION SECURITY
Article #37
The protection of personally identifiable information is the
responsibility of all marketers. Therefore, marketing companies
should assume the following responsibilities to provide secure
transactions for consumers and to protect databases containing
consumers' personally identifiable information against
unauthorized access, alteration, or dissemination of data:

   • Marketers should establish information security policies and
     practices that assure the uninterrupted security of information
     systems.
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    • Marketers should create and implement staff policies,
      procedures, training, and responsiveness measures to protect
      personally identifiable information handled in the everyday
      performance of duties.
    • Marketers should employ and routinely reassess protective
      physical safeguards and technological measures, including
      data retention, destruction, and deletion practices, in support
      of information security.
    • Marketers should contractually require all business partners
      and service providers that handle personally identifiable
      information to ensure that their policies, procedures and
      practices maintain a level of security consistent with the
      marketer’s applicable information security policies.
    • Marketers should, in the event of a security breach where
      there is a reasonable likelihood of material harm to
      consumers, inform those consumers who may be affected as
      soon as reasonably practical, unless requested by legal
      authorities to delay such notification.

Comment:
•   This guideline was originally developed in January 2003 for several reasons. Inasmuch as
    protecting privacy of personally identifiable information and maintaining security of information
    are closely intertwined, DMA believed that it was important to specifically address the ethics of
    information security within the Guidelines for Ethical Business Practice. In addition, DMA wanted to
    respond to challenges issued by the Federal Trade Commission and the Organization for
    Economic Cooperation and Development, which were increasingly concerned with this issue
    globally, and asked industry association leaders to be more involved in promoting security
    among industry members and encouraging them to factor security into the design of their
    systems. These guidelines are consistent with the OECD's revised security guidelines (see
    www.oecd.org).
•   DMA produced, in cooperation with the FTC, a Checklist of Information Security Procedures based on
    these guidelines. Information Security: Safeguarding Personal Data in Your Care can be found at:
    www.dmaresponsibility.org/InfoSecurity .
•   Marketers should also use the DMA/Solutionary SecurCompass security and compliance
    assessment tool – see www.the-dma.org/cgi/member/solutionary. This tool (available
    only to DMA members) consists of 42 questions that mirror the Checklist of Information Security
    Procedures. This internal self-assessment gauges where your organization has addressed security
    and privacy issues appropriately, and where you may need some assistance.
•   The FTC’s Protecting Personal Information – A Guide for Business, and other important resources are
    also available at www.ftc.gov/infosecurity .
•   The original ethics guideline incorporated four main points as baseline requirements for
    marketers:
        1) creating policies for an overall "culture of security"
        2) developing security standards and training employees
        3) incorporating the use of appropriate technologies, and
        4) informing business partners of their responsibilities to adhere to the same
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          standards
•   Without a corporate standard of security ethics and the proper training, structure and
    technologies, it would be difficult to reassure consumers of your intentions and ability to keep
    personally identifiable information secure.

The DMA Board of Directors, in May 2008, approved updates to the guideline, in three
important ways:

Primarily, it added a new (fifth) bullet to address the important issue of security breaches and what
a marketer’s responsibility is to consumers if information has been compromised. The following
factors include the reasoning for adding to the guideline in this way:
    • Since the original guideline was approved, the issue of security breaches has emerged as an
        important concern. Over the past couple of years, breaches have occurred in numerous ways
        – through identity thieves posing as customers, stolen laptops, lost computer disks, and
        other means.
    • The media attention serves to hurt consumer trust.
    • Several states quickly passed “notice of security breach” laws.
    • The federal government has been considering a law, but has not yet come to a consensus.

This addition is meant to convey that:
    •    Marketers should inform consumers when a breach occurs that involves sensitive
         information (generally defined as including financial account data, medically-related
         information, children’s data, or Social Security numbers) that was not encrypted.
    •    In general, marketers should not have to advise customers of a security breach when the
         information lost or stolen was encrypted.
    •    Personally identifiable information such as name and address, and public or publicly
         available information would not normally be considered sensitive.
    •    However, in determining whether to inform consumers of a security breach, marketers should
         consider how the information about consumers was used. Even if the information is not
         normally thought to be “sensitive,” its uses may be considered sensitive to some consumers.
         For example, consumers ordering certain health-related items or subscribing to adult
         magazines may be highly upset if their name and address and order information were
         misused as a result of a security breach.
    •    “Material harm” to the consumer generally means when unencrypted sensitive information
         was lost/stolen and such loss could lead to significant financial harm to the consumer,
         including identity theft.
    •    It would not make sense to require that marketers inform consumers of every incidence a
         file containing data may be temporarily misplaced, as that would be unnecessarily alarming to
         consumers.

The third bullet was revised to add that marketers should also employ and routinely reassess
“data retention, destruction, and deletion practices.” Such addition was meant to address this
emerging issue (being discussed by Federal Trade Commission staff and legislators) as a consumer
protection tool to fight identity theft.

Lastly, the fourth bullet added the terms “contractually require” in order to reinforce that
marketers should require their business partners and service providers to handle personally
identifiable information at an acceptable level of security. Entering into a contract that
requires acceptable data handling is a stronger standard of care than merely “informing” business
partners.
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Questions to Ask:
1) In regard to Establishing information security policies and practices:
• Have you established an internal culture of security and its supporting infrastructure, including a
    formal written plan?
• Do you believe all employees understand the importance of keeping information secure?
• Do you maintain confidentiality statements signed by employees when they are hired?
• Do you regularly review your information security policies and practices?
• Does your company maintain an adequate budget for security tools?
• Have you considered employing network security specialists to assess your policies and practices,
    perform risk assessments and audits, and assist your company with compliance?
• Do you report cyber attacks to law enforcement agencies?
• Have you considered liability insurance coverage in case of any security breaches?
• Have you created and tested a data recovery plan in case of a natural disaster?
• Has your company established a dispute resolution plan in case of disputes arising out of
    security breaches or alleged misuse of personally identifiable information?


2) In regard to Establishing staff policy and training measures:
• Have you designated responsible staff to design written information security policies and
   practices and ensured their implementation throughout your company? Do you feel confident
   that you have sufficient full-time staff available for your security program?
• Have you developed documentation and training materials to educate appropriate staff on the
   importance of information security and their responsibilities related to it?
• Do you perform background checks as necessary before hiring employees who would handle
   sensitive information, such as financial or medical data, or data about children?
• Do you verify employee qualifications regarding information technology, to avoid security
   breaches due to employees' lack of technological ability?
• Do you review your information security policy with appropriate employees, as indicated by
   their position or function, promptly upon their being hired, and regularly thereafter?
• Do you routinely audit your information security practices or systems (including when changes
   to the practices or systems are made) to assure accurate execution and to assess vulnerabilities?
   Do you revise your practices as necessary?
• Have you decided what information is sensitive and who has access to such information? Have
   you established a process for classifying data, and appropriate levels of security for each data
   class?
• Do you routinely monitor employee access to and use of personally identifiable information?
• Have you set forth penalties for breaches of information security by employees and promptly
   implemented them upon discovery of any information security breach?
• Upon termination of employees, do you ensure that appropriate processes are changed?

3) In regard to Employing physical safeguards and technological measures, including data
   retention, destruction, and deletion practices, to ensure security of consumer
   information:
• Do you define information security specifications for all new technologies, products, and data
   uses, and for system developments?
• Have you considered diverse or redundant solutions for high-risk systems?

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•   Do you take steps to understand the security impact of any new technologies, products, or data
    uses?
•   Do you use current virus protection programs to protect information and do you update them
    regularly?
•   Do you pay attention to security "alerts" released by software vendors?
•   Do you employ firewalls to protect personally identifiable information?
•   Do you change passwords routinely and use passwords with multiple numbers and symbols?
•   Do you put into place authentication measures, as they are available, in order to verify personnel
    and consumer use and access to personally identifiable information?
•   Do you test information security systems to ensure that specifications are met and that data are
    secure in storage and in transit? Do you check with your software vendors to make sure they
    have tested their applications before public release?
•   Do you compile and review audit logs for attempted intrusions?
•   Are you able to identify potential security breaches before they occur? Do you use software
    patches as needed?
•   Have you created an incident recovery/back-up plan, including backup software and a secondary
    site to maintain data, in case of any breaches in your information security systems?
•   Do you have policies regarding how long customer data should be retained?
•   Have you considered different retention and destruction standards considering the type of data,
    for example, typical personally identifiable data such as name, address, and what was purchased
    versus sensitive data such as credit card or other financial account information, health-related
    data, data about children, Social Security numbers)?
•   How would your customers (and potential customers) view your data retention, destruction, and
    deletion practices (for example, is it a positive customer service when consumers do not have to
    give out credit card information they previously provided)?
•   How are customer data protected?
•   How should data be disposed of or destroyed? Have you put into place a system to eradicate
    data from equipment prior to disposal?
•   Are sensitive data (specifically, financial, health, children’s, Social Security) encrypted?

4) In regard to Contracting with business partners and vendors to ensure consistency with
   the marketer's own security policies:
• Do you consider security ramifications before sharing networks with your business partners and
   vendors?
• Do you assure yourself that you understand the nature of any intended use of a list and that the
   list does not violate any of the ethical guidelines?
• Do you decoy and monitor the data practices of your business partners?
• Do you take steps to avoid unusual or suspicious list requests?
• Have you considered a sample notice to your business partners and vendors, for example:
   [Marketer's] security policies are set forth below. [Marketer] expects [partner/vendor] to ensure that its security
   policies are consistent with and do not compromise [Marketer's] protection of personally identifiable information in
   any way.

5) In regard to Informing consumers of a security breach: (several points relevant to security
   breaches are also asked in 1 – 4 above)
• Do you have a plan for informing consumers in the case of a security breach that warrants
   disclosure (e.g., information was of a sensitive nature and was not encrypted)?
• Are there others (in addition to consumers) who need to be notified of the breach?
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•   Have you considered providing any assistance to consumers (in the form of credit report
    monitoring, etc) if sensitive information was breached?
•   Have you taken steps to close off existing vulnerabilities and threats?




Online Marketing
This section of the guidelines covers Online Information,
Commercial Solicitations Online, E-Mail Authentication, Use
of Software or Other Similar Technology Installed on a
Computer or Similar Device, Online Referral Marketing, and
E-mail Appending. These guidelines are minimum
standards DMA members are required to follow when
marketing online. "Best practices" examples are given for
those marketers wishing to exceed the basic standards.

Online Information

Article #38
Notice to Online Visitors
1. If your organization operates an online site, you should make your
information practices available to visitors in a prominent place on your Web
site's home page or in a place that is easily accessible from the home page.
The notice about information practices on your Web site should be easy to
find, read, and understand so that a visitor is able to comprehend the scope of
the notice. The notice should be available prior to or at the time personally
identifiable information is collected.
Comment:
•   One of the best ways to provide notice to consumers is to have a privacy icon or symbol on
    your home page that would link to your company's privacy policy. The icon could note "click
    here for our privacy policy" or words to that effect.
•   Notice does not have to be on every page of your Web site in order to be conspicuous to
    consumers, but linking at all points where personally identifiable information is collected is the
    best way to ensure consumers will see your notice.
•   "Easy to find, read and understand" basically means that your policy notice is available from
    your Web site's home page in readable print, not obscured by design elements, and that your
    privacy policy is written in plain English.
•   Marketers need provide notice only if information about consumers is personally identifiable
    information, not if you just use aggregate data to help make improvements to your site.


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Questions to Ask:
•   Do you have a link to your policy in a prominent place or places on your Web site?
•   Do you believe that the average consumer would view your privacy policy as prominent and
    easily accessible from your Web site's home page?
•   Have you written your policy in plain, easy-to-read English so that it is understandable at a high
    school level?
•   Are the print, format, and design of the text easy to read?

2. Your organization and its postal address, and the Web site(s) to which the
notice applies should be identified so the visitor knows who is responsible for
the Web site. You also should provide specific contact information so the
visitor can contact your organization for service or information.
Comment:
•   It increases consumer confidence to know your company's address. If consumers know where a
    company is physically located, they can more easily verify that the site they are viewing is the
    authentic Web site of your company. (Fraudulent operators can copy sites of reputable
    companies, harming both consumers and legitimate businesses.)
•   Listing a physical address separates legitimate businesses from those who may be disreputable
    and do not want to be found. Law enforcement is facilitated when a physical address is listed,
    thus helping legitimate businesses as well.
•   Consumers may need to contact your company for any of the following: to inquire about the
    status of a purchase they made, to seek help with a service problem, to get more information
    about one of your services (or for other reasons). If your company has different contacts for
    different purposes, you should list all of them on your Web site. Online contact information
    should be available since the consumer is presumably disposed to do business online.

Questions to Ask:
•   Does your Web site include your company's physical address?
•   Is it clear to consumers who is responsible for your Web site?
•   Does your site include specific contact information that consumers can use to get their questions
    or concerns answered or to get the service they require?

3. If your organization collects personally identifiable information from
visitors, your notice should include:
¾   The nature of personally identifiable information collected about individual
    visitors online, and the types of uses you make of such information,
    including marketing uses that you may make of that information.

Comment:
•   Consumer confidence is increased if consumers know what information is collected and how
    that information will be used.
•   DMA's Online Privacy Policy Generator can assist you with developing your privacy notice.
    Your notice is essentially completed after answering a series of questions based on your
    company's information practices. This online tool can be found at www.the-
    dma.org/privacy/creating.
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•   The DMA has also developed the Children's Privacy Policy Generator to meet the notice
    requirements of the Children's Online Privacy Protection Act (www.the-
    dma.org/privacy/childrensppg2), and the GLB Privacy Policy Generator to meet the
    notice and opt-out requirements of the Gramm-Leach-Bliley Act (www.the-
    dma.org/glb/createprivacy).
•   Personally identifiable information would include, for example:
        - e-mail addresses of visitors to your Web site;
        - e-mail addresses of those who post messages to your bulletin board;
        - e-mail addresses of those who communicate with your company via e-mail;
        - e-mail addresses of those who make postings to your chat areas;
        - user-specific information on what pages consumers access or visit; and
        - information volunteered by consumers, such as survey information and/or site
           registrations. (Information obtained in this way could include gender, age range, presence
           of children, presence of pets, income range, etc.)
•   Information collected could be used by you in many different ways, among them:
        - for internal review and then discarded;
        - to improve the content of your Web page;
        - to customize the content and/or layout of your page for each individual visitor;
        - to notify visitors about updates to your Web site;
        - by your company to contact consumers for marketing purposes; and
        - given to other marketers or to agents.

Questions to Ask:
•   Does your Web site notice clearly describe what personally identifiable information is collected?
•   Does your notice state, in easily understandable terms, how each type of information will be
    used by your company?

¾   Whether you transfer personally identifiable information to third
    parties for use by them for their own marketing and the mechanism
    by which the visitor can exercise choice not to have such information
    transferred.

Comment:
•   If it is the case, consumers should understand that other marketers, besides your company, are
    using data about them. In order to gain consumer confidence and trust, marketers should focus
    on providing clear notice to consumers, and the opportunity for consumers to opt out of having
    information about them transferred to other marketers.
•   Third parties who could be the recipient of personally identifiable information and use the data
    for their marketing could be unrelated entities, but could also include company affiliates,
    marketing partners, and cooperative databases.
•   Requests for opting out of having information transferred should be honored promptly.

Questions to Ask:
•   Does your Web site notice clearly explain whether personally identifiable information is
    transferred to third parties?
•   Does the notice explain what relationship the third party marketers have with your company, for
    instance, an affiliate, a marketing partner, or a member of a cooperative database?
•   Does your notice explain how consumers may request that information not be transferred?
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•   Do you have systems in place for promptly acknowledging and processing opt-out requests to
    prevent transfer to other marketers?
•   Are the staff who handle customer service properly trained to identify and respond to such
    requests?

¾   Whether personally identifiable information is collected by, used by
    or transferred to agents (entities working on your behalf) as part of
    the business activities related to the visitor’s actions on the site,
    including to fulfill orders or to provide information or requested
    services.

Comment:
•   "Agents" are the people working directly for you to serve and support your relationship with
    your customers. They are not the same as third party marketers.
•   Agents include such service entities as delivery companies, print and letter shops, computer
    service bureaus, ad servers, fulfillment houses, credit card processors, and other companies
    working on the marketer's behalf to provide information or service to consumers.
•   Consumers should be told that information has to be transferred to other entities so their orders
    and requests can be fulfilled.
•   Marketers need to give notice of information transfer to agents, but do not need to give
    consumers the opportunity to opt out of transferring data to support their own orders. That is
    because opting out could not be honored, since transfer must take place in order for fulfillment
    and customer service to take place.

Questions to Ask:
•   Does your Web site notice clearly explain whether personally identifiable information is
    collected, used by or transferred to agents?
•   Does the notice explain that these are entities working on your behalf to fulfill consumers'
    requests?

¾   Whether you use cookies or other passive means of data collection, and
    whether such data collected are for internal purposes or transferred to third
    parties for marketing purposes.

Comment:
•   "Cookies" tag information about individuals and what they do online: a "cookie" is a note your
    Web site feeds to the consumer's computer when the consumer visits your site. If that computer
    returns to your site, your site will "recognize" the computer and you can present a targeted
    message or offer, based on past behavior.
•   Cookies and other passive data collection tools, including Web "bugs," "bots," and "spiders," are
    often portrayed negatively and as intrusive to consumers' privacy. When these tools are used
    without consumer knowledge, consumers can be concerned that information is collected and
    used without their knowledge. Therefore, it is important for marketers to explain to consumers
    the positive ways in which cookies are utilized, and how consumers can benefit from their use.
    For example, cookies are used to personalize their visits, remember their preferences, or help tag
    items for their shopping baskets.

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•   Your notice should include not only how your company uses cookies, but whether information
    gained from cookies is made available to others for marketing purposes.
•   Your notice should also inform consumers that, if they choose to, they can stop cookies by a
    setting in their browser.

Questions to Ask:
•   Does your Web site notice state whether you use cookies or other passive means of collecting
    personally identifiable information?
•   Does your notice state what you use the personally identifiable information collected from
    cookies for?
•   Do you state whether you use information gleaned from cookies for internal purposes only, or
    are the data transferred to other marketers?

¾   What procedures your organization has put in place for accountability and
    enforcement purposes.


Comment:
•   The Federal Trade Commission and the European Union, among others, have identified the
    concept of "accountability" as one of the main "Fair Information Practices." Accountability
    means that you have a process in place that you follow to make sure you adhere to your privacy
    policy. It also means that if there is a privacy breach, there is an enforcement mechanism in
    place to fix the problem.
•   This process and mechanism could be either internal or handled by some other entity you use to
    oversee adherence to your privacy policy. Such third party entity could include the Council of
    Better Business Bureaus, TrustE, or DMA.
•   Your Web site notice should include a specific contact within your company, and/or the third
    party entity, for a consumer to contact regarding a question or problem with your privacy policy.

Questions to Ask:
•   Does your Web site's notice include a contact consumers can use internally if they feel you are
    not living up to your privacy policy?
•   Does your notice include what, if any, third party enforces your privacy policy on your behalf,
    including how to contact that entity in case of a dispute regarding your handling of personally
    identifiable information?

¾   That your organization keeps personally identifiable information secure.

Comment:
•   One of the biggest barriers to consumers conducting commerce online is the fear that
    information about them, especially sensitive financial information, may not be secure, and that
    they could be harmed by such crimes as credit card or identity fraud. You should, therefore,
    reassure consumers for the benefit of your company as well as the general well-being of the
    industry, that your company places a high priority on data security.
•   Without divulging the particulars of how your company keeps information secure, your notice
    should indicate that you use up-to-date security protocols, both internally, such as keeping data
    physically secure, and externally, as when data may be transmitted or shared with others.
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Questions to Ask:
•   Do you have in place reasonable protocols and technologies to protect data in storage and in
    transit?
•   Does your Web site explain to consumers in a reassuring way that personally identifiable
    information is kept securely?
•   Have you reviewed DMA guidelines on security and Information Security: Safeguarding Personal Data
    in Your Care (see www.dmaresponsibility.org/InfoSecurity)?

4. If you knowingly permit network advertisers to collect information on their
own behalf or on behalf of their clients on your Web site, you should also
provide notice of the network advertisers that collect information from your
site and a mechanism by which a visitor can find those network advertisers to
obtain their privacy statements and to exercise the choice of not having such
information collected. (Network advertisers are third parties that attempt to
target online advertising and make it more relevant to visitors based on Web
traffic information collected over time across Web sites of others.)
Comment:
•   Consumers should be informed about third party network advertisers that collect data on your
    Web site. Likewise, they should be informed whether such data collected are transferred to third
    parties for marketing purposes.
•   Third party network advertisers (also known as ad servers) should be specifically named, so that
    a visitor to your Web site knows who to contact to get information about that network
    advertiser's privacy policy and to opt out, if desired.
•   Third party network advertisers' privacy policies themselves do not have to be included on your
    company's Web site; a link to each company and its policy is a recommended way of
    accomplishing consumer notice.
•   As with cookies, it is recommended that you explain to consumers the purpose of allowing third
    party network advertisers to collect information on your site. (Unlike cookies, which visitors
    cannot see, "banner" or "pop-up" ads are quite visible; they are, in fact, designed to attract
    visitor attention and have the visitor click through for more information on the subject of the
    ad.) Visitors should be informed of benefits to them, such as providing a more positive
    shopping experience.

Questions to Ask:
•   If you have relationships with network advertisers who collect information from your Web site,
    does your notice clearly state that this is the case?
•   Does your Web site notice disclose who the network advertisers are, and provide a contact point
    for visitors to read their privacy policies and have the chance to opt out of information
    collection by each ad server?
•   Does your Web site contain a link to network advertisers' privacy policy notices?

5. If your organization’s policy changes materially with respect to the sharing
of personally identifiable information with third parties for marketing
purposes, you will update your policy and give consumers conspicuous notice
to that effect, offering an opportunity to opt out.
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Comment:
•   "Doing the right thing" when there is a major change in your privacy policy means alerting
    consumers to any change that would affect the previous choices they made, and giving them the
    opportunity to react to the new policy.
•   A material change, from the consumer perspective, is one where there are fewer restrictions
    placed on sharing personally identifiable information with third parties for marketing purposes.
    For instance, your policy may change from not sharing information with other marketers, to
    renting lists of customer names to other marketers. Or, you may begin participating in a
    cooperative database, in which personally identifiable information is shared with other
    catalogers.
•   Marketers immediately incur additional business risks if their policies become less restrictive.
    Therefore, you should be prudent in making sure that you let visitors know as soon as possible
    about any less restrictive privacy policy. Make sure that you do not use personally identifiable
    information collected under the new policy until you have provided notice and allowed a
    reasonable time period for consumers to opt out of having information shared from that time
    forward. Thirty days is a reasonable time for consumers to respond to your notice.
•   Your policy cannot be changed retroactively; in other words, data collected under your old
    policy cannot be used as per your new policy without notice to the consumer.
•   At a minimum, you should post clear and conspicuous notice on your Web site that alerts
    visitors to the policy change. Other ways of "conspicuously" notifying consumers include, for
    example, "pop-up" notices or flashing signs on your Web site which serve to inform returning
    visitors to click onto your new privacy policy, or sending e-mail notices to consumers.
•   You can assume after a reasonable time period that consumers who have not opted out do not
    object to the new policy. Notwithstanding this, however, it may be more prudent to honor the
    consumer's choice regarding data collected under your old policy if you don't hear from the
    consumer.
•   Requests for name removal should be honored promptly.

Questions to Ask:
•   Do you have a mechanism or system in place for promptly notifying consumers of any material
    change in your privacy policy?
•   Does your new notice clearly explain the nature of the change?
•   Do you allow enough time (at least 30 days) for consumers to review the notice and respond
    with an opt-out request, if they desire?
•   Do you have a system for tracking consumers who let you know that they do not want
    personally identifiable information shared under your new policy?
•   Do you promptly honor requests for name removal?

Honoring Choice
You should honor a visitor's choice regarding use and transfer of personally
identifiable information made in accordance with your stated policy. If you
have promised to honor the visitor's choice for a specific time period, and if
that time period subsequently expires, then you should provide that visitor
with a new notice and choice. You should provide choices of opting out online.
You may also offer opt-out options by mail or telephone.


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Comment:
•   Not adhering to your own privacy policy is a breach of industry self-regulation and consumer
    confidence, and of federal law.
•   Time frames for honoring privacy choices can differ from marketer to marketer, including
    anywhere between a year and infinity, for example. Since consumers' e-mail addresses frequently
    change, many online marketers choose limited time periods.
•   If your notice's stated time period is expiring, then the visitor should be furnished a new notice
    and choice.
•   Notice should ideally be furnished by e-mail, but it could be furnished by posting a notice on
    your Web site. The Web site could indicate, for example, that visitors' requests not to have data
    about themselves shared one year ago are now expiring. The notice would ask visitors to register
    their preferences again.
•   Most consumers would reasonably expect that if they do not register a new preference,
    information about themselves would not be used after the stated time period.

Questions to Ask:
•   Does your Web site policy indicate a specific time for honoring visitors' privacy preferences?
•   Do you have a mechanism or system for alerting consumers that the time has lapsed and they
    should re-register their preferences with you?
•   Do you offer opt-out choices by e-mail?
•   How do you track Web site visitors who saw the new notice and opt-out option?
•   Do you discontinue the use of data provided by consumers before the time expiration if they do
    not register their choices again?

Providing Access
You should honor any representations made in your online policy notice
regarding access.

Comment:
•   Some companies offer the opportunity to consumers to check their transaction records and to
    correct inaccurate data. If your company makes any public statements about consumer access to
    information, the promises should be kept.
•   Individuals usually request access to data, such as contact information, registration, application
    or enrollment information, consumer preferences regarding information exchange, and recent
    transaction/purchase information in order to assure their accuracy.
•   DMA recommends that you give consumers "reasonable access" to the information that will
    answer these customer service questions. You should also take reasonable steps to verify the
    identity of the individual requesting access, indicate a time frame to the consumer in which the
    request will be honored, and make requested corrections as appropriate.
•   Consumers should agree to any fees you may charge for data access before work is initiated to
    retrieve the requested data.

Questions to Ask:
•   Does your company state in its privacy policy or elsewhere that consumers can have access to
    information about them?
•   If so, does your policy state what your procedures are for releasing information to requesting
    individuals?
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•   Have you trained your customer service personnel to identify and properly handle or refer
    requests for access?
•   Have you assigned particular staff to handle consumer requests for access to data (and
    correction, if appropriate)?
•   What kinds of information do you make available, and how far back in time do you research
    your records?
•   Do you make a reasonable effort to verify the identity of individuals before releasing
    information to them?
•   If you charge a fee for accessing information, do you notify consumers of the fee and get their
    permission before proceeding?

Data Security
Your organization should use security technologies and methods to guard
against unauthorized access, alteration, or dissemination of personally
identifiable information during transfer and storage. Your procedures should
require that employees and agents of your organization who have access to
personally identifiable information use and disclose that information only in a
lawful and authorized manner.

Comment:
•   It is important to maintain data security, and to let your Web site's visitors know that your
    company keeps personally identifiable information secure, in order to build consumer trust.
•   For assistance, see the security checklist developed by DMA in conjunction with the FTC at
    www.dmaresponsibility.org/InfoSecurity , and other resources listed under Article #37.

Questions to Ask:
•   Has your company implemented measures to provide secure transactions for consumers?
•   Are you confident that data are kept physically secure when in storage, and in the process of
    transfer?
•   Do you use current security and encryption technologies to ensure that consumer data are
    secure?
•   Do you have a security policy concerning employee and agent access to data?
•   Are employees instructed on your security policy and routinely monitored to ensure their
    compliance?
•   Are visitors to areas where personal data are stored and processed specifically authorized?
•   Are your security practices routinely audited to assess any weaknesses and to assure that policies
    are followed?

Visitors Under 13 Years of Age
If your organization has a site directed to children under the age of 13 or
collects personally identifiable information from visitors known to be under 13
years of age, your Web site should take the additional steps required by Article
#16 of the Guidelines for Ethical Business Practice and inform visitors that
your disclosures and practices are subject to compliance with the Children's
Online Privacy Protection Act.

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Comment:
•   Article #16 of the Guidelines for Ethical Business Practice says, among other things, that marketers
    should not collect personally identifiable information online from a child under 13 without prior
    parental consent or direct parental notification of the nature and intended uses of such
    information online and an opportunity for the parent to prevent such use and participation in
    the activity.

Questions to Ask:
•   Is your Web site directed to visitors under the age of 13, or does your company collect
    personally identifiable information from visitors who are under that age?
•   Do you have systems in place and staff responsible for assuring adherence to the Children's
    Online Privacy Protection Act (COPPA)?

The DMA has tools you can use if you market online to children:

        The Children's Privacy Policy Generator was designed to meet the notice requirements of
        the Children's Online Privacy Protection Act (COPPA). Like the Privacy Policy Generator,
        a marketer answers a series of questions online about its information collection and
        sharing practices, which generates a customized policy to be modified and reviewed
        and then posted on your Web site. The Children's Privacy Policy Generator can be found
        at: w ww .t he - dma .o r g / p r iv ac y/ ch il d re n sppg.

        How to Comply with the Children's Online Privacy Protection Rule was developed in
        cooperation with the Federal Trade Commission to help marketers understand and
        comply with COPPA, a federal law implemented by the FTC. It is located online at:
        ww w .t he -dma .or g/p r iv ac y/Howt oC ompl yw it hCOP P A-P DF Ve rs ion .


Accountability
There should be a meaningful, timely, and effective procedure through which
your organization can demonstrate adherence to your stated online
information practices. Such a procedure may include: 1) self or third party
verification and monitoring, 2) complaint resolution and 3) education and
outreach. This can be accomplished by an independent auditor, public self-
certification, a third party privacy seal program, a licensing program,
membership in a trade, professional or other membership association or self-
regulatory program, or being subject to government regulation.


Comment:
•   You should advise visitors of procedures your organization has put in place for accountability
    and enforcement. Accountability means you have a process in place that you follow to make
    sure you adhere to your privacy policy. It also means that if problems occur, there is an
    enforcement mechanism to correct them.
•   There are several ways in which you can be held accountable to your online privacy policies,
    including the following examples: being a member of a trade association, such as DMA, which
    administers a membership seal and the Commitment to Consumer Choice and has enforcement
    capabilities; applying for a third party privacy seal program, such as TrustE or the Better

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    Business Bureau's online seal; or having an independent firm audit your company on a yearly
    basis.
•   Your company may also monitor itself and have an internal compliance and complaint
    resolution process.
•   Whatever your accountability mechanism is, you should summarize it on your Web site in plain
    English so that it is easy for visitors to understand and use.

Questions to Ask:
•   Do you have a procedure or program in place that holds your company accountable for its
    information practices?
•   Are your employees knowledgeable as to what the procedure/program is?
•   Do you notify Web site visitors about your procedure/program and how to access it if they have
    a dispute regarding your privacy practices? Does your notice include specific contacts, including
    at any third party organization you may be responsible to?
•   Do you maintain records as to any monitoring program you have in place?



COMMERCIAL SOLICITATIONS ONLINE

Article #39
Marketers may send commercial solicitations online under the following
circumstances:
   • The solicitations are sent to the marketers' own customers, or
   • Individuals have given their affirmative consent to the marketer to
      receive solicitations online, or
   • Individuals did not opt out after the marketer has given notice of the
      opportunity to opt out from solicitations online, or
   • The marketer has received assurances from the third party list provider
      that the individuals whose e-mail addresses appear on that list:
             • have already provided affirmative consent to receive
                solicitations online, or
             • have already received notice of the opportunity to have their e-
                mail addresses removed and have not opted out, and
   • The individual is not on the marketer’s in-house online suppression list.
Comment:
•   Marketers need to be in compliance with the federal CAN-SPAM law. DMA's FAQs
    (www.the-dma.org/cgi/member/spamfaq), and graphic representations of legitimate vs.
    misleading or fraudulent e-mail (www.the-dma.org/antispam/E-mail_Chart.pdf) should
    be consulted.
•   "Affirmative consent" is when the consumer has to take an action before being added to an e-
    mail list, for example, through a check-off box. It is another way of saying "permission was
    granted" or "the individual said yes" or "the consumer opted in." The overriding principle here is
    that consumers on your lists, and on lists you received from others should have either agreed to
    receive e-mails, or, at a minimum, should have been given notice and the choice to opt out.
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•   Online "solicitations" are e-mails that are sales messages or advertisements. If you send an e-mail
    notifying a consumer on the status of an order, or any other customer service matter, such as
    updating account information, or acknowledging a transaction, payment, or communication, that
    is not a solicitation and these guidelines would not apply. When such customer service messages
    and sales messages or advertisements are combined within the same e-mail, these guidelines
    would apply.
•   Point one is the principle that you can contact your own customers online, even if the prior
    relationship with them was conducted in another medium. This also allows for e-appending, for
    example, obtaining your customer's e-mail address from a directory or listing based on their
    physical address information. "Customers" include individuals with whom marketers have
    previously conducted business (e.g., they have made a purchase or donation) or individuals who
    have contacted a marketer or the marketer's agent and included their e-mail addresses. Examples
    of such contacts could include requests for information, responses to questionnaires or surveys,
    product registrations, or responses to sweepstakes or contests.
•   Points two and three apply to your own actions: that consumers gave you permission to contact
    them by e-mail, or they did not opt out of receiving e-mail solicitations when you provided them
    notice. The guideline allows you to send individuals (customers or prospects) at least one e-mail
    solicitation, and if recipients do not ask you to stop, you can continue to send them solicitations
    online.
•   Since point four relates to third party lists, permission would have been granted to the third
    party marketer (or the marketer's agent) who is sharing the e-mail list with your company. In
    other words, it is the original marketer's responsibility to provide the individual with notice and
    an opt-out opportunity (for example, a check-off box) before renting or exchanging the e-mail
    addresses with your company.
•   Your responsibility is to ask the list provider whether permission was granted or opt-out notice
    was given, and to be reasonably reassured of the answer before proceeding to send e-mail
    solicitations to consumers on the list.
•   Marketers should be aware that some Internet Service Providers (ISPs) have policies to block the
    receipt of unsolicited commercial e-mail. A marketer should take into account the e-mail policies
    of the destination ISP because that is one way of ensuring that your messages will be delivered.

Questions to Ask:
•   Do you ask your customers whether they wish to receive e-mail communications, including
    solicitations, from your company and from other marketers? Do you provide a means for
    individuals to easily register their preferences?
•   If you e-mail commercial solicitations to individuals who are not currently your customers, do
    you have their consent to receive solicitations? Or, have the individuals on your list previously
    been given notice and the opportunity to opt out of receiving commercial e-mail from your
    company?
•   If you receive an e-mail list from another entity, have you asked that list provider whether the
    individuals on the list have given permission to receive e-mail solicitations? Or, do you know
    whether the individuals on the rented list have been provided notice and the opportunity to opt
    out of having their names transferred?
•   Do you include a provision in your list rental contract stating that list providers must obtain
    consumer permission or give notice and opt out to consumers?
•   If you rent your customer lists to other marketers, do you first ascertain
    how the lists will be used, to make sure they are not used for promotions that may violate any of
    the Guidelines for Ethical Business Practice?

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•       Do you know the policies of major destination Internet Service Providers concerning the
        sending of e-mails?




                                              Best Practices:
    •     Include a link to your privacy statement at the point of collection of an
          e-mail address, as well as each subsequent e-mail, for easy access to
          your notice.
    •     At the point of collecting consumers' e-mail addresses (either online or
          offline), provide consumers with a clear and conspicuous way to find out
          how the marketer will use their e-mail address.
    •     Ask consumers whether they want to receive solicitations by providing an
          unchecked box for them to check their preferences.
    •     Send an e-mail acknowledging that you are in receipt of their
          agreement to receive e-mails from you and/or from third party
          marketers.
    •     Include some reference within the first e-mail message to remind
          customers how you obtained their e-mail address, what they signed up
          for, and why they are receiving the e-mail. When using a third party list,
          the source should be identified in your solicitation to remind the
          consumer of where the permission was granted.
    •     One way to be reasonably reassured as to whether permission was
          granted, or opt-out notice was given, to a list provider is to include a
          provision in your list rental contract that states the obligation of the list
          provider to obtain consumer permission or give notice and opt out.
    •     Test the mechanism third-party list providers used to obtain a list before
          using their list to make sure that consumers receive adequate notice and
          the opportunity to opt out. Test where and how e-mail addresses are
          collected to be sure that your intended list use is consistent with how it
          was advertised and that it abides by these online guidelines.
    •     Familiarize yourself with the e-mail policies of the top Internet Service
          providers before sending e-mails to their subscribers.
    •     Familiarize yourself with the e-mail policies of the top Internet Service
          Providers before sending e-mails to their subscribers.


Within each e-mail solicitation, marketers should furnish individuals with a
notice and an Internet-based mechanism they can use to:
¾ request that the marketer not send them future e-mail solicitations, and
¾ request that the marketer not rent, sell, or exchange their e-mail addresses
   for online solicitation purposes.

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If individuals request that their names be removed from the marketer’s in-
house online suppression list, then the marketer may not rent, sell or exchange
their e-mail addresses with third parties for solicitation purposes.

The above requests should be honored within ten business days, and the
marketer’s opt-out mechanism should be active for at least 30 days from the
date of the e-mail solicitation.
Comment:
•   This part of the guideline states that every commercial e-mail you send should allow consumers
    to tell you that they want you to stop sending such e-mails, and that their names should not be
    included on lists you transfer to other marketers.
•   Specific instructions on how to opt out do not need to be included in the e-mail itself, though
    they could be. An example of unsubscribe language would be: "To unsubscribe from this e-mail
    list, reply to this e-mail with unsubscribe in the subject line."
•   A link to a suppress mechanism with instructions as to how to opt out also fulfills this
    requirement. The link should say something to the effect of: "Click here for unsubscribe
    options." Note that simply providing a link marked "Privacy Policy" does not make clear to
    consumers how they can opt out of receiving future e-mails from your company.
•   Any consumer requests for suppression should be honored, and action should be taken
    expeditiously. Consumers would reasonably expect that, in the online medium, you would be
    able to act on their requests quickly. The CAN-SPAM law requires that opt-out requests be
    honored within ten business days, and that the opt-out mechanism be active for at least 30 days
    from the date of the solicitation. (This and other relevant Guidelines were amended to reflect
    specific requirements of CAN-SPAM.)

Questions to Ask:
•   Do all of your e-mail solicitations include a notice of how the recipient can request not to
    receive future e-mails from your company? Do the e-mails include notice of how the recipient
    can opt out of having his or her e-mail address transferred to other marketers?
•   If your e-mails include a link to a suppress mechanism on your Web site, is the description of
    the link clear?
•   Do you have in place a system for removing, as requested, individuals' e-mail addresses? Do you
    let individuals know their requests have been taken care of?
•   Are you operating in accordance with CAN-SPAM?




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                                                 Best Practice:

•       To ensure that an e-mail address can be accurately matched and suppressed,
        a marketer should include the consumer's e-mail address in the unsubscribe
        instructions. For example, "You are currently subscribed as name@domain.com.
        Please reply with "unsubscribe" in the subject line if you no longer wish to
        receive your weekly updates."
•       Provide a clear and easy method for consumers to opt out -- for example, a link
        to a one click away unsubscribe mechanism for your e-mails.
•       Unsubscribe requests should be processed automatically and promptly, upon
        receipt. (Where a system is not in place for automatic suppression, a
        reasonable time frame -- which is required by law -- is to suppress the e-mail
        address within 10 business days.)



    Only those marketers that rent, sell, or exchange information need to provide
    notice of a mechanism to opt out of information transfer to third-party
    marketers.

    Comment:
    •    Consumer notice of information exchange with third parties is not applicable in situations where
         you do not exchange or transfer information to other marketers.

    Questions to Ask:
    •    If you transfer information to other marketers, do you provide notice and the opportunity to opt
         out to individuals on your list?
    •    Do you honor any opt-out requests within 10 business days, as required?
    •    Do you honor such opt-out requests permanently, per the CAN-SPAM Act?

    Marketers should process commercial e-mail lists obtained from third parties
    using DMA’s e-Mail Preference Service suppression file. E-MPS need not be
    used on one's own customer lists, or when individuals have given affirmative
    consent to the marketer directly.

    Comment:
    •    Following the same principle as with the Mail Preference Service, marketers must remove
         individual names before prospecting, according to the wishes of individuals who register for
         DMA's name-removal services.
    •    You do not need to remove your own customers who may be on e-MPS because you have a
         business relationship with them. Similarly, individuals who have checked opt-in boxes or
         otherwise gave permission to receive commercial e-mail can be contacted. (Although it is not
         required when the lists you use are permission-based, using e-MPS can provide an extra level of
         privacy protection for those consumers who are especially concerned about privacy.)
    •    Even if someone is given an opportunity to opt out of e-mail address sharing originally, any
         marketer who rents the e-mail address for prospecting should use e-MPS for suppression.
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•   Service providers that are DMA members are required to take steps to comply with these
    guidelines, including endorsing use of DMA's e-MPS file and documenting efforts to encourage
    their clients to comply.
•   Subscriber information for e-MPS is available (in downloadable form) at
    www.preference.the-dma.org/products/empssubscription.


                                          Best Practice:

You should use and/or inform all DMA member clients that they should use e-
MPS when processing third party e-mail lists, and require all non-member clients
who refuse to use e-MPS in connection with third party e-mail lists to sign an
appropriate waiver acknowledging their refusal to use e-MPS as requested.




Solicitations sent via e-mail should disclose the marketer's identity and street
address. The subject and “from” lines should be clear, honest, and not
misleading, and the subject line should reflect the actual content of the
message so that recipients understand that the e-mail is an advertisement. The
header information should be accurate. A marketer should also provide
specific contact information at which the individual can obtain service or
information.

Comment:
•   Individuals should be able to easily understand who sent the e-mail they received. The subject
    line should not claim "your personal account information attached" if that is not the case or is
    not the primary purpose of the e-mail, for example, because such a heading has the potential to
    mislead. Likewise, a subject line should not state "Open this for your free gift" unless there is an
    attachment with a certificate for merchandise or service that can be obtained without conditions
    to the consumer.
•   The use of invalid, forged, or fraudulent information used to direct messages (e.g., making it
    appear as though the e-mail were from a different entity), use of invalid or non-existent domain
    names, or any other means of deceptive addressing is not appropriate or acceptable, and is
    illegal. Legitimate marketers do not use techniques meant to obscure the source of the e-mail.
•   If you use an agent to deliver your e-mail campaigns on your behalf, it is not considered
    fraudulent to publish the marketer's name in the "from" line.
•   It should always be possible to send a reply to an e-mail, and the full e-mail headers should
    accurately identify the sender of the e-mail as specified in standard mail transfer protocol
    ("SMTP").
•   This guideline does not mean that the e-mail or its subject heading must include "ADV" or "this
    is an advertisement" or similar terminology (unless such language is required by the laws of the
    states into which you are sending e-mail). However, it should be understood by the recipient
    that the e-mail is an advertisement.
•   Consumer confidence is greatly enhanced if the e-mail includes specific contact information for
    your company. Your company's physical street address should be included in the e-mail.

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•   To assist e-mail marketers who wish to improve their response rates and best practices
    education, DMA has developed seminars, white papers, research, and regular educational
    opportunities. To find out more, refer to www.the-dma.org .

Questions to Ask:
•   Do consumers reasonably understand that the e-mail is a sales message?
•   Are consumers able to easily see that the e-mail is from your company? Is your company's
    physical street address on the e-mail itself?
•   Does the e-mail include specific contact information so that the recipient can obtain information
    or service?
•   Is the e-mail straight-forward in its message and unlikely to be misconstrued?
•   Does the subject line reflect the actual content of the e-mail's message?
•   Have legal counsel reviewed your e-mail for compliance with the CAN-SPAM law?




                                            Best Practice:

Certain types of e-mail including fraudulent and deceptive marketing
messages are regulated by the Federal Trade Commission (and some states)
and marketers who violate these laws can be held accountable and fined
accordingly. Marketers should help fight fraud by reporting what they believe
to be deceptive e-mail solicitations to the Federal Trade Commission at
spam@uce.gov.


E-MAIL AUTHENTICATION

Article #40
Marketers that use e-mail for communication and transaction purposes should adopt
and use identification and authentication protocols.

Comments and Questions/Answers:
    •   DMA’s Board of Directors approved this guideline in October 2005, with this member
        requirement taking effect February 1, 2006. The following explains what authentication is,
        and what DMA members should do to implement the guideline within their companies.
    •   Authentication improves the likelihood that legitimate e-mail will get through to the
        intended recipient. Additionally authentication reduces the likelihood of spam, spoofing and
        phishing attacks, thus protecting the integrity of marketers’ brands. It is seen as one way of
        making the electronic marketplace more secure and improving consumer confidence in e-
        mail, thus preserving it as a valuable marketing communications tool.
    •   DMA’s guideline requires marketers to choose and implement authentication technology
        into their e-mail systems. It is up to your company to decide what kind of authentication
        protocol to use. DMA does not require the use of any specific protocol, as there are several
        interoperable, inexpensive, and easy to implement solutions available on the market today.
    •   The guideline applies only to outbound e-mail that marketers send either from their own IP
        addresses or via the use of a service bureau. (It does not cover inbound e-mails.)
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    •    The guideline applies to ALL outbound messages that marketers send or that their service
         bureaus send on their behalf (including transaction-related messages).
    •    DMA believes that the same care in e-mail deliverability for consumer promotions should be
         used for business-to-business campaigns.
    •    Nonprofit organizations, as well as for-profit businesses, should authenticate the e-mail
         messages they send.

E-Mail Authentication Technology Basics FAQs
Q: What is an E-mail Service Provider (ESP)?
A: An E-mail Service Provider is an entity that sends e-mail on behalf of a marketer.

Q: What is an Internet Service Provider (ISP)?
A: An Internet Service Provider is a service provider that provides access to the Internet and/or an
e-mail account.

Q: What is the Difference Between IP-Based Authentication and Cryptographic
Authentication?
A: There are currently two major types of interoperable e-mail authentication systems: IP-based
solutions like Sender Policy Framework (SPF) and Sender ID Framework (SIDF), and cryptographic
solutions like DomainKeys Identified Mail (DKIM). The goal of each is the same, which is to create
a public record against which to validate e-mail messages so that the legitimacy of senders can be
verified. Both technologies work to verify that the sender is authorized to send mail from a
particular IP address. Authentication makes it difficult to forge IP addresses or the cryptographic
signatures utilized by e-mail authentication systems.

A fundamental difference between IP-based and cryptographic authentication solutions is that
cryptographic technology protects the integrity of the e-mail contents, while IP-based technology
verifies or proves that the sender is authorized by the domain owner to send the mail.

Q: What is the Domain Name System (DNS)?
A: The Domain Name System (DNS) is an Internet directory service. DNS is where companies
publish which IP addresses are allowed to send e-mail on their behalf.

Implementation FAQs: Three Complementary Types of E-Mail Authentication
Systems: SPF, SIDF and DKIM
Sender Policy Framework (SPF)

Q: What is Sender Policy Framework (SPF) and How Does It Work?
A: SPF is an IP-based technology that verifies the sender IP address by cross-checking the domain
in the e-mail address listed in the visible “Mail From” line of an e-mail against the published record a
sender has registered in the Domain Name System (DNS). SPF technology is free to all users. An
SPF record is a list of computer servers or IP addresses that senders indicate are “authorized” to
send e-mail that claims to be coming from their domain. When you publish an SPF record for your
domain, you declare which IP addresses are authorized to send out e-mail on your behalf.

SPF allows senders/marketers effectively to say, “I only send mail from these machines (IP
addresses/servers). If any other machine claims that I'm sending mail from there, they are
not telling the truth.”
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Q: How Do I Implement Sender Policy Framework (SPF)?
A: 1. Audit and make a list of all IP addresses that send e-mail on your behalf. Talk to your IT staff
and any E-mail Service Providers you work with.

2. Create your SPF record:
        Use this SPF Setup Wizard to publish which IP addresses and servers you use to
        send e-mail messages: http://www.openspf.org/wizard.html.

3. Publish your SPF record in DNS.

4. Verify that your SPF record is published and working:
        a. Use the tool at: www.dnsstuff.com.
        b. Copy all the information after the “@” sign in the “From” line of the
        domain you wish to verify (e.g., @yourcompany.com).
        c. Paste this information into the look-up field on the far right column (DNS
        Lookup).
        d. Select the “TXT” option from the drop down box directly next to where you
        just pasted your domain information.
        e. Select “Lookup.”
        f. Under the “Answer” box you should see "v=spf…” This verifies that your
        record is SPF compliant.

Sender ID Framework (SIDF)
Q: What is Sender ID Framework (SIDF)?
A: Sender ID is basically “Caller ID for e-mail.” SIDF, created by Microsoft, is very similar to SPF.
Whereas SPF verifies the visible “Mail From” line of the e-mail, SIDF authenticates either the “Mail
From” line or the non-visible “From” line of the e-mail header.

Using the U.S. Postal Service as an analogy, SIDF is akin to verifying the authenticity of both
the outer envelope and the letterhead on the document inside the envelope.

Q: How Does Sender ID Framework (SIDF) Work?
A: 1. Sender sends an e-mail to Receiver.

2. Receiver’s inbound e-mail server receives the e-mail and calls its Sender ID Framework.

3. Sender ID Framework looks up the Sender ID or SPF record of the domain that Sender is using
in the Domain Name System (DNS).

4. The recipient’s ISP determines whether the outbound Mail Server IP address matches any listed
IP address authorized to send mail for the user.

Q: How Do I Implement Sender ID Framework (SIDF)?
A: 1. Audit and make a list of all IP addresses that send e-mail on your behalf. Talk to your IT staff
and any E-mail Service Providers you work with.

2. Use this four-step wizard:
        Go to:
http://www.microsoft.com/mscorp/safety/content/technologies/senderid/
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        wizard/

3. Verify that your SIDF record is published and working:
        Port25 Solutions has created an automated testing tool to verify Sender ID
        implementation. To use the tool, send an e-mail message from the sending
        environment you wish to verify to check-auth@verifier.port25.com. (Leave the
        “Subject Line” and the body of the message entirely blank.) In return, you will receive a reply
        containing an analysis of the authentication status of the message
        you sent.

DomainKeys Identified Mail (DKIM)
Q: What is DomainKeys Identified Mail (DKIM) and How Does it Work?
A: DomainKeys Identified Mail is a cryptographic, signature-based type of e-mail authentication.
DKIM is a combination of Yahoo’s DomainKeys (DK) and Cisco’s Identified Internet Mail (IIM).
DKIM is offered to all users free of charge.

DKIM is available at http://domainkeys.sf.net. DKIM requires more computing resources
than IP based technologies. DKIM requires e-mail senders’ computers to generate “public/private
key pairs” and then publish the public keys into their Domain Name System (DNS) records. The
matching private keys are stored in a sender’s outbound e-mail servers, and when those servers send
out e-mail, the private keys generate message-specific “signatures” that are added into additional,
embedded e-mail headers.

ISPs that authenticate using DKIM look up the public key in DNS and then can verify that the
signature was generated by the matching private key. This ensures that an authorized sender actually
sent the message, and that the message headers and content were not altered in any way during their
trip from the original sender to the recipient.

The DKIM authentication process involves checking the integrity of the message using the public
key included in the e-mail signature header, in addition to verifying whether the public key used to
sign the message is authorized for use with the sender’s e-mail address. This step currently involves
utilizing the DNS record of the sending domain. The authorization records in the DNS contain
information about the binding between a specific key and e-mail address.

In the U.S. Postal Service analogy DKIM is like verifying a unique signature, which is valid
regardless of the envelope or letterhead it was written on.

Q: How Does E-Mail Authentication Reduce and Protect Against Spam?
A: Spam causes problems for both consumers and marketers. The spam problem is not going away,
and spammers quickly adapt to filters set up by Internet and Mailbox Providers thus blurring the
perception in consumers’ minds of which commercial e-mail is legitimate and which is spam.
Authenticated e-mail will help ISPs and Mailbox Providers better identify legitimate e-mail.
Spammers will then be distinguished from senders of legitimate e-mail and reliably deliver wanted
mail to consumers with higher certainty, and at a lower cost.

Example:

Using SPF technology, suppose a spammer forges an ABC.com address and tries to spam you. The spammer connects
from somewhere other than ABC’s e-mail servers. When the message is sent, you see “Mail From: <e-
mailcustsvc@ABC.com>".

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ABC publishes an SPF record. That record tells your ISP or Mailbox Provider how to find out if the sending machine is
allowed to send mail from ABC. If ABC says they recognize the sending machine, it passes, and your ISP or Mailbox
Provider can assume the sender is who it says it is.

Authentication combined with e-mail reputation and accreditation programs will ultimately help e-
mail receivers distinguish legitimate messages from spam.
Q: How Does E-mail Authentication Help to Reduce and Protect Against Spoofing and
Phishing?
A: Spoofing, a method often used by spammers, is the forging of another person’s or company's e-
mail address to get users to open a message. Phishing is sending an e-mail that attempts to trick
recipients into giving out personal information, such as credit card numbers or account passwords.
The e-mail pretends to be from a legitimate source, such as a user’s bank, credit card company, or
online Web merchant. Most phishing attacks come from e-mail in which the sender’s name in the
“From Line” has been forged or spoofed.

Authentication is predicted to cause a significant reduction in spoofing and phishing attacks because
those particular elements of e-mail fraud are identity-based. Therefore, identity authentication will
either stop phishing and spoofing, make it easier for consumers to steer clear of them, or make it
easier for law enforcement to go after them.

For well-known companies that commonly send e-mail to consumers, such as banks, utilities,
remote retailers, and e-commerce services, the benefits of authentication are more profound, as
authentication can help them protect their users from phishing attacks. For these companies,
protecting their users from fraudulent e-mails translates directly into user protection, user
satisfaction, reduced customer care costs, and brand protection and trust.

Example:

Implementing DomainKeys Identified Mail (DKIM) can protect companies that are susceptible to
phishing and spoofing attacks. Companies can sign all of their outgoing e-mails with DKIM and
publish their policies so that ISPs can watch and block any messages that claim to come from their
domains that are unsigned.

If the company ‘www.example.com’ signs all of its outgoing e-mail with DomainKeys, Yahoo! can
add a filter to its spam protection system that blocks any unsigned or improperly signed messages
claiming to come from the domain www.example.com, thus protecting tens of millions of
example.com's customers (or prospective customers) from these phishing and spoofing attacks.
DKIM also examines the integrity of the message body.

Beyond Authentication FAQs: E-mail Reputation and Accreditation
Authentication, accreditation and reputation are fundamentally linked. Implementing authentication
without at least one of the other solutions would be unproductive, as each one contributes to the
ultimate success of the others. Authentication compliance alone is not sufficient for Internet Service
Providers (ISPs) to make deliver/non-deliver decisions. Authentication verifies authorization to
send, but it doesn’t tell mailbox providers anything about whether the authorized sender is legitimate
or a spammer. This is where solutions like reputation, accreditation and/or white listing come into
play.



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Q: What is a Company’s E-Mail Reputation?
A: E-mail Reputation is a way for ISPs to combine the sender’s identity with additional information
about the sender’s practices. Reputation is based on numerous factors: complaint rates, identity
stability, unknown user volume, security practices, unsubscribe policies, and more. Most of these
factors can be measured, quantified and weighted by Internet Service Providers (ISPs) and E-mail
Service Providers (ESPs).

Q: What Metrics Should I Monitor to Ensure That My E-mail Reputation is Good?
A: There are a few simple steps marketers can take to ensure that their E-mail Reputation remains
in good standing with ISPs.

        1. Good List Hygiene: Sending e-mail to too many addresses that don’t exist isn’t only a
           trait of spammers—it is a trait of any entity that is considered to have poor marketing
           practices and is sending spam. ISPs acknowledge that there is a lot of churn in terms of
           consumers changing e-mail addresses, and because of that they do allow for some
           margin of error. However, it is generally accepted that marketers should aim to keep
           “invalid” addresses at less than 10% of each mailing. Of course, reducing these types of
           errors isn’t just good for deliverability, but for Return on Investment (ROI) as well.

        2. Sound E-Mail Sending Infrastructure: A common trait of spamming is to redirect e-
           mail bounces and replies to spoofed, non-functional or non-existent return addresses.
           Therefore, to differentiate themselves, legitimate senders are expected to be capable of
           receiving the volume of bounces that typically accompanies any high volume e-mail
           campaign. Most ISPs require that e-mail senders are capable of receiving at least 90% of
           messages that are bounced back to them when they attempt to e-mail to an invalid or
           unknown addresses. When an e-mail sender does not accept the bounce back error
           replies it is considered suspicious behavior and the sender may be identified as a
           spammer. If an ISP becomes suspicious of an e-mail sender it may ask high volume e-
           mail senders to adjust the number of simultaneous connections to their networks. Or it
           may institute mail volume throttling (spreading out the number of e-mails sent over a
           long period of time).

        3. High Relevance/Low Complaint Rate: Having good list hygiene and sound delivery
           infrastructure are the foundation to having a good reputation—but keeping complaint
           rates low is where a company can significantly improve or damage its reputation. The
           key to having a low complaint rate is making sure that your e-mail is relevant and delivers
           value to the recipient. In general, ISPs believe there should be little to no reason for a
           consumer to complain about legitimate e-mail. Marketers should aim to keep their
           complaint rate below 0.1 percent. The complaint rate is calculated by dividing the total
           number of complaints by the total number of delivered e-mails in a specific mailing. A
           mere two or three complaints out of a thousand e-mails delivered could result in short-
           term blocking by ISPs that employ reputation systems, and severe long-term blocking if
           the sender does not bring the complaint rate under control.

Q: What is Accreditation?
A: For companies who have authenticated their e-mail systems, and have established good e-mail
reputations, accreditation is the next key to reaching the inbox. Accreditation systems analyze a
company’s e-mail program against a strict set of best practice guidelines, and if a program is
accepted, e-mail sent by the company is exposed to less filtering by e-mail receivers. While there is
no way to guarantee e-mail delivery, accreditation is the closest to a guarantee there is that receivers
will accept an e-mail message.
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Q: What is a Whitelist?
A: A whitelist is a list or process that some ISPs use to allow e-mail marketers to send e-mails to
their networks without being subjected to certain (potentially stricter) levels of anti-spam filtering,
for example volume filters. E-mail marketers can apply on ISPs Web sites to be added to existing
whitelists.

Q: What is Enhanced Whitelisting?
A: AOL officially introduced the industry’s first accreditation and reputation-based solution, the
enhanced whitelisting program, more than a year ago. Similar whitelisting, accreditation and
reputation-based systems are now in place at virtually all of the major ISPs (e.g., Yahoo, Earthlink,
and MSN Hotmail) and enterprise spam filtering companies (e.g., CipherTrust and Symantec
Brightmail). Enhanced whitelists provide senders with deliverability benefits including bypassing
certain levels of filtering, inbox placement, and guaranteed full image and link rendering/display.

Senders who wish to be placed on enhanced whitelists must submit a certification application (form
of accreditation) beforehand in which they attest that they meet and abide by the ISPs requirements.
The agreement relates to, but is not limited to, CAN-SPAM compliance, list hygiene, e-mail
deployment infrastructure capabilities, and bounced e-mail acceptance. After a sender has submitted
an application the ISP will track and make assessments of the senders reputation based on observed
marketing behavior and complaint rates against the sender’s IP addresses.

Q: What is the Difference Between Pass, Fail and Softfail of an E-Mail Message?
A: If a message passes an ISPs authentication check it means the e-mail meets the standards for a
ISPs definition of a legitimate message and is delivered to the recipient’s inbox. If a message fails an
authentication check it did not meet the standards for an ISP’s definition of a legitimate message and
will not be delivered to the intended recipient’s inbox. It will either directed to the recipient’s
spam/junk folder, or the message may be blocked. A softfail is a message that is a “probable fail”
according to the ISP’s standards; A softfail message usually comes from a sender or IP address that
is not listed on the ISP’s list of authenticated senders but is not an outright failed message.

Q: What Are Feedback Loops?
A: Feedback loops are a system where some ISPs share spam complaints with whitelisted senders in
order to unsubscribe complainants from their lists. Feedback loops are essential for marketers to
identify and resolve high complaint e-mail campaigns and messaging streams emanating from their
IP address/computer networks.

                 Best Practices for Implementing E-Mail Authentication Protocols
    •    Assign an individual or group at your company to be responsible for
         working with other relevant departments and vendors to implement e-mail
         authentication.
    •    Authenticate using more than one technology. SPF, SIDF and DKIM are interoperable free
         technologies that have different deliverability success rates with different ISPs. For best
         results, authenticate your e-mail systems with one or more technologies.
    •    Know your customers and where you are mailing.
    •    Follow developments in the field, including technological white papers
         and industry or government-sponsored workshops.
    •    Research the major protocols to determine the best solution(s) for your
         Company.
    •    Develop a policy for assigning domain and sub-domain names.
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   •    Develop a way to measure the impact of e-mail authentication, in terms
        of higher deliverability to those you wish to reach.
   •    Research ways to authenticate incoming e-mail to your company.


There are many resources available on E-Mail Authentication. See DMA’s E-Commerce
Integrity Resource Center: www.dmaresponsibility.org/Ecommerceintegrity for more
information.

USE OF SOFTWARE OR OTHER SIMILAR TECHNOLOGY
INSTALLED ON A COMPUTER OR SIMILAR DEVICE
Article #41
Marketers should not install, have installed, or use, software or other similar
technology on a computer or similar device that initiates deceptive practices or
interferes with a user’s expectation of the functionality of the computer and its
programs. Such practices include, but are not limited to, software or other similar
technology that:

• Takes control of a computer (e.g., relaying spam and viruses, modem hijacking,
  denial of service attacks, or endless loop pop-up advertisements)
• Deceptively modifies or deceptively disables security or browser settings or
• Prevents the user’s efforts to disable or uninstall the software or other similar
  technology

Anyone that offers software or other similar technology that is installed on a
computer or similar device for marketing purposes should:

• Give the computer user clear and conspicuous notice and choice at the point of
  joining a service or before the software or other similar technology begins
  operating on the user’s computer, including notice of significant effects* of having
  the software or other similar technology installed
• Give the user an easy means to uninstall the software or other similar technology
  and/or disable all functionality
• Give an easily accessible link to your privacy policy and
• Give clear identification of the software or other similar technology’s name and
  company information, and the ability for the user to contact that company

*Determination of whether there are significant effects includes, for example:
 • Whether pop-up advertisements appear that are unexpected by the consumer
 • Whether there are changes to the computer’s home page or tool bar


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• Whether there are any changes to settings in security software, such as a firewall,
  to permit the software to communicate with the marketer or the company
  deploying the software, or
• Whether there are any other operational results that would inhibit the user’s
  expected functionality

Cookies or other passive means of data collection, including Web beacons, are not
governed by this Guideline. Article #38 provides guidance regarding cookies and
other passive means of data collection.

Comment:
   •    DMA’s Board of Directors approved this guideline (in January 2006) in order to assist
        members in defining minimally acceptable marketing practices in the area of software
        installation practices. (The Board also approved a six-month phase-in period to allow for any
        programming changes companies may need to make for implementation.)
   •    Software by itself is neutral, and the use of software and other similar technology to assist
        consumers is beneficial. This guideline supports DMA’s vigorous opposition to the
        fraudulent, deceptive or unscrupulous use of software or other similar technology to harm
        the interests of consumers. The guideline’s focus, therefore, is to prohibit practices that are
        deceptive. (Not all possible deceptive practices are listed, as new ones will, unfortunately, be
        implemented by unscrupulous operators in the future.) Controlling a user’s computer and
        preventing users from uninstalling unwanted software are examples of deceptive or harmful
        practices.
   •    The guideline does not use terminology such as “spyware” or “adware.” It was decided that
        the terminology used should be neutral and broad (e.g., “software and other similar
        technology”) because of the continuous evolution of online technology. (“Spyware” or
        “malware” generally refer to software that has negative consequences for computer users,
        while “adware” generally refers to software that places legitimate advertisements.)
   •    Federal and state legislators are extremely concerned about the negative consequences of
        “spyware,” or applications that harm users’ computers in various ways, and have introduced
        numerous legislative bills. DMA ethics guidelines are meant to get “ahead of the regulatory
        curve” by demonstrating effective self-regulation.
   •    The guideline refers to “software or other similar technology installed on a computer or
        similar device” because it is meant to encompass such things as PDAs and MP3 players, etc.
        (and future similar inventions) as well as computers.
   •    The guideline does not include “cookies,” “Web beacons,” or other such passive means of
        data collection. Rather, it focuses on the effects of software that is installed on computers.
   •    By stating: “Anyone that offers software or other similar technology that is installed on a
        computer…,” the guideline is conveying that there is broad responsibility for who is
        responsible for the software offer. Responsibility belongs to both the marketer and the
        service entity it may employ.
   •    The standard of giving computer users “notice and choice” before the software begins
        operating (or at the point of joining a service) is the DMA guideline. However, marketers
        can go beyond the basic standard if they choose, for instance, by getting users’ affirmative
        consent beforehand.
   •    Marketers should not be held responsible for inactive software that may inadvertently remain
        on a user’s computer. The guideline reads: “Give the computer user an easy means to install

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        the software or other similar technology and/or disable all functionality” because it is
        difficult to assure that each and every component of an installation can be completely
        removed. In addition, some effects of software installation, including changes to registry
        settings (i.e., configuration files within Windows) may go unnoticed.
   •    Reference to the “significant effects” of having software installed is not meant to be all-
        inclusive because new applications are always emerging.
   •    It is essential that marketers make sure they provide an easily accessible link to their privacy
        policy so that computer users can review what information may be collected as a result of
        the software installation, and how it may be used. Such transparency serves to encourage
        consumer trust in your company.

Questions to Ask:
   •    Have you assessed whether any programming changes are needed for implementation of the
        guideline, and made such changes?
   •    Have you reviewed your online privacy policy to make sure it appropriately covers significant
        effects, as outlined, of software installations?
   •    Is notice and choice provided to computer users easy to find, easy to read, easy to
        understand and easy to act upon?
   •    Have you been sure to identify the software being installed, as well as your company name
        and information, in case the computer user wants to contact you?
   •    Have you given users an easy means to uninstall and disable the computer software?




                                           Best Practices:

   •    Marketers should get users’ affirmative consent before computer software
        is installed and/or begins operating.
   •    Marketers should help users in not only uninstalling software, but making
        sure users’ computers are returned to their original settings (prior to
        software having been installed).


ONLINE REFERRAL MARKETING

Article #42
Online referral marketing is a technique marketers use to get new marketing
leads. Typically, the online marketer:

   1. encourages an individual to forward a marketing piece on to another
      individual (personally identifiable information is not collected), or
   2. asks an individual to provide the marketer with personally identifiable
      information about another individual so the marketer may contact that
      person directly.


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This guideline relates only to the second type of online referral marketing
above, where personal information about a prospect is given to the marketer.

A marketer should not use personally identifiable information about a prospect
provided online by another individual unless:

• the marketer has first clearly disclosed to the referring individual the
  intended uses of the information;
• the marketer has disclosed to the referring individual that their own contact
  information will be provided to those they have referred to the marketer;
• the marketer discloses to the referred person the fact that their contact
  information was obtained from another individual. The marketer should
  make the referring person's information available in the first e-mail
  communication to the prospect. Or, the marketer can tell the prospect how
  to get the referring person's contact information at no cost; and
• the marketer provides, in the first and any subsequent e-mail
  communications, the ability to remove the referred person's name from
  future contact.

Marketers should not contact referred individuals who are on their in-house e-
mail suppression lists, and should not sell, rent, share, transfer or exchange a
referred e-mail address unless they receive prior permission from the referred
person to do so.

Comment:
•   DMA developed this guideline to promote ethical standards for "viral" marketing, which has a
    negative connotation, and to provide assistance to members needing guidance in the online
    medium. "Friend Get a Friend" promotions in the print medium have been in existence for
    years and have proven to be beneficial for both consumers and marketers. Online referral
    marketing also can be beneficial: consumers who receive marketing messages that resulted from
    friends or colleagues passing their names on to your company may be much more receptive and
    trusting.
•   Much of online referral marketing is in the form of forwarding e-mail or Web site news articles
    on to others. This guideline, as noted, applies only in situations where a consumer's personal
    information is forwarded to the marketer, who then contacts the consumer.
•   The guideline states that you should make the referring individual's name and contact
    information available in the first e-mail communication to the referred person, or that your first
    e-mail should inform the referred person how to get the referring individual's contact
    information.
•   Each e-mail communication you send to the referred consumer should contain an opt-out
    option to allow the person not to receive further e-mails from your company.
•   Although the guidelines do not address how frequently a marketer may e-mail a referred
    consumer who has not opted out, you risk annoying consumers by continuing e-mail
    communications in the absence of any positive response to your message. In the spirit of
    keeping your e-mail list clean and responsive, you may want to consider asking non-responsive

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    referred consumers for permission to continue contacting them. Some marketers delete the
    referred person's contact information after the referral e-mail is delivered. Any referred person
    who responds is, of course, a new customer whose contact information is again captured.
•   Permission from the referred consumer does not need to be granted in advance of sending your
    initial e-mail communication, as noted. However, you cannot contact the consumer if the
    consumer is on your in-house suppression list. Further, you cannot transfer the consumer's
    information to any other marketer without the consumer's permission to take such action.
    "Permission" means the consumer affirmatively is notified and says "yes."
•   The obligation to receive permission before transferring a consumer's referred e-mail address to
    another marketer stems from the fact that the referring individual provided the information only
    to you, not to other marketers. It would be a violation of the referring individual's intent and
    trust if the referred friend's e-mail address was provided to unknown marketers, resulting in
    additional and unwanted e-mail communications.

Questions to Ask:
•   Do you disclose how information about referred persons will be used? And, do you let referred
    persons know who referred them, or at a minimum, make that information available in your first
    message at no cost?
•   Do you offer the opportunity to opt out in the first e-mail? Is opt out available in any
    subsequent e-mail communications?
•   Do you obtain the referred person's prior permission before transferring their e-mail address on
    to another marketer?


                                         Best Practice:

Marketers should personalize the referral and communicate in the subject
line why the consumer is being contacted, for instance, "Your friend, Adam
Abel, thought you'd be interested in our electronic equipment.”




E-MAIL APPENDING TO CONSUMER RECORDS
Article #43
Definition of e-mail address appending: E-mail address appending is the
process of adding a consumer's e-mail address to that consumer's record. The
e-mail address is obtained by matching those records from the marketer's
database against a third-party database to produce a corresponding e-mail
address.

A marketer should append a consumer's e-mail address to its database only
when the consumer gives a marketer permission to add his or her e-mail
address to the marketer's database; or


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    1. There is an established business relationship with that consumer either
       online or offline; and
    2. The data used in the append process are from sources that provided
       notice and choice regarding the acceptance of receiving third-party e-
       mail offers and where the consumer did not opt out; and
    3. Reasonable efforts are taken to ensure the appending of accurate e-mail
       addresses to the corresponding consumer records.

Marketers should not send e-mails to appended e-mail addresses that are on
their in-house e-mail suppression files. A marketer should not sell, rent,
transfer or exchange an appended e-mail address of a consumer unless it first
offers notice and choice to the consumer.

All messages to an e-mail appended address should include a notice and
choice to continue to communicate via e-mail.

Marketers should have in place appropriate record keeping systems to ensure
compliance with these guidelines.

Comment:
•   This guideline was written in response to questions received from DMA members and the press
    concerning the association's position on e-mail append. It is an expansion of DMA’s previous
    commentary that e-mail appending was permissible for obtaining an existing customer’s e-mail
    address.
•   Some consumers may reasonably assume that a customer relationship based on one medium, for
    instance, mail, should not extend to other media. DMA’s position, however, is that a customer is a
    customer regardless of the media – unless the consumer asks to be removed from a marketing
    channel.
•   Like DMA’s other online marketing guidelines, this guideline addresses only consumer e-mail
    addresses for appending, not business-to-business applications.
•   This guideline stresses that if the consumer did not give you permission to have his or her e-mail
    address added to your database, three other factors must be in place: 1) you have a relationship
    with the consumer already in some medium and 2) the source of the appended information gave
    the consumer notice and the chance to opt out of receiving third party offers, and 3) the
    addresses you are attempting to append are real – not “mathematically guessed” or fabricated.
•   The third-party databases do not need to be “opt-in” or permission-based sources, but they need
    to have offered notice and choice to consumers. Similarly, consumers must be given notice and
    the opportunity to opt out prior to the marketer transferring an appended e-mail address to
    other marketers. The purpose of these requirements is to avoid consumer annoyance or
    perceptions of intrusion by the receipt of e-mail offers from unknown third parties. Controlling
    the amount of perceived “spam” is increasingly vital because of the large volume of unsolicited
    commercial e-mail most consumers now receive.
•   Marketers do not specifically need to communicate with consumers before adding their
    appended e-mail addresses to their databases, although they could send an e-mail to the effect,

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    “Since you are a valued customer, we would like to provide special sales notices to you via e-
    mail. If you would prefer not to receive e-mail from us, please let us know.”
•   Likewise, a marketer could send a message prior to providing a customer’s e-mail address to
    another marketer, for example, “We received your e-mail address from another company you do
    business with. Before we send you offers we think you’ll be interested in, we wanted to give you
    a chance to object. If you do not want us to contact you by e-mail, please click here.”
•   If a consumer decides not to receive future messages from you, that also automatically means
    that you may not transfer the consumer’s name and e-mail address to another marketer.
•   When you send commercial e-mail to appended consumer names, the first, as well as all
    subsequent, e-mail communications must offer a notice and removal option.
•   Be sure to honor any removal requests within ten business days, as required by the CAN-SPAM
    federal law.
•   Marketers should apply all appropriate suppression files, including DMA’s E-mail Preference
    Service name-removal file for prospects who wish to reduce the amount of unsolicited
    commercial e-mail.
•   The guideline requires that the appending process use appropriate technologies and methods to
    ensure the accurate appending of e-mail addresses to the corresponding consumer’s record.
    Matching should be performed at the individual level (first name, surname, address) to ensure a
    high degree of accuracy. This is to avoid consumer receipt of random or erroneous e-mail
    communications.
•   You should be careful not to reach out excessively to consumers who have not been responsive.
    If a positive response is not captured within a reasonable amount of time, you may wish to
    consider suppressing that appended record.
•   You should be able to verify how e-mail appending is performed, and keep appropriate records
    in case you need to document your systems and procedures.


Questions to Ask:
•   Are your e-mail communications practices in line with the federal law, CAN-SPAM, keeping in
    mind that the law does not exempt e-mail to existing customers?
•   Do you use DMA’s E-mail Preference Service prior to contacting prospects whose e-mail
    addresses were obtained from a third party?
•   Does each e-mail you send to appended names contain notice and choice to allow removal?
•   Do you assure yourself that sources used for appending provided notice and choice to
    consumers?
•   Do you offer notice and choice to consumers whose e-mail addresses have been appended prior
    to transferring their e-mail addresses to other marketers?
•   Do you have a system in place for automatically removing consumers’ e-mail addresses upon
    request, and does that system remove addresses within ten business days, as required by federal
    law?
•   Do you use appropriate record-keeping practices to document e-mail appending, as well as
    maintain records securely?

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Telephone Marketing
Marketing by telephone became the subject of intense
scrutiny by federal and state government agencies, industry
critics and the media. Most aspects of telephone marketing
are now regulated, and marketers are referred to resources
that explain the relevant federal regulations in detail.
Specifically, telephone marketers and service entities working
on their behalf should consult DMA's website,
www.dmaresponsibility.org , for detailed information on
the revised Telemarketing Sales Rule, implemented by the
Federal Trade Commission (see also www.ftc.gov), and the
revised Telephone Consumer Protection Act, implemented
by the Federal Communications Commission (see also
www.fcc.gov).

Some articles in this section have been revised in order to be
consistent with amendments to the Telemarketing Sales Rule
and the Telephone Consumer Protection Act. Other articles
go beyond what is legally required in order to proactively
address problematic telemarketing practices. It is
recommended that industry members adhere to these
guidelines for consumer protection measures, as well as for
protection of their ability to market via this medium in the
future.
*Please note that DMA began to gradually phase out the Telephone Preference
Service (TPS), referenced throughout this section. New consumer registrations
for TPS are no longer being accepted. However, members must continue to
suppress prospective customers listed on TPS through December 31, 2011 (thus
honoring TPS registrant requests for five years). Additionally, TPS continues
to serve as the official registry for the states of PA and WY.




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REASONABLE HOURS
Article #44
Telephone contacts should be made during reasonable hours as specified by
federal and state laws and regulations.
Comment:
•   The Telephone Consumer Protection Act and the Telemarketing Sales Rule set the allowable
    calling hours from 8:00 am - 9:00 pm (the consumer's time). Days of the week are not restricted,
    but some consumers probably do not consider it to be reasonable to be called on a weekend. In
    fact, DMA's Teleservices Ethics Committee recommends that calls on the weekends should be
    limited as follows: Saturdays from 10:00 am - 9:00 pm and Sundays from 12:00 pm - 6:00 pm.
    (This is somewhat consistent with retail store hours.)
Questions to Ask:
•   Are your telephone calling systems set to compensate for various time zones and daylight
    savings/standard times so consumers are not called outside the appropriate and recommended
    times?
•   Are your service reps trained as to what the applicable rules and regulations are and how to
    comply with them?


TAPING OF CONVERSATIONS
Article #45
Taping of telephone conversations by telemarketers should only be conducted
with notice to or consent of all parties, or the use of a beeping device, as
required by applicable federal and state laws and regulations.

Comment:
•   This article means, for example, that your customer service representatives or a recorded
    message should inform consumers that their call may be taped. You could say, where
    appropriate, "The following call may be taped for quality assurance purposes, or to verify
    purchase authorization."
•   Monitoring employees through taping or listening in to a sample of calls is a positive action to
    take to help train employees, make sure your customers are well-served and applicable federal
    and state regulations are followed.
•   Employees need to be informed in advance of why and how you monitor their calls in the
    workplace and the results of any monitoring.
•   Refer to Article #12 - Advance Consent Marketing - for regulatory requirements to audio record
    telephone sales of advance consent marketing plans.

Questions to Ask:
•   Are your customer service reps trained to comply with the applicable laws?
•   Are procedures in place to give proper notice to consumers if taping will occur?
•   Do you follow up with your employees about the results of monitoring?
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RESTRICTED CONTACTS
Article #46
A marketer should not knowingly call or send a voice solicitation message to a
consumer who has an unlisted or unpublished telephone number except in
instances where the number was provided by the consumer to that marketer
for that purpose. A marketer should not call consumers who are on the
marketer’s in-house Do-Not-Call list. A marketer should not knowingly place
a call or send a voice or text message to a wireless telephone number for which
the called party must pay the charge, in either business-to-consumer or
business-to business marketing, except in instances where the number was
provided by the consumer or business to that marketer for that purpose. A
marketer should also use DMA’s Wireless Suppression Service or another
comprehensive wireless suppression service prior to calling or sending text
solicitation messages.


*A marketer should use DMA’s Telephone Preference Service as required in
Article #31 and must use the federal Do-Not-Call registry and state Do-Not-
Call lists when applicable prior to using any outbound calling list. Individuals
with whom the marketer has an established business relationship do not need
to be suppressed even if they are on the national registry. An established
business relationship is defined as those persons with whom the marketer has
had a transaction/received a payment within the last 18 months or those
persons who have inquired about the marketer’s products/services within the
last 3 months. (Note: State laws may vary. DMA’s Web site at: www.the-
dma.org/government/donotcalllists attempts to provide current
information on state Do-Not-Call lists.) Consumers who have given written
permission to the marketer do not need to be suppressed by any Do-Not-Call
list. Individuals can add or remove themselves from company-specific Do-Not-
Call lists either orally or in writing.
Marketers should not use randomly or sequentially generated numbers in sales
or marketing solicitations.

Comment:
•   The privacy of consumers with unlisted or unpublished numbers must be honored, especially
    since many consumers may have gotten unlisted numbers because they wanted to reduce the
    volume of unsolicited calls they were receiving.
•   This revised guideline acknowledges new technologies, such as wireless telephone services and
    the fact that voice and text messages can be made to wireless numbers. Most recipients pay to
    receive calls to their wireless devices and would not welcome unsolicited marketing calls or
    messages, which is why such contacts should only be made when recipients have provided their
    numbers to the marketer for that purpose. Along with the new technology have come wireless
    suppression services, which should be used as an extra check against calling wireless numbers.


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•   *Using DMA's Telephone Preference Service (TPS) has long been a requirement when
    prospecting. It is still important to use it (and should be used through November 2011, as noted
    earlier), along with federal and state government Do-Not-Call registries, because TPS includes
    charitable organizations and other numbers that do not have to be suppressed by law.
•   Although the guidelines are generally oriented toward consumer marketing, this article also states
    that businesses should not send other businesses unwanted voice or text messages.
•   Calling numbers randomly or sequentially runs the risk that consumers who have asked
    marketers not to call them will be contacted.

Questions to Ask:
•   Have steps been taken to remove unlisted, unpublished and wireless numbers from your calling
    lists, once those numbers have been identified?
•   Are you careful not to exchange or transfer unlisted, unpublished or wireless numbers to others?
•   Do you use the federal Do-Not-Call registry, any relevant state registry and *TPS before
    prospecting?
•   If applicable, do you use DMA's Wireless Suppression Service or another such service?
•   Do you maintain an in-house suppress service for consumers who request that your company
    not call them again?
•   Do you train your reps to recognize in-house suppression requests and process them?

CALLER-ID/AUTOMATIC NUMBER IDENTIFICATION
REQUIREMENTS
Article #47
Wherever the technology is available marketers should:
•      transmit a telephone number such as the telephone number of the seller,
       service bureau or customer service department that the consumer can
       call back during normal business hours to ask questions and/or to
       request not to receive future calls, and
•      transmit the name of the seller or service bureau.

Marketers should not block transmission of caller identification or transmit a
false name or telephone number.

Telephone marketers using automatic number identification (ANI) should not
rent, sell, transfer or exchange, without customer consent, telephone numbers
gained from ANI except where a prior business relationship exists for the sale
of directly related goods or services.

Comment:
•   Many consumers who have Caller ID have expressed frustration to DMA and to regulators
    about non-identification of callers' names and numbers. It is fair to let consumers know who is
    calling (as long as it is technically feasible) and to provide a number where consumers can get
    information or service from your company.
•   Blocking Caller ID purposefully or transmitting a false name are not fair practices.

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•   If you use ANI and plan to use the data received as a result, you need to first get consumer
    consent unless there is a prior business relationship (for related goods or services). Consent
    could be obtained, for instance, by asking consumers when they call your toll-free number to
    respond to your ad, if it would be okay to notify them of new product information. Or, you
    could provide a notice in the informational package you send, providing a toll-free number for
    them to call if they want to receive future updates.

Questions to Ask:
•   Does your company make its name and number available on Caller ID (as per the FCC
    regulation requiring transmission of Caller ID, if feasible, which was effective as of January 29,
    2004)?
•   Do you have systems and procedures in place for notifying consumers about data collection and
    transfer and getting their permission if information collected via ANI is to be used later?
•   Do you take care not to market to individuals who have not given their consent in this context?

USE OF AUTOMATED DIALING EQUIPMENT

Article #48
Marketers using automated dialing equipment should allow 15 seconds or 4
rings before disconnecting an unanswered call.

Marketers should connect calls to live representatives within 2 seconds of the
consumer’s completed greeting. If the connection does not occur within the 2-
second period, then the call is considered abandoned whether or not the call is
eventually connected.

For any abandoned calls, the marketer should play a prerecorded message that
includes the seller’s name, telephone number, states the purpose of the call,
and provides a telephone number at which the consumer can request not to
receive future marketing calls.

Repeated abandoned or “hang up” calls to consumers’ residential telephone
numbers should be minimized. In no case should calls be abandoned more
than:
 3% of answered calls within a 30-day period (unless a more restrictive state
  law applies), or
 twice to the same telephone number within a 48-hour time period.


Marketers should only use automated dialing equipment that allows the
telephone to immediately release the line when the called party terminates the
connection.
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When using any automated dialing equipment to reach a multi-line location,
whether for business-to-consumer or business-to-business marketing, the
equipment should release each line used before connecting to another.
Companies that manufacture and/or sell automated dialing equipment should
design the software with the goal of minimizing abandoned calls to
consumers. The software should be delivered to the user set as close to 0% as
possible. Manufacturers should distribute these Guidelines for Automated
Dialing Equipment to purchasers of dialing equipment and recommend that
they be followed.

The dialers’ software should be capable of generating a report that permits the
user of the equipment to substantiate compliance with the guideline.

Glossary of Terms Used

Automated Dialing Equipment - any system or device that initiates outgoing
call attempts from a predetermined list of phone numbers, based on a computerized pacing
algorithm.

Abandoned Call - a call placed by automated dialing equipment to a consumer which when
answered by the consumer, (1) breaks the connection because no live agent is available to
speak to the consumer, or (2) no live agent is available to speak to the consumer within 2
seconds of the consumer’s completed greeting.

Abandonment Rate - the number of abandoned calls over a 30-day period divided by the
total number of calls that are answered by a live consumer. Calls that are not answered by a
live consumer do not count in the calculation of the abandonment rate.

Report – reportable information that should be made available which contains key points,
including the percentage of abandoned calls.

Comment:
•   In the past, computerized calls caused consumers problems, such as recorded messages taking
    up all the space on a consumer's answering machine, tying up hospital and other emergency
    lines, or annoying people who would answer the phone to hear a strange-sounding computer
    "voice." You need to ensure that your automated equipment immediately releases the line when
    the called party ends the connection so that it does not tie up consumers' or businesses' lines.
•   This revised guideline incorporates Use of Predictive Auto Dialing Equipment from the previous
    Guidelines for Ethical Business Practice, and revises certain essential points in keeping with revised
    federal regulations, including that the maximum rate for abandoned calls is 3% of answered calls
    within a 30-day period.
•   It is important that your goal be to have as close to 0% abandonment rate as you can so that as
    few consumers as possible are bothered by the occurrence of answering their phones to find
    "dead air."

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•   The abandonment rate does not include reaching busy signals or answering machines; it is based
    on live consumers answering the phone expecting someone to be on the other end, and there is
    not someone there.
•   Note the requirement to have a pre-recorded message in cases where your dialer abandons calls.
    This is to allay fears of consumers and let them know who called and to give them an
    opportunity to opt out, should they wish to.

Questions to Ask:
•   Do you have adequate measurement systems and procedures in place to monitor the responsible
    use of predictive dialing software and equipment?
•   Has your predictive dialing equipment been set so that this guideline can be adhered to in terms
    of the percentage of abandoned calls and other requirements?
•   Has your staff been trained to operate the equipment so that as low an abandonment rate as
    possible is their goal, and so that the other requirements are also met?
•   If your company manufactures and/or sells predictive dialing equipment, have you assured
    yourself that the equipment is always set as close to a 0% abandonment rate as possible before
    delivery to the buyer?
•   If you sell this equipment, do you have a regular procedure in place for distributing these
    guidelines and for encouraging their use?


USE OF PRERECORDED VOICE MESSAGING
Article #49
Marketers who use prerecorded voice messaging should not automatically
terminate calls or provide misleading or inaccurate information when a live
consumer answers the telephone.

Prerecorded solicitations should include the name and telephone number of
the seller, service bureau or customer service department where the consumer
can call back during normal business hours to request not to receive future
calls, ask questions or get service.
Comment:
•   It is no longer a DMA requirement to have a live representative introduce a prerecorded
    message, as this practice is no longer easier for the consumer or the marketer.
•   Purposefully hanging up on consumers in order to deliver a message to their answering
    machines, or saying "sorry, wrong number," practices examined by DMA's ethics committees,
    would violate this guideline. Also, contacting telephone numbers that were once disengaged to
    see if the line is now "live," and then hanging up, would be a violation.
•   If your company leaves prerecorded messages, it is essential to leave your company name and a
    number for the consumer to call back. In addition, you should consider that consumers would
    most likely find it annoying to have lengthy prerecorded solicitations taking up message space on
    their answering machines, and keep messages targeted and brief.

Questions to Ask:
•   If your company uses pre-recorded solicitations, is your prospecting targeted and are your
    messages meaningful and brief?
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•   Does any message always give your company's name and number where your company can be
    reached?
•   What happens when a live consumer answers the telephone instead of an answering machine?
•   Do you honor name-removal requests received as a result of pre-recorded messages to
    consumers?

USE OF TELEPHONE FACSIMILE MACHINES
Article #50
Unless there is an established business relationship with the recipient, or
unless the recipient has given prior permission, advertisements, whether sent
to a consumer or a business, should not be transmitted to a facsimile machine,
including computer fax machines. An established business relationship is
defined as those persons with whom the marketer has had a
transaction/received a payment within the last 18 months or those persons
who have inquired about the marketer’s products/services/causes within the
last 3 months.

Each permitted transmission to a fax machine must clearly contain on the first
page, the date and time the transmission is sent, the identity of the sender
which is registered as a business with a state and the telephone number of the
sender or the sending machine.
Comment:
    •    Sending out fax broadcasts to prospects as a way to get new business is against this guideline
         article, and is also illegal. Detailed information on a new fax act and the revised rules of the
         Federal Communications Commission (FCC), including the allowance for an established
         business relationship, can be found at www.dmaresponsibility.org/FaxAlert. Of
         particular note are that (a) the Junk Fax Prevention Act of 2005 requires you to include an
         opt-out notice on the first page of each commercial fax you send and (b) the FCC has
         delayed indefinitely enactment of the requirement that you must get written permission to
         send commercial faxes, even to your own customers.
    •    The FCC passed its fax rules in 1991 to allow fax recipients, both businesses and consumers,
         to control the amount of paper used and the amount of time their machines were tied up
         receiving unsolicited faxes. The FCC’s revised Telephone Consumer Protection Act (TCPA)
         applies whether you are transmiting a fax from a computer or to a computer (or e-fax service).
    •    The Guidelines for Ethical Business Practice are meant to promote ethical practices that affect
         consumers; however, this article (in keeping with the federal regulation) is applicable to
         business-to-business solicitations as well.
    •    Although listings of fax numbers may be readily available, you should not use them to
         market to consumers’ and businesses’ fax numbers, unless you are certain that those fax
         numbers were voluntarily placed on the list by the ultimate fax recipients. Otherwise such
         prospecting is illegal.
    •    Keep in mind that an opt-out notice must appear on the first page of each commercial fax
         you send. The telephone and fax numbers listed in the opt-out notice must be domestic
         numbers, and the recipient must be able to make an opt-out request at any time and any day
         of the week.
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   •    In addition to providing a fax number and a toll-free telephone number for recipients to opt
        out of receiving future faxes, also consider providing an e-mail address and/or Web site
        address that recipients can use to make opt-out requests.
   •    Make sure the fax and toll-free telephone opt-out lines are properly staffed and/or set up so
        that all opt-out requests are captured. This means, for instance, making sure your lines are
        not busy when recipients call to opt out and that you have enough voicemail capacity to
        handle all calls.
   •    Keep in mind that the person or entity on whose behalf the fax is sent must be identified on
        the fax. If the service bureau has "a high degree of involvement" in preparing and sending
        your company’s faxes (such as providing the phone numbers or designing the content), then
        the broadcaster must also include its name as registered with a state corporation's
        commission.


Questions to Ask:
   •    Do you have a business relationship with the intended recipient of your fax? If not, have you
        obtained express, prior consent from the intended recipient of your fax to fax him/her?
   •    Are you including a clear and conspicuous opt-out notice on the first page of all faxes you
        transmit?
   •    Does the opt-out notice clearly state that the intended recipient of the fax may opt out of
        any future faxes, provide clear instructions for doing so, and include a domestic telephone
        and fax number for the recipient to transmit an opt-out request free of charge?
   •    Is your company knowledgeable about the new federal fax regulations, and any state
        regulations (such as those that do not permit you to send faxes even to your own customers
        without prior express permission), that may be applicable to you?
   •    Do you have procedures in place to honor Do-Not-Fax requests, and do you maintain an
        internal Do-Not-Fax suppression list?


PROMOTIONS FOR RESPONSE BY TOLL-FREE AND PAY-PER-
CALL NUMBERS

Article #51
Promotions for response by 800 or other toll-free numbers should be used only
when there is no charge to the consumer for the call itself and when there is no
transfer from a toll-free number to a pay call.

Promotions for response by using 900 numbers or any other type of pay-per-
call programs should clearly and conspicuously disclose all charges for the call.
A preamble at the beginning of the 900 or other pay-per-call program should
include the nature of the service or program, charge per minute and the total
estimated charge for the call, as well as the name, address and telephone
number of the sponsor. The caller should be given the option to disconnect the
call at any time during the preamble without incurring any charge. The 900
number or other pay-per-call should only use equipment that ceases
accumulating time and charges immediately upon disconnection by the caller.

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Comment:
•   This article reflects federal law and regulations on how you have to operate if you use pay-per-
    call promotions. Regulations were put into place several years ago to stop problem situations, for
    example, consumers running up huge bills for calls they thought were free (800 number calls
    rolling into pay calls), or being misled about how much the calls would cost.
•   The sponsor, address and telephone number also need to be disclosed because of problems with
    seemingly free calls that were actually international.

Questions to Ask:
•   If you operate a pay-per-call number, have you made disclosure of the total price - or price per
    minute - easy for consumers to find, read and understand?
•   Are all costs and other necessary information disclosed in the preamble part of the message?
•   Can the caller hang up during the preamble and not be charged for the call?


DISCLOSURE AND TACTICS

Article #52
Prior to asking consumers for payment authorization, telephone marketers
should disclose the cost of the merchandise or service and all terms and
conditions, including payment plans, whether or not there is a no refund or a
no cancellation policy in place, limitations, and the amount or existence of any
extra changes such as shipping and handling and insurance. At no time should
high pressure tactics be utilized.
Comment:
•   Telling consumers they have to make an immediate decision to buy is one example of "high
    pressure." Consumers need to understand an offer and have the opportunity to check it out to
    their satisfaction before making a financial commitment.
•   Although these guidelines generally apply to consumers, it is recommended that you honor them
    when marketing to businesses also. DMA, for instance, has received complaints from business
    people citing high pressure tactics from investment sellers who used misleading tactics to reach
    them.
•   Some states have enacted "no rebuttal" provisions for telemarketers. It is essential to be aware of
    and follow such restrictions.
•   See also Article #12 - Advance Consent Marketing - concerning disclosures to be made during
    telephone solicitations.

Questions to Ask:
•   Are your telephone reps trained to disclose all important information to consumers before they
    ask for payment?
•   Are your telephone reps trained to know when not to pursue the call at hand, and to courteously
    end the call?




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Fundraising
This section, which contains only one article, is in regard to
nonprofit organizations, a significant sector of the
Association’s membership. This article is in addition to the
other applicable guidelines and the Commitment to
Consumer Choice.
Article #53
In addition to compliance with these guidelines, fundraisers and
other charitable solicitors should, whenever requested by donors or
potential donors, provide financial information regarding use of
funds.

Comment:
•   Consumers want to feel assured that their charitable contributions will be used wisely and as
    represented, so you should freely give them the needed financial information that will help with
    their decision to give.
•   Other specific questions concerning nonprofits can be addressed to DMA's subsidiary, the
    Nonprofit Federation, at nonprofitfederation@the-dma.org.

Questions to Ask:
•   Do you have a prepared financial information sheet ready to be sent to inquirers?
•   Do you cooperate with the Better Business Bureaus Wise Giving Alliance and other such
    organizations, in terms of providing information to them when they request, so that a publicly
    available report on your organization can be prepared?


Laws, Codes, and Regulations
This last section of the guidelines also contains only one
article. Obviously, marketers should be in compliance with
all applicable laws, codes and regulations. This guide has
referenced many federal laws and rules that are essential for
marketers to know about and follow. It should be noted that
all federal laws referenced are U.S. laws, relevant only to the
U.S. marketplace. It is strongly recommended that legal
counsel be consulted to ensure your promotions respect
federal and state limitations. And, if you market
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internationally, you need to make sure you are in compliance
with relevant laws of those countries. Finally, it is hoped that
adherence to these self-regulatory principles will go a long
way toward lessening the possibility of even more regulations
in the future.
Article #54
Direct marketers should operate in accordance with laws and
regulations of the United States Postal Service, the Federal Trade
Commission, the Federal Communications Commission, the
Federal Reserve Board, and other applicable federal, state and local
laws governing advertising, marketing practices and the transaction
of business.

Comment:
    •    Throughout these examples, several laws and regulations have been referenced, such as the
         Mail or Telephone Order Merchandise Rule, the Telephone Consumer Protection Act, the Telemarketing
         Sales Rule, the Children’s Online Privacy Protection Act and CAN-SPAM.
    •    There are others as well, such as the Textile and Wool Acts, which requires your catalog to
         clearly disclose for any wool or textile product that the article is made in the USA, imported
         or both. (It is not enough to state generally that “all products are either made in America or
         imported.”)
    •    Online marketing is subject to many of the same rules as other ways of marketing direct.
         Many consumers are still waiting and debating the benefits of transacting business in this
         relatively new medium; as their trust and confidence builds, the market will continue to
         grow.
    •    Laws and rules must, of course, be followed for consumer protection and to avoid legal
         actions being taken against your company, but ethics guidelines often go even further and
         should be the higher standard to reach for when striving to do the right thing.
    •    Refer to: www.dmaresponsibility.org for a listing of various guides and fact sheets
         developed to explain important regulations.

Questions to Ask:
•   Do your company’s promotions, policies and practices receive regular review by legal counsel to
    ensure that all legal requirements are followed?
•   Do you maintain resource information on essential regulations?
•   Do you have systems and procedures for making sure your information is up-to-date?
•   Do you regularly train staff regarding advertising and marketing regulations they need to be
    familiar with?
•   Do your online sites post relevant consumer protection information, both your own customer
    service policies and compliance with federal regulations; and do you provide links or references
    to other sites with consumer protection information?




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OTHER DMA RESOURCES
For more complete information on resources, see www.dmaresponsibility.org.

• Commitment to Consumer Choice Member Compliance Guide and other CCC materials
  (www.DMACCC.org)
• DMA Preference Services Subscriber Information
• DMA’s consumer website: www.DMAchoice.org
• Privacy Policy Generators
• Environmental Resources and Generator (The “Green 15”)
• E-Commerce Integrity Resource Center
• Reports on Ethics Committee Findings
• Information Security: Safeguarding Personal Data in Your Care

DMA can also provide your organization with information on many federal laws and
regulations affecting direct marketers, including:

•   Mail or Telephone Order Merchandise Rule
•   Telemarketing Sales Rule
•   Telephone Consumer Protection Act
•   Children's Online Privacy Protection Rule
•   Do's and Don'ts - Sweepstakes for Marketers

The U.S. Postal Service’s Fighting Mail Order Fraud and Theft; Best Practices for the Mail
Order Industry Reference Guide is also available, as well as a variety of consumer education
brochures. Contact the Department of Corporate & Social Responsibility in
Washington, D.C. at ethics@the-dma.org for more information.




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DMA’S DEPARTMENT OF CORPORATE & SOCIAL
RESPONSIBILITY
In its continuing efforts to improve the practices of direct marketing and the
marketer’s relationship with customers, DMA sponsors several activities in its
Department of Corporate & Social Responsibility.

• Ethical guidelines are maintained, updated periodically, and distributed to the
  direct marketing community.
• The Committee on Ethical Business Practice investigates and examines
  promotions and practices made throughout the direct marketing community that
  are brought to its attention.
• The Ethics Policy Committee revises the guidelines as needed, and initiates
  programs and projects directed toward improved ethical awareness in the direct
  marketing area.
• The Committee on the Environment and Social Responsibility is dedicated to
  environmental issues, and educating consumers about the “electronic highway.”
• The Commitment to Consumer Choice (www.DMACCC.org) reflects DMA’s continued
  emphasis on empowering consumers and strengthening their trust with the direct
  marketing community.
• “Dialogue” meetings between direct marketing professionals and consumer affairs
  and regulatory representatives facilitate increased communication between direct
  marketers and their customers.
• DMAchoice offers consumers assistance in managing their marketing preferences,
  and provides consumer education on a number of topics.

For additional information, contact DMA’s Washington D.C. office.

                         Direct Marketing Association
                         1615 L Street, NW; Suite 1100
                        Washington, D.C. 20036-5624
                             Phone: 202-955-5030
                              Fax: 202-995-0085
                        www.dmaresponsibility.org
                        e-mail: ethics@the-dma.org




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The American Marketing Association
Statement of Ethics

Preamble
The American Marketing Association commits itself to promoting the highest standard of
professional ethical norms and values for its members (practitioners, academics and students).
Norms are established standards of conduct that are expected and maintained by society and/or
professional organizations. Values represent the collective conception of what communities find
desirable, important and morally proper. Values also serve as the criteria for evaluating our own
personal actions and the actions of others. As marketers, we recognize that we not only serve our
organizations but also act as stewards of society in creating, facilitating and executing the
transactions that are part of the greater economy. In this role, marketers are expected to embrace
the highest professional ethical norms and the ethical values implied by our responsibility toward
multiple stakeholders (e.g., customers, employees, investors, peers, channel members, regulators
and the host community).


Ethical Norms
As Marketers, we must:

   1. Do no harm. This means consciously avoiding harmful actions or omissions by
      embodying high ethical standards and adhering to all applicable laws and regulations in
      the choices we make.
   2. Foster trust in the marketing system. This means striving for good faith and fair dealing
      so as to contribute toward the efficacy of the exchange process as well as avoiding
      deception in product design, pricing, communication, and delivery of distribution.
   3. Embrace ethical values. This means building relationships and enhancing consumer
      confidence in the integrity of marketing by affirming these core values: honesty,
      responsibility, fairness, respect, transparency and citizenship.

Ethical Values
Honesty – to be forthright in dealings with customers and stakeholders. To this end, we will:

      Strive to be truthful in all situations and at all times.
      Offer products of value that do what we claim in our communications.
      Stand behind our products if they fail to deliver their claimed benefits.
      Honor our explicit and implicit commitments and promises.




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Responsibility – to accept the consequences of our marketing decisions and strategies. To this
end, we will:

       Strive to serve the needs of customers.
       Avoid using coercion with all stakeholders.
       Acknowledge the social obligations to stakeholders that come with increased marketing
        and economic power.
       Recognize our special commitments to vulnerable market segments such as children,
        seniors, the economically impoverished, market illiterates and others who may be
        substantially disadvantaged.
       Consider environmental stewardship in our decision-making.



Fairness – to balance justly the needs of the buyer with the interests of the seller. To this end, we
will:

       Represent products in a clear way in selling, advertising and other forms of
        communication; this includes the avoidance of false, misleading and deceptive
        promotion.
       Reject manipulations and sales tactics that harm customer trust.

        Refuse to engage in price fixing, predatory pricing, price gouging or “bait-and-switch”
        tactics.

       Avoid knowing participation in conflicts of interest.

        Seek to protect the private information of customers, employees and partners.



Respect – to acknowledge the basic human dignity of all stakeholders. To this end, we will:

       Value individual differences and avoid stereotyping customers or depicting demographic
        groups (e.g., gender, race, sexual orientation) in a negative or dehumanizing way.
       Listen to the needs of customers and make all reasonable efforts to monitor and improve
        their satisfaction on an ongoing basis.
       Make every effort to understand and respectfully treat buyers, suppliers, intermediaries
        and distributors from all cultures.
       Acknowledge the contributions of others, such as consultants, employees and coworkers,
        to marketing endeavors.
       Treat everyone, including our competitors, as we would wish to be treated.




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Transparency – to create a spirit of openness in marketing operations. To this end, we will:

      Strive to communicate clearly with all constituencies.
      Accept constructive criticism from customers and other stakeholders.
      Explain and take appropriate action regarding significant product or service risks,
       component substitutions or other foreseeable eventualities that could affect customers or
       their perception of the purchase decision.
      Disclose list prices and terms of financing as well as available price deals and
       adjustments.



Citizenship – to fulfill the economic, legal, philanthropic and societal responsibilities that serve
stakeholders. To this end, we will:

      Strive to protect the ecological environment in the execution of marketing campaigns.
      Give back to the community through volunteerism and charitable donations.
      Contribute to the overall betterment of marketing and its reputation.
      Urge supply chain members to ensure that trade is fair for all participants, including
       producers in developing countries.


Implementation
We expect AMA members to be courageous and proactive in leading and/or aiding their
organizations in the fulfillment of the explicit and implicit promises made to those stakeholders.
We recognize that every industry sector and marketing sub-discipline (e.g., marketing research,
e-commerce, Internet selling, direct marketing, and advertising) has its own specific ethical
issues that require policies and commentary. An array of such codes can be accessed through
links on the AMA Web site. Consistent with the principle of subsidiarity (solving issues at the
level where the expertise resides), we encourage all such groups to develop and/or refine their
industry and discipline-specific codes of ethics to supplement these guiding ethical norms and
values.




https://archive.ama.org/archive/aboutama/pages/statement%20of%20ethics.aspx

Accessed on May 10, 2017




                                                                                                 Exhibit J
